Case 8:21-ap-01097-SC     Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45     Desc
                          Main Document    Page 1 of 381



 1   JAMIE LYNN GALLIAN
     16222 Monterey Lane Unit 376
 2
     Huntington Beach, Ca 92649
 3   (714)321-3449
 4   jamiegallian@gmail.com
 5
     Defendant, IN PRO PER
 6
 7
 8                   UNITED STATES BANKRUPTCY COURT
 9           CENTRAL DISTRICT OF CALIFORIA – SANTA ANA DIVISION
10
     In re                          )               Case No. 8:21-bk-11710-SC
11                                  )
12   JAMIE LYNN GALLIAN             )               Chapter 7
                                    )
13
               Debtor               )               Adv. No. 8:21-ap-01097-SC
14   _______________________________
     HOUSER BROS CO. dba RANCHO           )
15
     DEL REY MOBILEHPME ESTATES           )         DEFENDANT JAMIE L GALLIAN’S
16                                  )               Lodgment of Exhibits.
17             Plaintiff,           )
     v.                             )               Trial Date: February 23, 2023
18                                  )               Time: 9:30 A.M.
19   JAMIE LYNN GALLIAN,            )               Department: 5C
                                    )               411 West Fourth Street
20
               Defendant            )               Santa Ana, CA 92701
21   _______________________________
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Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 2 of 381




                                                                            1
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 3 of 381




                                                                            2
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 4 of 381




                                                                            3
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 5 of 381




                                                                                 4
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 6 of 381




                                                                            5
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 7 of 381




                                                                            6
           Case 8:21-ap-01097-SC       Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                       Main Document    Page 8 of 381




Description: Orange,CA Parcel Map 108.47 Page: 2 of 2
Order: ss Comment:                                                                         7
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 9 of 381




                                                                            8
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 10 of 381




                                                                            9
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 11 of 381




                                                                           10
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 12 of 381




                                                                           11
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 13 of 381




                                                                           12
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 14 of 381




                                                                           13
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 15 of 381




                                                                           14
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 16 of 381




                                                                           15
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 17 of 381




                                                                           16
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 18 of 381




                                                                           17
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 19 of 381




                                                                           18
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 20 of 381




                                                                           19
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 21 of 381




                                                                           20
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 22 of 381




                                                                           21
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 23 of 381




                                                                           22
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 24 of 381




                                                                           23
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 25 of 381




                                                                           24
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 26 of 381




                                                                           25
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 27 of 381




                                                                           26
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 28 of 381




                                                                           27
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 29 of 381




                                                                           28
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 30 of 381




                                                                           29
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 31 of 381




                                                                           30
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 32 of 381




                                                                           31
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 33 of 381




                                                                           32
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 34 of 381




                                                                           33
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 35 of 381




                                                                           34
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 36 of 381




                                                                           35
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 37 of 381




                                                                           36
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 38 of 381




                                                                           37
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 39 of 381




                                                                           38
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 40 of 381




                                                                           39
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 41 of 381




                                                                           40
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 42 of 381




                                                                           41
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 43 of 381




                                                                           42
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 44 of 381




                                                                           43
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 45 of 381




                                                                           44
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 46 of 381




                                                                           45
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 47 of 381




                                                                           46
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 48 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


                                                                                     47
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 49 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page 
Document: 


                                                                                     48
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 50 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


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      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 51 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page              Printed        
Document: 


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      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 52 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page               Printed      
Document: 


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      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 53 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page              Printed      
Document: 


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      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 54 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page              Printed      
Document: 


                                                                                              53
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 55 of 381




                                                                           54
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 56 of 381




                                                                           55
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 57 of 381




                                                                           56
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 58 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


                                                                                     57
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 59 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page 
Document: 


                                                                                     58
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 60 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


                                                                                     59
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 61 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


                                                                                     60
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 62 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document: 


                                                                                     61
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 63 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document:  


                                                                                     62
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 64 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page 
Document:  


                                                                                     63
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 65 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document:  


                                                                                     64
      Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Branch                      Comment: Page 66 of 381
                              Main Document                                  Station 




ORANGE,CA                              Page
Document:  


                                                                                     65
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 67 of 381




                                                                           66
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 68 of 381




                                                                           67
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 69 of 381




                                                                           68
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 70 of 381




                                                                           69
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 71 of 381




                                                                           70
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 72 of 381




                                                                           71
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 73 of 381




                                                                           72
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 74 of 381




                                                                           73
Case 8:21-ap-01097-SC   Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 75 of 381




                                                                           74
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 76 of 381




ORANGE,CA                                Page 1 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1253

                                                                                             75
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 77 of 381




ORANGE,CA                                Page 2 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1253

                                                                                             76
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 78 of 381




ORANGE,CA                                Page 3 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1253

                                                                                             77
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 79 of 381




ORANGE,CA                                Page 1 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1256

                                                                                             78
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 80 of 381




ORANGE,CA                                Page 2 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1256

                                                                                             79
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 81 of 381




ORANGE,CA                                Page 3 of 3               Printed on 5/8/2020 11:51:35 AM
Document: PL 13824.1256

                                                                                             80
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 82 of 381




ORANGE,CA                                Page 1 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             81
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 83 of 381




ORANGE,CA                                Page 2 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             82
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 84 of 381




ORANGE,CA                                Page 3 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             83
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 85 of 381




ORANGE,CA                                Page 4 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             84
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 86 of 381




ORANGE,CA                                Page 5 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             85
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 87 of 381




ORANGE,CA                                Page 6 of 15              Printed on 5/8/2020 11:51:36 AM
Document: LS 13824.1259

                                                                                             86
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 88 of 381




ORANGE,CA                                Page 7 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             87
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 89 of 381




ORANGE,CA                                Page 8 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             88
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 90 of 381




ORANGE,CA                                Page 9 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             89
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 91 of 381




ORANGE,CA                               Page 10 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             90
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 92 of 381




ORANGE,CA                               Page 11 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             91
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 93 of 381




ORANGE,CA                               Page 12 of 15              Printed on 5/8/2020 11:51:37 AM
Document: LS 13824.1259

                                                                                             92
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 94 of 381




ORANGE,CA                               Page 13 of 15              Printed on 5/8/2020 11:51:38 AM
Document: LS 13824.1259

                                                                                             93
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 95 of 381




ORANGE,CA                               Page 14 of 15              Printed on 5/8/2020 11:51:38 AM
Document: LS 13824.1259

                                                                                             94
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 96 of 381




ORANGE,CA                               Page 15 of 15              Printed on 5/8/2020 11:51:38 AM
Document: LS 13824.1259

                                                                                             95
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 97 of 381




ORANGE,CA                                Page 1 of 17              Printed on 5/8/2020 11:51:41 AM
Document: LS 13824.1274

                                                                                             96
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 98 of 381




ORANGE,CA                                Page 2 of 17              Printed on 5/8/2020 11:51:41 AM
Document: LS 13824.1274

                                                                                             97
        Case 8:21-ap-01097-SC
Branch :A14,User :2004          Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                  Desc Id :M3Y7
                                Main Document     Page 99 of 381




ORANGE,CA                                Page 3 of 17              Printed on 5/8/2020 11:51:41 AM
Document: LS 13824.1274

                                                                                             98
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 100 of 381




ORANGE,CA                                Page 4 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                             99
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 101 of 381




ORANGE,CA                                Page 5 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           100
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 102 of 381




ORANGE,CA                                Page 6 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           101
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 103 of 381




ORANGE,CA                                Page 7 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           102
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 104 of 381




ORANGE,CA                                Page 8 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           103
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 105 of 381




ORANGE,CA                                Page 9 of 17              Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           104
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 106 of 381




ORANGE,CA                                Page 10 of 17             Printed on 5/8/2020 11:51:42 AM
Document: LS 13824.1274

                                                                                           105
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 107 of 381




ORANGE,CA                                Page 11 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           106
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 108 of 381




ORANGE,CA                                Page 12 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           107
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 109 of 381




ORANGE,CA                                Page 13 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           108
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 110 of 381




ORANGE,CA                                Page 14 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           109
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 111 of 381




ORANGE,CA                                Page 15 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           110
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 112 of 381




ORANGE,CA                                Page 16 of 17             Printed on 5/8/2020 11:51:43 AM
Document: LS 13824.1274

                                                                                           111
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 113 of 381




ORANGE,CA                                Page 17 of 17             Printed on 5/8/2020 11:51:44 AM
Document: LS 13824.1274

                                                                                           112
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 114 of 381




ORANGE,CA                                 Page 1 of 3              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1291

                                                                                           113
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 115 of 381




ORANGE,CA                                 Page 2 of 3              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1291

                                                                                           114
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 116 of 381




ORANGE,CA                                 Page 3 of 3              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1291

                                                                                           115
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 117 of 381




ORANGE,CA                                 Page 1 of 5              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1294

                                                                                           116
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 118 of 381




ORANGE,CA                                 Page 2 of 5              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1294

                                                                                           117
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 119 of 381




ORANGE,CA                                 Page 3 of 5              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1294

                                                                                           118
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 120 of 381




ORANGE,CA                                 Page 4 of 5              Printed on 5/8/2020 11:51:45 AM
Document: DD 13824.1294

                                                                                           119
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 121 of 381




ORANGE,CA                                 Page 5 of 5              Printed on 5/8/2020 11:51:46 AM
Document: DD 13824.1294

                                                                                           120
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 122 of 381




                                                                           121
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 123 of 381




                                                                           122
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 124 of 381




                                                                           123
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 125 of 381




                                                                           124
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 126 of 381




                                                                           125
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 127 of 381




                                                                           126
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 128 of 381




                                                                           127
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 129 of 381




                                                                           128
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 130 of 381




                                                                           129
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 131 of 381




                                                                           130
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 132 of 381




                                                                           131
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 133 of 381




                                                                           132
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 134 of 381




                                                                           133
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 135 of 381




                                                                           134
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 136 of 381




                                                                           135
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 137 of 381




                                                                           136
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 138 of 381




                                                                           137
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 139 of 381




                                                                           138
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 140 of 381




ORANGE,CA                                Page 1 of 10               Printed on 5/8/2020 1:08:03 PM
Document: AL 1999.542305

                                                                                           139
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 141 of 381




ORANGE,CA                                Page 2 of 10               Printed on 5/8/2020 1:08:03 PM
Document: AL 1999.542305

                                                                                           140
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 142 of 381




ORANGE,CA                                Page 3 of 10               Printed on 5/8/2020 1:08:04 PM
Document: AL 1999.542305

                                                                                           141
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 143 of 381




ORANGE,CA                                Page 4 of 10               Printed on 5/8/2020 1:08:04 PM
Document: AL 1999.542305

                                                                                           142
        Case 8:21-ap-01097-SC
Branch :A14,User :2004           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Station
                                         Comment:                                   Desc Id :M3Y7
                                Main Document     Page 144 of 381




ORANGE,CA                                Page 5 of 10               Printed on 5/8/2020 1:08:04 PM
Document: AL 1999.542305

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                Case 8:21-ap-01097-SC                    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Tax Map - myFirstAm                                     Main Document    Page 145 of 381                                           




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                                                                                                                                                 144
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 146 of 381




                                                                           145
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 147 of 381




                                                                           146
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 148 of 381




                                                                           147
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 149 of 381




                                                                           148
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 150 of 381




                                                                           149
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 151 of 381




                                                                           150
Case 8:21-ap-01097-SC           Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                          Desc
                               Main Document    Page 152 of 381




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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 153 of 381




                                                                           152
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 154 of 381




                                                                           153
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 155 of 381




                                                                           154
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 156 of 381




                                                                           155
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 157 of 381




                                                                           156
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 158 of 381




                                                                           157
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 159 of 381




                                                                           158
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 160 of 381




                                                                           159
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 161 of 381




                                                                           160
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 162 of 381




                                                                           161
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 163 of 381




                                                                           162
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 164 of 381




                                                                           163
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 165 of 381




                                                                           164
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 166 of 381




                                                                           165
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 167 of 381




                                                                           166
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 168 of 381




                                                                           167
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 169 of 381




                                                                           168
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 170 of 381




                                                                           169
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 171 of 381




                                                                           170
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 172 of 381




                                                                           171
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 173 of 381




                                                                           172
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 174 of 381




                                                                           173
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
68                    Doc 185   Filed 08/11/22
                           Document     Page 175Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 68 of 111




                                                                         174
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 176 of 381




                                                                           175
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 177 of 381




                                                                           176
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 178 of 381




                                                                           177
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 179 of 381




                                                                           178
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 180 of 381




                                                                           179
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 181 of 381




                                                                           180
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 182 of 381




                                                                           181
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 183 of 381




                                                                           182
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 184 of 381




                                                                           183
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 185 of 381




                                                                           184
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 186 of 381




                                                                           185
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 187 of 381




                                                                           186
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 188 of 381




                                                                           187
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 189 of 381




    Page 9

    Is missing from the complaint filed by

    HOUSER BROS Co dba Rancho Del Rey MHE

    Unlawful Detainer against Lisa Ryan.




                                                                           188
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 190 of 381




    Page 10

    Is missing from the complaint filed by

    HOUSER BROS Co dba Rancho Del Rey MHE

    Unlawful Detainer against Lisa Ryan.




                                                                           189
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 191 of 381




                                                                           190
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 192 of 381




                                                                           191
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 193 of 381




                                                                           192
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 194 of 381




                                                                           193
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 195 of 381




                                                                           194
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 196 of 381




                                                                           195
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 197Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 67 of 111




                                                                         67
                                                                         196
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
68                    Doc 185   Filed 08/11/22
                           Document     Page 198Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 68 of 111




                                                                         197
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 199 of 381




                                                                           198
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 200 of 381




                                                                           199
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 201Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 84 of 111




                                                                         84
                                                                         200
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
85                    Doc 185   Filed 08/11/22
                           Document     Page 202Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 85 of 111




                                                                         201
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 203Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 80 of 111




                                                                         80
                                                                         202
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 204Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 86 of 111




                                                                         86
                                                                         203
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 205 of 381




                                                                           204
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 206Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 82 of 111




                                                                         82
                                                                         205
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
                      Doc 185   Filed 08/11/22
                           Document     Page 207Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 83 of 111




                                                                         83
                                                                         206
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 208 of 381




                                                                           207
Case 8:21-ap-01097-SC       Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                       Desc
                           Main Document    Page 209 of 381




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Case 8:21-ap-01097-SC            Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45        Desc
                                Main Document    Page 210 of 381




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Case 8:21-ap-01097-SC        Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                            Main Document    Page 211 of 381




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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 212 of 381




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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 213 of 381




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Case 8:21-ap-01097-SC     Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45         Desc
                         Main Document    Page 214 of 381


   DEPARTMENT OF THE TREASURY
   INTERNAL REVENUE SERVICE
   CINCINNATI OH    45999-0023

                                                       Date of this notice:    11-07-2018
                                                       Employer Identification Number:
                                                       XX-XXXXXXX
                                                       Form:   SS-4

                                                       Number of this notice:   CP 575 G
         J SANDCASTLE CO LLC
         JAMIE LYNN GALLIAN SOLE MBR
         5782 PINON DR                                 For assistance you may call us at:
         HUNTINGTN BCH, CA 92649                       1-800-829-4933


                                                       IF YOU WRITE, ATTACH THE
                                                       STUB AT THE END OF THIS NOTICE.




                WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

      Thank you for applying for an Employer Identification Number (EIN). We assigned you
 EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
 documents, even if you have no employees. Please keep this notice in your permanent
 records.

      When filing tax documents, payments, and related correspondence, it is very important
 that you use your EIN and complete name and address exactly as shown above. Any variation
 may cause a delay in processing, result in incorrect information in your account, or even
 cause you to be assigned more than one EIN. If the information is not correct as shown
 above, please make the correction using the attached tear off stub and return it to us.
      A limited liability company (LLC) may file Form 8832, Entity Classification Election,
 and elect to be classified as an association taxable as a corporation. If the LLC is
 eligible to be treated as a corporation that meets certain tests and it will be electing S
 corporation status, it must timely file Form 2553, Election by a Small Business
 Corporation. The LLC will be treated as a corporation as of the effective date of the S
 corporation election and does not need to file Form 8832.

      To obtain tax forms and publications, including those referenced in this notice,
 visit our Web site at www.irs.gov. If you do not have access to the Internet, call
 1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.
 IMPORTANT REMINDERS:

     *   Keep a copy of this notice in your permanent records. This notice is issued only
         one time and the IRS will not be able to generate a duplicate copy for you. You
         may give a copy of this document to anyone asking for proof of your EIN.
     *   Use this EIN and your name exactly as they appear at the top of this notice on all
         your federal tax forms.

     *   Refer to this EIN on your tax-related correspondence and documents.
      If you have questions about your EIN, you can call us at the phone number or write to
 us at the address shown at the top of this notice. If you write, please tear off the stub
 at the bottom of this notice and send it along with your letter. If you do not need to
 write us, do not complete and return the stub.

      Your name control associated with this EIN is JSAN. You will need to provide this
 information, along with your EIN, if you file your returns electronically.

     Thank you for your cooperation.




                                                                                   213
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 215 of 381




                                                                           214
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 216 of 381




                                                                           215
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 217 of 381




                                                                           216
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 218 of 381




                                                                           217
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 219 of 381




                                                                           218
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 220 of 381




                                                                           219
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 221 of 381




                                                                           220
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 222 of 381




                                                                           221
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 223 of 381




                                                                           222
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 224 of 381




                                                                           223
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 225 of 381




                                                                           224
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 226 of 381




                                                                           225
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 227 of 381




                                                                           226
  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-2
                        Main        Filed 08/11/22
                             Document      Page 228 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 3 Page 64 of 93




                                                                       
                                                                         227
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 229 of 381




                                                                           228
Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Main
73                    Doc 185   Filed 08/11/22
                           Document     Page 230Entered
                                                  of 38108/11/22 17:07:13 Desc
                       Main Document     Page 73 of 111




                                                                         229
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 231 of 381




                                                                           230
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 232 of 381




                                                                           231
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 233 of 381




                                                                           232
    Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                            Main Document    Page 234 of 381




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                    DAVID H. YAMASAKI, Clerk of the Court                A. DANG



                                                                               233
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 235 of 381




                                                                           234
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 236 of 381




                                                                           235
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 237 of 381




                                                                           236
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 238 of 381




                                                                           237
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 239 of 381




                                                                           238
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 240 of 381




                                                                           239
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 241 of 381




                                                                           240
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 242 of 381




                                                                           241
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 243 of 381




                                                                           242
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 244 of 381




                                                                           243
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 245 of 381




                                                                           244
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 246 of 381




                                                                           245
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 247 of 381




                                                                           246
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 248 of 381




                                                                           247
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 249 of 381




                                                                           248
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 250 of 381




                                                                           249
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 251 of 381




                                                                           250
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 252 of 381




                                                                           251
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 253 of 381




                                                                           252
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 254 of 381




                                                                           253
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 255 of 381




                                                                           254
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 256 of 381




                                                                           255
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 257 of 381




                                                                           256
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 258 of 381




                                                                           257
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 259 of 381




                                                                           258
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 260 of 381




                                                                           259
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 261 of 381




                                                                           260
Case 8:21-ap-01097-SC             Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                               Desc
                                 Main Document    Page 262 of 381



   10. [11:256] Agreement to Rental Terms Required to Validate Purchaser's Tenancy Rights: As a
   condition to the purchaser's rights of tenancy in the park, the escrow, sale or transfer agreement involving a
   mobilehome located in the park at time of sale (where the mobilehome is to remain in the park) must
   contain a copy of either (a) a fully executed rental agreement or (b) a statement signed by park
   management and the prospective homeowner (purchaser) that the parties have agreed to the terms and
   conditions of a rental agreement. [

   CC § 798.75(a)]
   a. [11:257] Five-day notice to “surrender” for refusal to execute lease: A purchaser who refuses to
   execute a rental agreement with management “shall not have any rights of tenancy.” [CC § 798.75(b)]
   Management may serve such a purchaser resident with a demand to surrender the mobilehome park site;
   failure to surrender within five days after the demand makes the purchaser an “unlawful occupant.” [CC §
   798.75(c)]
   b. [11:258] Unlawful detainer: Once placed in the status of an “unlawful occupant,” the purchaser may be
   evicted under the statutory summary repossession procedures (CCP § 1159 et seq.; see Chs. 7, 8 & 9). [CC
   § 798.75(c)]
   c. [11:259] Exceptions to UD eviction: A person is not an “unlawful occupant” and thus not subject to
   unlawful detainer eviction under § 798.75(c), above, if all of these conditions exist (CC § 798.75(d)):
        • (1) The occupant is the registered owner of the mobilehome (CC § 798.75(d)(1));
        • (2) Management has determined that the occupant has the financial ability to pay park rent and
             charges (see ¶ 11:245), will comply with the park rules and regulations, based on his or her prior
             tenancies, and will comply with the MRL (CC § 798.75(d)(2)); and
        • (3) Management failed or refused to offer the occupant a rental agreement (CC § 798.75(d)(3)).




                                                                                                                  261
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 263 of 381




                                                                           262
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 264 of 381




                                                                           263
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 265 of 381




                                                                           264
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 266 of 381




                                                                           265
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 267 of 381




                                                                           266
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 268 of 381




                                                                           267
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 269 of 381




                                                                           268
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 270 of 381




                                                                           269
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 271 of 381




                                                                           270
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 272 of 381




                                                                           271
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 273 of 381




                                                                           272
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 274 of 381




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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 275 of 381




         EXHIBIT ''B''
                                                                           274
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 276 of 381




                                                                           275
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 277 of 381




                                                                           276
Case 8:21-ap-01097-SC             Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                               Desc
                                 Main Document    Page 278 of 381



   10. [11:256] Agreement to Rental Terms Required to Validate Purchaser's Tenancy Rights: As a
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   failure to surrender within five days after the demand makes the purchaser an “unlawful occupant.” [CC §
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   evicted under the statutory summary repossession procedures (CCP § 1159 et seq.; see Chs. 7, 8 & 9). [CC
   § 798.75(c)]
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   unlawful detainer eviction under § 798.75(c), above, if all of these conditions exist (CC § 798.75(d)):
        • (1) The occupant is the registered owner of the mobilehome (CC § 798.75(d)(1));
        • (2) Management has determined that the occupant has the financial ability to pay park rent and
             charges (see ¶ 11:245), will comply with the park rules and regulations, based on his or her prior
             tenancies, and will comply with the MRL (CC § 798.75(d)(2)); and
        • (3) Management failed or refused to offer the occupant a rental agreement (CC § 798.75(d)(3)).




                                                                                                                  277
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45    Desc
                        Main Document    Page 279 of 381




           RANCHO DEL REY MOBILEHOME ESTATES
                 16222 MONTEREY LANE
              HUNTINGTON BECH, CALIFORNIA



           MOBILEHOME LOT RENTAL AGREEMENT




                EQUAL HOUSING OPPORTUNITY

      WE DO BUSINESS IN ACCORDANCE WITH THE
                FEDERAL HOUSING LAW



          IT IS ILLEGAL TO DISRIMINATE AGAINST
      ANY PERSON BECAUSE OF RACE, COLOR, RELIGION,
      SEX, HANDICAP, FAMILIAL STATUS, OR NATIONAL
                            ORIGIN


                                                        REVISION 1/1/2019




                                                                            278
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 280 of 381




                                                                           279
Case 8:21-ap-01097-SC       Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                              Desc
                           Main Document    Page 281 of 381




         F.     Other Charges:
                   (1)     Late Payment:            $20.00

                   (2)     Returned Checks:         $20.00

                   (3)     Security Deposit         $ _________

                   (4)     RV/Extra Vehicles        $ varies on RV       space site per month/vehicle

                   (5)     Government Fees:         As charged to Park

                   (6)     Extra Persons Charge     $ ________         _ per day per person.

                   (7)    Other: ________________________________________________
                   ____________________________________________________________

                   These above charges may be increased or charged as allowed by this Agreement

         *    Facilities to be provided by the Park for Residents during the term of this Agreement,
               unless changed. The streets, R.V. storage area (subject to separate agreement and
               charge), 2 clubhouses, 2 swimming pools and spas, 4 saunas, 3 laundry rooms.

         +    Services to be provided by the Park fRr Residents during the term of this Agreement,
               unless changes. Park Manager, electricity, natural gas, water, sewer, and trash.
               Facilities and services may be decreased or changed as allowed by this Agreement.
               The cost of providing and maintaining facilities and services may increase your rent
               per the provisions of this agreement.

                   DISCLOSURES AND IMPORTANT ACKNOWLEDGMENTS

          OUR MOBILEHOME PARK IS AN OLDER PARK; THEREFORE, THE UTILITY
      SYSTEMS (ELECTRIC, NATURAL GAS, SEWER AND WATER) DO NOT WORK AS WELL AS
      NEWER SYSTEMS AND DO PERIODICALLY BREAK DOWN OR PROVIDED LESS THAN
      ADEQUATE SERVICE.

            YOU ACKNOWLEDGE THAT WE HAVE OFFERED YOU THE OPTION OF HAVING
      THIS AGREEMENT HAVE A TERM OF 12 MONTHS OR LESS, INCLUDING A MONH-TO-
      MONTH TENANCY. YOU ALSO ACKNOWLEDGE THAT YOU HAVE VOLUNTARILY
      SELECTED THE TERM LISTEDAT PARAGRAPH C ON PAGE 1 OF THIS AGREEMENT.

              RESOLUTION OF DISPUTES (Alternative Dispute Resolution/Internal Dispute
      Resolution:
              YOU AGREE THAT THOSE RIGHTS WHICH ARE SPECIFIED IN PARAGRAPH 6 OF
      THIS AGREEMENT, WHICH IS ENTITLED “RESOLUTION OF DISPUTES,” WILL BE
      DETERMINED BY SUBMISSION TO WHAT IS KNOWN AS A REFERENCE AND NOT BY
      WHAT MOST PEOPLE CONSIDER THE NORMAL LAWSUIT OR BY RESORTING TO
      NORMAL COURT PROCESSES. BY SIGNING THIS AGREEMENT, BOTH YOU AND WE
      ARE GIVING UP OUR CONSITITUTIONAL RIGHT TO H$VE THOSE DISPUTES DECIDED
      IN A COURT OF LAW BEFORE A JURY AND, INSTEAD, ARE ACCEPTING THE USE OF
      THE REFERENCE PROCEDURES.




                                                                                                         280
Case 8:21-ap-01097-SC             Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                                      Desc
                                 Main Document    Page 282 of 381




                                 HUNTINGTON BEACH CITY ORDINANCE

      17.38.020 Temporary Rental of Mobile Home
      D.        Hereafter, “renter” refers to the person or persons who pay rent to the mobile home owner in
      exchange for the temporary right to reside within the subject mobile home (and the related right to occupy
      the space upon which the mobile home is located), but not as a co-occupant with the owner. Any renter of a
      mobile home must meet all the rules of occupancy of the mobile home park in which the mobile home is
      located with the exception of any rule, which directly or indirectly prohibits, in conflict with this section,
      the temporary rental of a mobile home for up to one year
      Prior to the mobile home renter’s taking occupancy, that renter and the mobile home owner shall provide
      the park owner with:
      1.        A copy of the mobile home rental agreement;
      2.        The true names of all intended occupants and their residential phone number;
      3.        Business phone numbers for all adult occupants who have such numbers; and
      4.        An agreement signed by all adult occupants, which reads as follows:

      E.       Such temporary rentals authorized by this chapter may not exceed 12 months in any two-year
      period subject to renewal because of continued hardship. (3277-5/95)




      TO: Rancho Del Rey Mobile home Estates
      FROM: J-Sandcastle Co. LLC
      RE: 16222 Monterey Lane Space 376, Huntington Beach, CA 92649

      Resident’s Name:   Jamie L Gallian
      Residents Cell No. 714-321-3449
      Residents Work No. 714-321-3449 (Ms Gallian’s cell no.)

      I agree to the following terms under Huntington Beach City Ordinance
      17.38.020.

      I have received copies of the lease between the park owner and the homeowner for Space # 376 and
      current park rules. Copies attached to this notice.
      I have read those documents with care. I believe I understand them. I believe that I qualify for occupancy
      under those rules and the master lease (except for provisions prohibiting subleasing). I agree to abide by
      those Park Rules and to meet all obligations of that master lease, which are relevant to an occupant. I
      understand that the park owner may directly enforce the within agreement against me without giving up
      any rights against the mobile home owner.

      Sincerely,




      J-Sandcastle Co. LLC
      Jamie Gallian, Its Member




                                                                                                                       281
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 283 of 381




                                                                           282
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 284 of 381




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                                   SERVICE LIST
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      VIVIENNE J. ALSTON
  4
      ALSTON, ALSTON & DIEBOLD
  5   27201 PUERTA REAL STE. 300
      MISSION VIEJO, CA 92691
  6   VALSTON@aadlawyers.com
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                                                                           283
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 285 of 381




                                                                           284
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 286 of 381




                                                                           285
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 287 of 381




                                                                           286
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 288 of 381



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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 289 of 381
                                                                                  2


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 25           JAMIE LYNN GALLIAN: 12.
 26           THE COURT: (X&US( 0(.




                                                                           288
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 290 of 381
                                                                                  3


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                                                                           289
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 291 of 381
                                                                                  4


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                                                                           290
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 292 of 381
                                                                                  5


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 15       3$R. H$S '(&,'(' TH$T SH('S 12T $ *22' T(1$1T TH(R(.
 16       TH(Y '21'T W$1T H(R $S $ T(1$1T, S2 TH(Y'R( 12T W,//,1*
 17       T2 $33R2V(. S2 12W W( H$V( $ S,TU$T,21 WH(R( 0S. *$//,$1
 18       2W1S TH( 02B,/( H20(, BUT TH( 3$R. ,S 12T *,V,1* H(R
 19       $UTH2R,Z$T,21 T2 ST$Y ,1 TH,S S3$&( B(&$US( SH('S 12T $
 20       T(1$1T TH$T TH(Y W$1T T2 H$V( TH(R(. TH$T'S WH$T , TH,1.
 21       ,S H$33(1,1* H(R(.
 22                     $1' ,'0 2.$Y W,TH TH$T, BUT ,'0 12T *2,1* T2
 23       /,T,*$T( TH$T ,SSU( H(R(. S2 ,'0 ST,// $//2W,1* H(R T2
 24       ,1T(RV(1( B(&$US( , '21'T TH,1. ,T SH2U/' B( /,T,*$T('
 25       H(R(. TH( ,SSU( 2) WH(TH(R 2R 12T *$//,$1 H$S TH( R,*HT
 26       T2 32SS(SS,21 1(('S T2 B( '(T(R0,1(' ,1 TH( &$S( TH$T ,S




                                                                           291
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 293 of 381
                                                                                  6


  1      3(1',1* ,1 &66.
  2                     $1' 3(RH$3S 21( 2) TH( ,SSU(S TH$T W,// B(
  3      /,T,*$T(' TH(R( ,S TH( QU(ST,21 2), 21(, ',' SH( $&TU$//Y
  4      BUY TH( 3R23(RTY; ',' SH( B(&20( TH( 2W1(R 2) TH( 02B,/(
  5      H20(. $1' TH( S(&21' ,SSU( ,S, 0Y TH2U*HT ,S, U1'(R TH(
  6      02B,/( H20( /$W, Y2U .12W, Y2U H$V( T2 H$V( *22' &$US( T2
  7      R(-(&T $ T(1$1T. Y2U &$112T -UST W,//Y-1,//Y ST$RT
  8       R(-(&T,1* 3(23/(. S2 , TH,1. TH$T TH(R( $R( R(*U/$T,21S
  9       $1' RU/(S TH$T &20( ,1T2 3/$Y. $1' ,T &2U/' B( /,T,*$T('
 10       ,1 TH( 2TH(R &$S( $*$,1ST 0S. *$//,$1 WH(TH(R TH( 3$R.
 11       )2//2W(' &2RR(&T 3R2&('UR(, WH(TH(R, Y2U .12W -- , '21'T
 12       .12W. ,T'S 23(1 T2 /,T,*$T,21, , TH,1..
 13                     S2 )2R $// TH2S( R($S21S, , TH,1. ,T W2U/' B(
 14       3R(0$TUR( $T TH,S 020(1T T2 S$Y 0S. *$//,$1 1(('S T2 B(
 15       (V,&T(' 21 TH( WR,T ,SSU(' ,1 TH,S &$S( B(&$US( W(
 16       $/R($'Y .12W TH$T, ,1 SH2RT 12T,&(, Y2U'R( *2,1* T2 H$V(
 17       $ TR,$/ ,1 H(R &$S(. $1' , TH,1. TH$T -U'*( H21(R W$S
 18       R,*HT WH(1 SH( S$,' TH$T SH( &2U/' ST23 (X(&UT,21 2) TH(
 19       WR,T , ,SSU(', B(&$US( , ,SSU(' ,T ,1 TH,S 0$TT(R.
 20                     BUT , H$V( TH( ',S&R(T,21, 21 TH(S( )$&TS, ,
 21       TH,1., T2 ST$Y (X(&UT,21 2) TH,S WR,T $*$,1ST 0S. *$//,$1
 22       $S $1 U1.12W1 2&&U3$1T, WH,&H ,S TH( 21/Y W$Y Y2U *UYS
 23       &$1 *(T H(R 2UT B(&$US( SH( ,S 12T $ 1$0(' '()(1'$1T.
 24       BUT (V(1 $S $1 U1.12W1 2&&U3$1T, , H$V( TH( ',S&R(T,21 T2
 25       ST23 TH$T $1' *,V( H(R TH( 2332RTU1,TY T2 *,V( H(R TH(
 26       TR,$/ TH$T SH('S (1T,T/(' T2 H$V(.




                                                                           292
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 294 of 381
                                                                                  7


  1                     TH2S( $R( 0Y TH2U*HTS. TH$T'S 0Y T(1T$T,V(.
  2             MS. ALSTON: Y2UR H212R, ),RST 2) $//, , W$1T T2 0$.(
  3      SUR( TH( &2URT ,S $W$R( TH$T TH( WR,T H$S B((1 (X(&UT('.
  4             THE COURT: 12. , .12W.
  5             MS. ALSTON: 2.$Y.
  6             THE COURT: ,'0 $W$R(. BUT ,'0 *2,1* T2 3UT ,T B$&.,
  7      WH,&H ,S R$R(, BUT...
  8             MS. ALSTON: $1' , '21'T TH,1. --
  9             THE COURT: ,T'S $ R$R( &$S( ,1 0$1Y W$YS, B(&$US( ,
 10      '21'T U1'(RST$1' --
 11             MS. ALSTON: BUT --
 12             THE COURT: &$1 , S$Y WH$T , '21'T U1'(RST$1'?
 13                     ,) Y2U H$V( $ &$S( $*$,1ST 0S. RY$1, $1' Y2U
 14       .12W TH$T RY$1 S2/' TH( 3R23(RTY T2 *$//,$1, , '21'T
 15       U1'(RST$1' WHY Y2U'R( TRY,1* T2 (X(&UT( TH,S WR,T TH$T'S
 16       ,SSU(' ,1 TH,S &$S(. $1' TH( 3R2B/(0 ,S TH$T Y2U '21'T
 17       TH,1. TH$T *$//,$1 QU$/,),(S, TH(1 , TH,1. ,T'S --
 18             MS. ALSTON: W( '21'T B(/,(V( TH$T SH( QU$/,),(S,
 19       Y2UR H212R --
 20             THE COURT: , U1'(RST$1'. BUT --
 21             MS. ALSTON: -- $1' W( W,// ),*HT TH$T 2UT $S T2
 22       32SS(SS,21 2) TH( 3R23(RTY BY TH( 2&&U3$T,21 2)
 23       TH( 02B,/( H20(. H2W(V(R, W( (X(&UT(' TH( WR,T $*$,1ST
 24       0S. *$//,$1 $S $1 U1.12W1 2&&U3$1T. TH,S &2URT $//2W('
 25       ,T.
 26             THE COURT: 12, 12. TH,S &2URT -- 12, 12, , ',' 12T




                                                                           293
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 295 of 381
                                                                                  8


  1      , $//2W ,T. WH$T ,T W$S ,S, SH( &2U/'1'T ,1T(RV(1( WH(1
  2      , TH2U*HT TH(R( W2U/' B( $ 3R2&(SS. , -- , -- , ',' 12T
  3      (X3(&T -- 3$RT 2) TH( 3R2B/(0 ,S TH$T (V(1 $T TH( T,0(
  4      TH$T Y2U (X(&UT(' ,T, B(&$US( ,T W$S $)T(R TH( H($R,1*,
  5      SH('S 12T (V(1 $1 U1.12W1 2&&U3$1T $T TH( T,0(. SH( ,S $
  6      .12W1 2&&U3$1T. ,1 )$&T, Y2U W(1T $1' ),/(' TH( 2TH(R
  7       &$S(.
  8                     S2 TH$T'S WHY , '21'T TH,1. TH$T TH( SH(R,))
  9       &$1 (X(&UT( $1 U1.12W1 2&&U3$1T WR,T ,1 TH,S &$S( $*$,1ST
 10       WH$T 12W ,S $ .12W1 2&&U3$1T. $1' $T TH( T,0( 2) TH(
 11       (X(&UT,21 2) TH( WR,T, SH( ,S $ .12W1 2&&U3$1T, 12T $1
 12       U1.12W1 21(. $1' Y2U $/R($'Y H$V( $&.12W/('*(' TH$T
 13       B(&$US( Y2U H$V( ),/(' TH( &$S( $*$,1ST H(R $S $ .12W1
 14       2&&U3$1T ,1 TH( U.'. Y2U ),/(' $*$,1ST 0S. *$//,$1.
 15           MS. ALSTON: , B(/,(V( TH$T SH( ,S $1 2W1(R 2&&U3$1T,
 16       Y2UR H212R. , 0($1, W( H$' -- BUT SH( H$S 2BT$,1('
 17       32SS(SS,21 2) TH( 3R23(RTY THR2U*H 0S. RY$1, 3/$&(' H(R
 18       ,1 32SS(SS,21 2) TH( H20(, $1' --
 19           THE COURT: WH2 S2/' TH( H20( T2 H(R?
 20           MS. ALSTON: BUT TH( S$/( 2) TH( H20( '2(S 12T *,V(
 21       H(R $1Y 32SS(SS2RY R,*HTS 2) TH( /$1'.
 22           THE COURT: 12, 12T 2) TH( /$1'. BUT TH$T'S WHY ,
 23       0$'( TH( 3R(0,S( , 0$'(, B(&$US( ,1 TH( &21T(XT 2) 02B,/(
 24       H20( /$W, 21&( TH( 3(RS21'S *2,1* T2 BUY TH( 3R23(RTY,
 25       TH(R('S $ 3R2&(SS TH$T SH( H$S T2 B( $1 $&&(3T$B/(
 26       T(1$1T. , U1'(RST$1' TH$T. $1' , S$,' T2 TH( T(1$1T, ",




                                                                           294
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 296 of 381
                                                                                  9


  1      U1'(RST$1' TH$T." TH$T H$S T2 B( /,T,*$T(' ,1 TH,S
  2      3$RT,&U/$R &$S(.
  3                     B(&$US(, TH,1. $B2UT ,T. , '21'T .12W H2W 0$1Y
  4      T,0(S , '2 02B,/( H20( U1/$W)U/ '(T$,1(R &$S(S WH(R( WH$T
  5      ,'0 (1&2UR$*,1* TH( '()(1'$1T T2 '2 ,S T2 $&TU$//Y '2
  6      WH$T TH( '()(1'$1T ',' H(R(. B(&$US( TH$T'S TH( WH2/(
  7      *2$/. , TH,1. Y2U S(// ,T, $1' 3$RT 2) TH( 021(Y ,S US('
  8      T2 &2V(R WH$T(V(R ,S 2W(', $1' TH(1 TH( 2TH(R 1(W 3(RS21
  9       B(&20(S TH( 1(W T(1$1T ,1 TH( 3$R.. , 0($1, TH$T'S TH(
 10       ,'($/ S,TU$T,21. , '21'T .12W WHY Y2U'R( '2,1* TH$T
 11       H(R(, BUT , '21'T W$1T T2 /,T,*$T( TH$T H(R(.
 12           MS. ALSTON: W(//, ,T ','1'T W2R. H(R( B(&$US( --
 13       W(//, ,T ','1'T W2R. H(R(, Y2UR H212R, B(&$US( TH(Y
 14       ','1'T )2//2W TH( ST,3U/$T(' -U'*0(1T. TH( ST,3U/$T('
 15       -U'*0(1T H$' $ /,ST 2) TH,1*S -- 2) T(R0S TH$T TH(Y W(R(
 16       3R2V,S,21S TH(Y W(R( SU332S(' T2 )2//2W ,1 TH( S$/(, $1'
 17       TH(Y &203/(T(/Y BR($&H(' TH2S(.
 18           THE COURT: "TH(Y" WH2; 0S. RY$1?
 19           MS. ALSTON: 0S. RY$1 $1' 0S. *$//,$1.
 20           THE COURT: W(//, 0S. *$//,$1 ,S 12T $ 3$RTY T2 TH$T
 21       $*R((0(1T.
 22           MS. ALSTON: BUT SH( W$S BUY,1* ,T )R20 0S. RY$1.
 23           THE COURT: , .12W. BUT --
 24           MS. ALSTON: $1' *2(S )2R --
 25           THE COURT: BUT SH( -- 12. BUT SH('S 12T $1 2W1(R
 26       2&&U3$1T.




                                                                           295
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 297 of 381
                                                                             10


  1           MS. ALSTON: , TH,1. TH$T SH( ,S, Y2UR H212R. $1' ,
  2      TH,1. 3R$&T,&$//Y -- , 0($1, ,'V( 12T BR,()(' ,T, $1' ,
  3      '21'T H$V( &$S(S $1' ST$TUT(S TH$T , &$1 32,1T T2 ,1 TH,S
  4      ,SSU( B()2R( TH( &2URT --
  5           THE COURT: WH$T ,SSU(S?
  6           MS. ALSTON: TH( ,SSU( 2) 2W1(R 2&&U3$1&Y.
  7           THE COURT: W(//, ,) TH( ,SSU( 2) U1.12W1 2&&U3$1T ,S
  8      12T B()2R( TH( &2URT, , '21'T U1'(RST$1', B(&$US( TH(
  9      21/Y W$Y TH$T TH( 3/$,1T,)) ,1 Y2UR &$S( *(TS T2 (X(&UT(
 10       TH,S WR,T $*$,1ST 0S. *$//,$1 ,S B(&$US( 2) TH(
 11       1212&&U3$1T.
 12           MS. ALSTON: Y(S.
 13           THE COURT: TH( ,SSU( W$S $*$,1ST RY$1.
 14           MS. ALSTON: Y(S, $1' $// U1.12W1 2&&U3$1TS.
 15           THE COURT: TH(1 Y2U'R( S$Y,1* SH( ,S $1 U1.12W1
 16       2&&U3$1T?
 17           MS. ALSTON: WH$T ,'0 S$Y,1* ,S TH$T , '21'T H$V( $
 18       BR,() T2 3R(S(1T T2 TH,S &2URT B(&$US( , W$S1'T $W$R(
 19       TH$T TH,S W$S *2,1* T2 B( TH( W$Y TH( &2URT W$S *2,1* T2
 20       02V(. $1' ,T W$S1'T ,1 TH( '2&U0(1TS, S2 ,T'S T$.(1 0( $
 21       /,TT/( B,T U1$W$R(.
 22                     H2W(V(R, WH$T TH( &2URT ,S &21T(03/$T,1* ,S
 23       TH$T $1YT,0( TH,S 3(RS21 WH2 ,S *,V(1 $ -U'*0(1T -- *(TS
 24       $ -U'*0(1T, TH$T TH(Y &$1 S,03/Y TR$1S)(R TH( U1,T 2V(R
 25       T2 -- WH(TH(R ,T'S $1 $3$RT0(1T, 02B,/( H20( 2R R.V., 2R
 26       WH$T(V(R ,T ,S TH$T TH(Y H$V( TH$T ,S /2&$T(' 21 TH(




                                                                           296
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 298 of 381
                                                                             11


  1      3R23(RTY, $1' TH(1 T$.( TH( -- TH( 3(RS21 T$.(S
  2      32SS(SS,21 2) TH( U1,T, $1' TH(1 TH( WR,T &$1'T B(
  3      (X(&UT('.
  4           THE COURT: Y2U 0($1, $S T2 TH$T 3(RS21. 12. TH$T'S
  5      0Y WH2/( 32,1T.
  6           MS. ALSTON: , '21'T B(/,(V( TH( /$W W2R.S TH$T W$Y,
  7      Y2UR H212R, B(&$US( TH,S ,S 1(V(R-(1',1* 32SS(SS,21 2R
  8      2&&U3$T,21 TH$T 3R(V(1TS TH( 3/$,1T,)) )R20 2BT$,1,1*
  9      32SS(SS,21 2) TH( 3R23(RTY.
 10           THE COURT: , $0 &21&(R1(' $B2UT ,T -- $1' ,
 11       U1'(RST$1' Y2UR 32,1T -- BUT ,'V( '21( TH,S )2R Y($RS.
 12       S2 ,T'S U1&20021, ),RST, S2 ,'0 TRY,1* T2 $''R(SS $//
 13       )UTUR( 2&&U3$T,21 3R2B/(0S. ,'0 21/Y TRY,1* T2 $''R(SS
 14       TH( 3R2B/(0S ,1 TH,S 3$RT,&U/$R &$S( 21 TH(S( 3$RT,&U/$R
 15       )$&TS.
 16                     WH$T , U1'(RST$1' ,S TH$T *$//,$1 B2U*HT TH(
 17       3R23(RTY )R20 RY$1. $1' , W$1T T2 (03H$S,S TH$T. ,T'S
 18       12T RY$1 BR2U*HT S20( 2TH(R 3(RS21 T2 /,V( W,TH H(R. 0Y
 19       U1'(RST$1',1* ,S, RY$1 02V(' 2UT, $1' S2RT 2) $1T,&,3$T('
 20       BY TH( ST,3U/$T,21, RY$1 S2/' TH( 3R23(RTY, $// R,*HT,
 21       TH( 02B,/( H20( T2 *$//,$1. $1' 12W .12W,1* TH$T, WH$T
 22       ,'0 B(,1* $S.(' T2 S$Y ,S, ,T'S 2.$Y T2 US( TH( WR,T ,1
 23       TH,S &$S( $*$,1ST *$//,$1 $S $1 U1.12W1 2&&U3$1T. TH$T'S
 24       TH( 3R2B/(0 , H$'.
 25                     0Y $1$/YS,S S,03/Y S$YS T2 0(, , $0 12T *2,1*
 26       T2 '2 TH$T B(&$US( *$//,$1 '2(S -- ,) , ',' TH$T, *$//,$1




                                                                           297
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 299 of 381
                                                                             12


  1      '2(S 12T *(T T2 /,T,*$T( TH( QU(ST,21 2) WH(TH(R TH(
  2      H20( -- 02B,/( H20( 3$R. ,S &2RR(&T ,1 S$Y,1* TH$T SH(
  3      '2(S1'T QU$/,)Y. , '21'T .12W WH(TH(R SH( -- , '21'T
  4      .12W WH(TH(R SH( QU$/,),(S.
  5                     BUT , '2 .12W TH,S ,1 0Y H($': , W$1T T2 B(
  6      SUR( TH$T *$//,$1'S R,*HT T2 /,T,*$T( WH(TH(R 2R 12T,
  7      WH(TH(R 2R 12T SH( QU$/,),(S T2 B( $ T(1$1T $T TH( 3$R.,
  8      B(&$US( TH(R( $R( 3R2V,S,21S ,1 TH( 02B,/( H20( 3$R. TH$T
  9       H$V( T2 B( )2//2W(' T2 '(1Y TH$T. , W$1T T2 B( SUR(
 10       TH$T'S -- TH$T SH( H$S $ 3/$&( T2 $R*U( TH$T. 12W, ,
 11       '21'T .12W WH(TH(R 0S. *$//,$1'S *2,1* T2 W,1 2R 12T, BUT
 12       WH$T , W$1T ,S T2 &R($T( $ 3R2&(SS TH$T '2(S 12T
 13       ,03('( -- TH$T '2(S 12T ,1T(R)(R( W,TH H(R $B,/,TY T2
 14       /,T,*$T( TH$T ,SSU(.
 15                     $1' ,) Y2U'R( R,*HT TH$T 0S. *$//,$1 '2(S1'T
 16       QU$/,)Y, TH(1 ,'0 $SSU0,1* Y2U'R( *2,1* T2 W,1 TH( &$S(
 17       $&R2SS TH( H$//. $1' ,) Y2U'R( WR21* $1' TH( -U'*( ),1'S
 18       TH$T SH( '2(S QU$/,)Y, TH(1 0$YB( SH( *(TS T2 &21T,1U( T2
 19       B( ,1 32SS(SS,21.
 20                     $1' TH,S ,S 3$RT,&U/$R/Y ,032RT$1T ,1 02B,/(
 21       H20( 3$R. S,TU$T,21S B(&$US( 2) TH( S3(&,$/ &,R&U0ST$1&(S
 22       TH$T , -UST ),1,SH(' (X3/$,1,1* TH$T $33/,(S T2 02B,/(
 23       H20(S, WH,&H ,S TH( R($S21 WHY TH( /(*,S/$TUR( ,032S(S S2
 24       0$1Y R(*U/$T,21S 21 TH( W$Y Y2U &$1 (V,&T, 21 TH( W$Y
 25       TH$T -- Y2U .12W, ,T'S S2RT 2) /,.( $ WH2/( ',))(R(1T
 26       SYST(0 3$R$//(/ T2 TH( R(*U/$R (V,&T,21 ST$TUT(S TH$T $R(




                                                                           298
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 300 of 381
                                                                             13


  1      0U&H 02R( 21(R2US $1' &203/,&$T('. , TH,1. TH$T TH$T'S
  2      02T,V$T(' BY W$1T,1* T2 3R2T(&T 2W1(RS ,1 02B,/( H20(
  3      3$R.S.
  4                     S2 TH$T'S $// , W$1T, T2 B( SUR( -- , W$1T T2
  5      B( SUR( SH( *(TS $ SH2T. $1' , '21'T TH,1. TH(R('S $1Y
  6      HU*( '(TR,0(1T T2 TH( 3/$,1T,)) B(&$US( SH('S ,1 TH(
  7      3$R., Y2U $/R($'Y H$V( ),/(' TH( &$S(, S2 TH$T'S 3(1',1*.
  8      , 12T,&( TH$T TH(R( ,S $1 $1SW(R. $1' , 12T,&( --
  9      BR,()/Y , W$S /22.,1* T2 S(( ,) TH(R( W$S $ TR,$/ ,1 TH(
 10      2TH(R &$S(. , TH,1. TH(R('S 12 TR,$/, BUT W( .12W TH$T
 11       W,TH,1 21 '$YS 2) Y2U'R( 0$.,1* Y2UR R(QU(ST, Y2U'R(
 12       *2,1* T2 H$V( $ TR,$/ '$T(. S2 , TH,1. TH,S ,S $// *2,1*
 13       T2 *(T R(S2/V(' V(RY 3R203T/Y ,1 TH( 2TH(R &$S(.
 14                     12W, ,'0 /,0,T,1* 0Y RU/,1* $&&2R',1* T2 TH,S.
 15       ,'0 12T TRY,1* T2 *2 $&R2SS TH( B2$R' B(&$US( , &2U/'
 16       ,0$*,1( TH$T S20(21( &2U/' '2 WH$T Y2U -UST '(S&R,B(',
 17       WH,&H ,S $BUS( TH( 3R2&(SS, R,*HT. S20(B2'Y WH2 ,S $1
 18       ,//-,1T(1'(' T(1$1T &2U/' B( *2,1* )2R 32SS(SS,21, $1'
 19       TH(1 Y2U S$Y TH(Y'R( 12T 2W1(R 2&&U3$1TS. , *(T TH$T.
 20       S2 , $0 12T TRY,1* T2 &20( U3 H(R( W,TH $ RU/,1* TH$T'S
 21       *2,1* T2 B( $33/Y,1* $&R2SS TH( B2$R' B(&$US( TH$T ,S 12T
 22       0Y ,1T(1T $T $//. TH,S ,S V(RY )$&T-S3(&,),& ,1 WH$T ,
 23       TH,1. ,S $ H,*H/Y U1USU$/ &$S( B(&$US( , H$V(1'T S((1 ,T
 24       H$33(1 B()2R(.
 25           MS. ALSTON: TH,S H$S B((1 /,T,*$T(', Y2UR H212R.
 26       0S. *$//,$1 BR2U*HT $ T.R.2., $1' ,T W$S *R$1T('. TH(Y




                                                                           299
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 301 of 381
                                                                             14


  1      W(1T THR2U*H $ 3R(/,0,1$RY ,1-U1&T,21. $1' $T TH(
  2      3R(/,0,1$RY ,1-U1&T,21, TH( &2URT 0$'( $ RU/,1* $S T2 H(R
  3      R,*HT T2 32SS(SS,21, $1' ,T '(T(R0,1(' TH$T SH( ','1'T
  4      H$V( $1Y.
  5           THE COURT: , -UST S$,' -- , R($' TH( RU/,1*S, BY TH(
  6      W$Y. TH( 3R2B/(0 TH$T , W$S1'T S$T,S),(' W,TH ,S WH(TH(R
  7      2R 12T SH( *2T T2 /,T,*$T( TH( QU(ST,21 2) WH(TH(R TH(R(
  8      H$' B((1 &203/,$1&( W,TH TH( R(*U/$T,21S 2) 02B,/( H20(
  9       3$R.S, $1' WH(TH(R SH( W$S $ T(1$1T TH$T 0(T TH(
 10       R(QU,R(0(1TS 2) TH( 3$R. S2 TH$T TH(Y &2U/' 12T --
 11           MS. ALSTON: SH( ','.
 12           THE COURT: TH$T'S 12T $33$R(1T )R20 TH(
 13       02V,1* 3$3(RS. TH$T'S WH$T , H$V(. $1' ,) , ',' H$V(
 14       TH$T, TH(1 TH( &$S( 1(XT '22R ,S *2,1* T2 B( (V(1 )$ST(R
 15       B(&$US( ,1 TH( &$S( 1(XT '22R, Y2U'R( *2,1* T2 H$V(
 16       &2//$T(R$/ (ST233(/, $1' Y2U'R( *2,1* T2 B( $B/( T2 S$Y,
 17       "2H, TH,S $S $/R($'Y /,T,*$T(', S2 W( '21'T H$V( T2
 18       /,T,*$T( ,T."
 19           MS. ALSTON: , TH,1. TH( &2URT ',' $''R(SS ,T. ,T'S
 20       TH(R(, Y2UR H212R. BUT , '2 B(/,(V( ,T ,S TH(R( WH(1 ,T
 21       S$YS TH$T 0S. *$//,$1'S 32SS(SS,21 2) TH( SUB-(&T 02B,/(
 22       H20( W$S 1(V(R $UTH2R,Z(' BY TH( '()(1'$1T, $1' SH( ,S,
 23       ,1 (SS(1&(, $ SQU$TT(R.
 24           THE COURT: (X&US( 0(. ,'0 *2,1* T2 T$.( ,SSU( W,TH
 25       TH$T. , '21'T .12W WH(TH(R TH$T 0($1S TH$T SH( B(&$0(
 26       TH( 2W1(R W,TH2UT TH( 3(R0,SS,21. $1' , U1'(RST$1'




                                                                           300
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 302 of 381
                                                                             15


  1      TH$T -- H2W(V(R, , '21'T .12W ,) SH( *2T T2 /,T,*$T(
  2      WH(TH(R TH( 3(R0,SS,21 W$S R,*HT)U//Y 2R WR21*)U//Y
  3      '(1,('. $1' ,T S((0S T2 0( TH$T, ,1 TH( &21T(XT 2)
  4      ,SSU,1* $ T(032R$RY R(STR$,1,1* 2R'(R 2R 12T, TH$T
  5      3R2B$B/Y W2U/'1'T B( TH( B(ST )2RU0 T2 '2 TH$T. SH(
  6      3R2B$B/Y 1(('S T2 *2 T2 TR,$/.
  7                     BUT Y2U '21'T H$V( T2 &21V,1&( 0( 2) TH$T
  8      B(&$US(, $*$,1, TH,S ,S $ SH2RT '(/$Y. ,) Y2U'R( R,*HT,
  9       Y2U'R( *2,1* T2 *(T $ WR,T R,*HT $&R2SS TH( '22R )R20
 10       H(R( ,1 TH$T &2URTR220 WH(1 Y2U /,T,*$T( ,T. $1' ,) Y2U
 11       B(/,(V( ,T W$S /,T,*$T(', $1' Y2U B(/,(V( Y2U $/R($'Y
 12       H$V( $ RU/,1* 21 TH$T ,SSU(, TH(1 Y2U &$1 $R*U( TH$T W,TH
 13       -U'*( H21(R. BUT $// , W$1T T2 '2 ,S ST23 TH,S
 14       3R2&(SS -- ,1 0Y &$S(, TH$T'S $// , &$R(, ,S T2 *,V(
 15       0S. *$//,$1 TH( )U// 2332RTU1,TY T2 $R*U( WH(TH(R SH( H$S
 16       TH( R,*HT T2 32SS(SS,21 ,1 TH( &$S( TH$T Y2U $/R($'Y
 17       ),/('.
 18           MS. ALSTON: , W2U/' /,.( T2 R(QU(ST TH$T TH( &2URT
 19       T$.( -U',&,$/ 12T,&( 2) TH( RU/,1*S 0$'( ,1 )R21T 2)
 20       -U'*( B$U(R. $1' TH( &$S( 1U0B(R ,S -- , TH,1. , H$V(
 21       TH( &$S( 1U0B(R 21 TH( 0,1UT( 2R'(R.
 22           THE COURT: , T$.( -U',&,$/ 12T,&( 2) TH( &$S(S ,1
 23       TH( 2R$1*( &2U1TY SU3(R,2R &2URT.
 24           MS. ALSTON: BUT SH( ',' H$V( --
 25           THE COURT: WH$T ,S ,T TH$T Y2U'R( /22.,1* $T?
 26           MS. ALSTON: ,'0 /22.,1* $T 0Y '2&U0(1TS, Y2UR H212R,




                                                                           301
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 303 of 381
                                                                             16


  1      WH,&H ,S WH$T , QU2T('.
  2           THE COURT: , H$V( S((1 ,T. , -UST W$1T T2 B( SUR( ,
  3      .12W WH$T ,'0 /22.,1* $T, 2.$Y.
  4           MS. ALSTON: BUT, Y2UR H212R --
  5           THE COURT: W$,T $ 0,1UT(. , TH,1. Y2U ',' H$V( $1
  6      2R'(R. S2 TH( 0,1UT( 2R'(R BY -U'*( B$U(R ,SSU('
  7      1/4/2019 -- WH,&H, BY TH( W$Y, TH( 2TH(R W$Y , H$V( 2)
  8      /22.,1* $T TH,S --
  9           JAMIE LYNN GALLIAN: , H$V( $ &23Y 2) ,T, Y2UR H212R,
 10      ,) Y2U W$1T T2 S(( ,T.
 11           THE COURT: -- WH,&H, Y2U .12W, $*$,1, 3R,2R T2
 12      (X(&UT,21 2) TH( WR,T, WH,&H 0($1S, ,) $1YTH,1*, TH$T BY
 13      TH( (X(&UT,21 2) TH( WR,T, ,T -UST 0($1S, B(&$US( 2) H(R
 14       ())2RTS, SH( ,S $1 U1.12W1 2&&U3$1T. ,'0 ST,// &21&(R1('
 15       $B2UT TH$T.
 16                     BUT , '21'T (V(1 H$V( T2 *2 21 TH$T 32,1T. ,'0
 17       12T TRY,1* T2 *2 21 TH$T 32,1T, (,TH(R. , -UST W$1T Y2U
 18       T2 U1'(RST$1', $// ,'0 *2,1* T2 '2 ,S ST$Y 3R2&((',1*S
 19       B$S(' 21 0Y WR,T T2 S(( WH$T H$33(1S ,1 TH( &$S( ,1 )R21T
 20       2) -U'*( H21(R, $1' TH(1 W('// S(( WH(R( W('R( $T.
 21           MS. ALSTON: TH( 32,1T , W$1T(' T2 0$.(, SH( ',' H$V(
 22       $1 $TT2R1(Y 3R(S(1T, $1' ,T W$S /,T,*$T('. TH( &2URT ','
 23       H$V( $ 1U0B(R 2) '(&/$R$T,21S R(*$R',1* (X3R(SS/Y
 24       (X3/$,1,1* $// 2) TH( R($S21S TH$T H(R $33/,&$T,21 W$S
 25       '(1,('. S2 TH$T H$' T2 &20( B()2R( $ -U'*(, TH$T H$S
 26       B((1 RU/(' U321 BY $ -U'*(.




                                                                           302
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 304 of 381
                                                                             17


  1           THE COURT: , '21'T U1'(RST$1'.
  2                     WH$T ,S TH( '(TR,0(1T 2) -UST, /,.( -- TH,S ,S
  3      *2,1* T2 *(T R(S2/V(' W,TH,1 TH( 1(XT 30 '$YS. ,) Y2U
  4      R,*HT 12W *2 '2W1ST$,RS $1' Y2U $S. )2R TH$T TR,$/, Y2U
  5      *(T $ TR,$/ ,S W,TH,1 30 '$YS. , '21'T U1'(RST$1'.
  6                     WH$T ,S TH( '(TR,0(1T?
  7                     ,'0 TRY,1* T2 U1'(RST$1'.
  8                     ,) , S$Y TH$T SH('S ,1 32SS(SS,21 2) TH,S
  9      02B,/( H20( WH,/( TH( 2TH(R &$S( ,S B(,1* /,T,*$T(', WH$T
 10       ,S TH( '(TR,0(1T?
 11           MS. ALSTON: TH(R( $R( $ 1U0B(R 2) '(TR,0(1TS. ),RST
 12       2) $//, SH('S H$R$SS,1* TH( 1(XT-'22R 1(,*HB2RS, SH('S
 13       $TT$&H,1* )(1&,1* T2 TH$T 3R23(RTY, $1' TH(Y'R( H$V,1*
 14       ),*HTS 2V(R TH$T $1' S&R($0,1* 0$T&H(S 2V(R TH$T. TH(R(
 15       ,S $ T.R.2. ,1 3/$&( $*$,1ST 0S. *$//,$1 WH(R( SH( ,S 12T
 16       SU332S(' T2 &20( W,TH,1 --
 17           THE COURT: TH(R('S $ T.R.2. 2) H2W )$R?
 18           MS. ALSTON: THR(( HU1'R(' )((T.
 19           JAMIE LYNN GALLIAN: T(1 Y$R'S, 0$'$0. $1' ,T W$S
 20       )R20 $ 3R(V,2US, UH -- TH( 02B,/( H20( 3$R. SH$R(S TH(
 21       S$0( S(&UR,TY *$T( W,TH $12TH(R &200U1,TY TH$T , S2/' 0Y
 22       3R23(RTY. , /,V(' TH(R( )2R 2V(R T(1 Y($RS, $1' ,T W$S
 23       T(1 Y$R'S T.R.2. 2) $ B2$R' 0(0B(R. T(1 Y$R'S ,S 30
 24       )((T, S2 ,T H$S 12TH,1* T2 '2 W,TH TH,S &$S(. ,T'S 12
 25       V,2/(1&(, 12 12TH,1*, R,*HT?
 26           MS. ALSTON: W(//, TH( T.R.2. H$S B((1 *R$1T('. TH(




                                                                           303
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 305 of 381
                                                                             18


  1      ,1-U1&T,21, ,T'S $ ),V(-Y($R ,1-U1&T,21 T2 ST$Y $W$Y 2V(R
  2      TH$T ,SSU(.
  3           JAMIE LYNN GALLIAN: SH( ),/(' ,T 21 --
  4           THE COURT: WH$T'S TH( ,SSU(?
  5           MS. ALSTON: ,T W$S $33R2X,0$T(/Y S,X, (,*HT W((.S
  6      $*2, Y2UR H212R.
  7           THE COURT: WH$T TY3( 2) &$S( ,S TH$T?
  8           JAMIE LYNN GALLIAN: ,T'S R,*HT $&R2SS $T -U'*(
  9      H21(R'S.
 10           MS. ALSTON: ,T W$S SH(RR, H21(R'S &2URT, Y2UR H212R.
 11           THE COURT: W$S TH$T $ &,V,/ H$R$SS0(1T &$S(?
 12           MS. ALSTON: Y(S, ,T W$S $ &,V,/ H$R$SS0(1T &$S(.
 13      TH(R( W(R( TW2 -- (V(RY T,0( TH$T SH('S ,1 -- *2(S
 14      THR2U*H TH( *$T(, SH( V,2/$T(S TH$T T.R.2.
 15           JAMIE LYNN GALLIAN: 12, TH$T ,S 12T TRU(, 0$'$0.
 16           MS. ALSTON: $1' SH( H$S $ &R,0,1$/ &$S( 3(1',1*
 17       $*$,1ST H(R $S W(// )2R V,2/$T,21S 2) $12TH(R T.R.2.
 18       $*$,1ST $ Y2U1* &H,/'.
 19                     S2 TH(S( $R( &21T,1U,1* H$R$SS0(1TS TH$T $R(
 20       21*2,1*. S2 TH( '(TR,0(1T ,S TH$T SH('S V,2/$T,1* $
 21       T.R.2., SH('S H$R$SS,1* H(R 1(,*HB2RS. , U1'(RST$1' TH$T
 22       TH,S W,// B( H$33(1,1* QU,&./Y, BUT SH( H$S TH( &2URT'S
 23       &21&(R1 TH$T SH( H$S1'T H$' $1 2332RTU1,TY T2 3R(S(1T H(R
 24       &$S( T2 TH( &2URT $1' '(T(R0,1( WH(TH(R 2R 12T H(R
 25       2&&U3$T,21 ,S 3R23(R B(&$US( SH( W$S 12T $33R2V(' H$S
 26       B((1 /,T,*$T(' $1' H$S B((1 $'-U'*(' BY TH( &2URT.




                                                                           304
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 306 of 381
                                                                             19


  1                     TH( &2URT H$S H$' --
  2           THE COURT: WH(1 ',' Y2U ),/( TH( 2TH(R &$S(?
  3           MS. ALSTON: TH( 2TH(R &$S( W$S ),/(' --
  4           THE COURT: TH( &$S(, 0$'$0?
  5           JAMIE LYNN GALLIAN: -$1U$RY 21'.
  6           MS. ALSTON: Y2UR H212R, ,T W$S -$1U$RY.
  7           THE COURT: -$1U$RY 21'?
  8           MS. ALSTON: , '21'T .12W TH( '$T(.
  9           JAMIE LYNN GALLIAN: -$1U$RY 21', Y2UR H212R. ,T W$S
 10      S(RV(' )(BRU$RY 5TH 21 0(. , H$V( ,T R,*HT H(R(, Y2UR
 11      H212R, ,) Y2U'' /,.( T2 S(( ,T.
 12                     (3$US( ,1 3R2&((',1*S.)
 13           THE COURT: TH$T'S WH$T , 0($1. TH$T'S 0Y WH2/(
 14       3R2B/(0 W,TH TH,S &$S(. SH('S 12T $1 U1.12W1 2&&U3$1T.
 15       TH$T'S TH( 3R2B/(0. S2 ,'0 ST,// B$&. T2 TH,S 3R2B/(0.
 16       21 -$1U$RY 21', Y2U ),/(' TH( &$S(. Y2U .12W SH('S ,1
 17       32SS(SS,21. $1' SH( T22. 32SS(SS,21 U1'(R &2/2R 2) S20(
 18       R,*HTS B(&$US( SH( B2U*HT TH( 3R23(RTY. $1' Y2U .1(W ,1
 19       2R'(R -- ,1 2R'(R -- TH( 21/Y W$Y TH( WR,T ,1 TH,S &$S(
 20       $*$,1ST RY$1 *(TS T2 B( (X(&UT(' $*$,1ST *$//,$1 ,S ,)
 21       SH( ,S $1 U1.12W1 2&&U3$1T.
 22                     $1' WH(1 TH$T WR,T ,S (X(&UT(', SH( ,S 12T $1
 23       U1.12W1 2&&U3$1T. Y2U H$V( ),/(' $1 U1/$W)U/ '(T$,1(R 21
 24       -$1U$RY 21', WH,&H 0($1S T2 0( SH('S 12T $1 U1.12W1
 25       2&&U3$1T. , $0 12T -- , -- TH( B(ST , &$1 '2 H(R( ,S,
 26       ,'0 3R(TTY SUR( , &$1 RU/( H(R( TH$T TH( WR,T H(R( ,S 12T




                                                                           305
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 307 of 381
                                                                             20


  1      ())(&T,V(, WH,&H , TH,1. ,'0 $B2UT T2 '2, 2R , &$1 -UST
  2      S$Y ,T'S W$,T,1* )2R 3R2&((',1*S 1(XT '22R.
  3                     BUT , W,// 12T H$V( TH,S 3(RS21 (V,&T(' U1'(R
  4      TH( U0BR(//$ 2) $1 U1.12W1 2&&U3$1T WH(1 Y2U ),/(' $1
  5      U1/$W)U/ '(T$,1(R 21 -$1U$RY 21'. $1' BY TH(1, SH('S 12
  6      /21*(R $1 U1.12W1 2&&U3$1T. S2 BY TH( T,0( TH,S *(TS
  7      (X(&UT(', SH('S 12T $1 U1.12W1 2&&U3$1T. , TH,1. TH$T'S
  8       $ /2*,&$/ ,SSU( 2) WH$T $1 U1.12W1 2&&U3$1T ,S. $
  9       1212&&U3$1T ,S, TH(Y 23(1 TH( '22R $1' ),1' ),V( 3(23/(
 10       /,V,1* TH(R(; TH(Y 21/Y H$V( TH( 1$0( 2) RY$1. TH(Y
 11       '21'T H$V( TH( ),V( 3(23/( T2 *(T 2UT. TH$T'S 12T WH$T
 12       H$33(1(' ,1 TH,S &$S(. TH$T'S 12T H(R( B()2R( 0(.
 13           MS. ALSTON: Y2UR H212R, , '2 B(/,(V( TH$T SH(
 14       QU$/,),(S $S $1 2W1(R 2&&U3$1T. , '2 B(/,(V( TH$T 0Y
 15       &21&(R1S -- $1' , .12W TH( &2URT '2(S1'T W$1T T2 RU/( 21
 16       TH,S 0$TT(R, BUT $*$,1, ,T'S $ &21&(R1 ,) 21( 3(RS21
 17       S$YS, ",'0 *2,1* T2 B( /2&.(' 2UT. ,'0 *2,1* T2 3UT
 18       $12TH(R 3(RS21 ,1." $1' --
 19           THE COURT: ,) Y2U W$1T T2 /,T,*$T( -- ,) Y2U'R(
 20       $S.,1* 0( T2 /,T,*$T( WH(TH(R 2R 12T SH('S $1 U1.12W1
 21       2&&U3$1T, SUR(, W( &$1 H$V( $ BR,(),1* S&H('U/(. , -UST
 22       TH,1. TH( S221(R Y2U *(T 2V(R TH(R(, TH( S221(R TH,S &$S(
 23       *(TS '21(. , '21'T W$1T T2 H$V( $1 ,SSU( TH$T ST$YS --
 24       WH,&H S$YS TH$T TH( ST$Y ,S *2,1* T2 B( B(Y21' TH( &2URT
 25       RU/(S ,1 TH,S U1/$W)U/ '(T$,1(R, 2R ,) Y2U W$1T T2
 26       /,T,*$T( WH(TH(R 2R 12T Y2U &$1 (X(&UT( $ WR,T $*$,1ST




                                                                           306
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 308 of 381
                                                                             21


  1      TH,S 3$RT,&U/$R ,1',V,'U$/ $S $1 U1.12W1 2&&U3$1T, Y2U
  2      &$1 *,V( 0( -- &20( U3 W,TH $ BR,(),1* S&H('U/(. BUT Y2U
  3      *(T T,0(, SH( *(TS T,0(, B(&$US( TH,S *2(S T2 TH$T.
  4           JAMIE LYNN GALLIAN: Y2UR H212R, , H$V( 21( 02R(
  5      TH,1*.
  6           MS. ALSTON: Y2UR H212R, , $0 &21&(R1('. , '21'T
  7      W$1T T2 0$.( 3(23/( -- Y2U .12W, , '21'T W$1T T2
  8      U11(&(SS$R,/Y (X3(1' $TT2R1(YS' )((S )2R 0Y &/,(1T. ,)
  9      TH( &2URT ,S 12T *2,1* T2 (X(&UT( TH( WR,T $T TH,S T,0(,
 10      , TH,1. ,T W2U/' B( B(ST )2R US T2 3R2&(('. , '2,
 11      H2W(V(R, H$V( *R$V( &21&(R1S TH$T TH,S &2URT ,S
 12       2V(RRU/,1* -U'*( B$U(R'S '(&,S,21 TH$T'S B((1 /,T,*$T('.
 13           THE COURT: ,T'S 12T 0Y ,1T(1T T2 2V(RRU/( $1YB2'Y.
 14       ,1 )$&T, , '21'T H$V( TH( 32W(R T2 2V(RRU/( $1YB2'Y. ,
 15       21/Y H$V( TH( 32W(R T2 0$.( $1 $SS(SS0(1T $B2UT TH,S
 16       3$RT,&U/$R &$S(.
 17           MS. ALSTON: TH$T'S WH$T'S H$33(1,1*. $1' , -UST
 18       W$1T T2 3R(S(1T TH$T T2 TH( &2URT.
 19           THE COURT: ,'0 12T 2V(RRU/,1* -U'*( B$U(R. , TH,1.
 20       H( )2U1' TH$T TH( ,1-U1&T,V( R(/,() W$S 12T $V$,/$B/( ,1
 21       TH$T 2TH(R &$S(. ,'0 12T RU/,1* 21 TH$T H(R(. , '21'T
 22       (V(1 .12W TH( ,1'S $1' 2UT'S 2) TH$T.
 23                     0Y RU/,1* ,S S,03/Y TH$T, ,1 TH,S -- $1' , $0
 24       *2,1* T2 RU/( 21 ,T. ,1 TH,S 3$RT,&U/$R &$S( WH(1 TH(
 25       &$S( W$S ),/(', -$0,( *$//,$1 W$S 12T $ '()(1'$1T. 21/Y
 26       /,S$ RY$1 W$S $ '()(1'$1T. /,S$ RY$1 (X(&UT(' TH(




                                                                           307
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 309 of 381
                                                                             22


  1      ST,3U/$T,21. TH( ST,3U/$T,21 &21T(03/$T(' H(R T2 ST$Y ,1
  2      TH( 02B,/( H20(. TH( 02B,/( H20( -- /,S$ RY$1 V$&$T('
  3      TH( 3R23(RTY 3URSU$1T T2 TH( ST,3U/$T,21; TH( 02B,/( H20(
  4      W$S S2/' T2 -$0,( *$//,$1.
  5           MS. ALSTON: SH( ',' 12T V$&$T( 21 $ T,0(/Y B$S,S.
  6           THE COURT: , '21'T W$1T T2 $R*U( TH$T, $1' TH$T'S
  7      12T B()2R( 0(. S2 3(R TH( ST,3U/$T,21, -$0,( *$//,$1
  8      3UR&H$S(' TH( 3R23(RTY )R20 0S. RY$1 $1' 02V(' ,1T2 TH(
  9      02B,/( H20( TH$T 0S. RY$1 US(' T2 2&&U3Y. $1' 21 -$1U$RY
 10       21', 2019, TH( 3/$,1T,)) ,1 TH,S &$S(, H2US(R BR2TH(RS,
 11       ),/(' $1 U1/$W)U/ '(T$,1(R $*$,1ST 0S. *$//,$1,
 12       3R(SU0$B/Y B(&$US( TH(Y B(/,(V( TH$T SH( '2(S1'T QU$/,)Y
 13       T2 B( $ 3$R. T(1$1T. $1' TH(Y 0$Y H$V( 2TH(R R($S21S )2R
 14       TH$T. TH$T'S 12T B()2R( TH,S &2URT.
 15                     WH$T ,S B()2R( TH,S &2URT ,S TH$T $)T(R ),/,1*
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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 310 of 381
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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 311 of 381



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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 312 of 381




                                                                           311
  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-1
                        Main        Filed 08/11/22
                             Document      Page 313 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 2 Page 35 of 40




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                                                                         312
  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-1
                        Main        Filed 08/11/22
                             Document      Page 314 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 2 Page 36 of 40




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                                                                         313
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 315 of 381




                                                                           314
  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-2
                        Main        Filed 08/11/22
                             Document      Page 316 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 3 Page 13 of 93




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  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-1
                        Main        Filed 08/11/22
                             Document      Page 317 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 2 Page 39 of 40




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                                                                         316
Case 8:21-ap-01097-SC     Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45               Desc
                         Main Document    Page 318 of 381



September 7, 2020

DELIVERED VIA USPS BY FIRST CLASS MAIL

DELIVERED PERSONALLY AND PLACED IN THE
PARK OFFICE MAILBOX
16222 Monterey Lane, [Park Office]
Huntington Beach, CA 92649


HOUSER COMPANY, A GENERAL PARTNERSHIP;
HOUSER BROTHERS CO, A GENERAL PARTERNSHIP;
HOUSER BROS CO. A CA LIMITED PARTNERSHIP dba RANCHO DEL REY
ESTATES

RE: COVID-19 Tenant Relief Act of 2020
      1. Enclosed please find the signed Declaration of Jamie Gallian dated September 7,
         2020, addressed to the Landlord for Ground Lease Space 376, for rent period March
         4, 2020 through August 31, 2020, pursuant to Tenant protection of eviction for non-
         payment of rent;
      2. Tenant Relief Act AB 3088 affects unpaid rent between March 1, 2020 - January 31,
         2021;
      3. Pursuant to the terms of AB3088, enclosed Check # 4502 in the amount of 25% of
         $11,946, representing March 4, 2020 through August 31, 2020, tendered on or before
         January 31, 2021; Submitted to Landlord September 7, 2020, under Penalty of
         Perjury with attached Declaration of Financial Hardship.

Dear Mr. Houser,

       I have been substantially affected by the COVID 19 pandemic that has led to my
current financial hardship and continues as of the date of this Declaration.

       For the past 6 months, beginning approximately March 4, 2020 through August
31, 2020, I have financially suffered hardship due to the effects of COVID 19, and the
burden I have endured continues. My financial hardship continues therefore I
respectfully seek COVID 19 relief from eviction pursuant to the terms set forth in AB
3088 signed into law by the Governor of California on Friday, August 31, 2020.

       Please find enclosed Check No. 4502 in the amount of $ 2986.50, which
represents 25% of the amount of rent accrued unpaid March 4, 2020 through August 31,
2020.

       After selling my home, transferring the Ground Leasehold Assignment per the
terms of the Original Tenant and Subtenants Ground Leasehold and Sub-condominium




                                                                                        317
Case 8:21-ap-01097-SC        Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                     Desc
                            Main Document    Page 319 of 381



Leasehold recorded in the Official Records of the Clerk of the County of Orange within
the Condominium Project, to Mr. Randy Nickel on October 31, 2018, thereafter on
November 1, 2018, I purchased a home located upon Space 376, and was assigned I
believed to be the rights under the same Ground Leasehold and Sub-Condominium
Leasehold in a Condominium Project under a Final Subdivision Report issued by the
Department of Real Estate for Tract 10542 and the Gables-Huntington Beach under terms
of Master Ground Lease terminating in 2059, upon APN 178-011-01.

       On March 6, 2019, Commissioner Carmen Luege, C-61, of the Orange County
Superior Court Central Justice Center, entered an Order on the record that determined
Jamie Gallian [is not] an unknown occupant; that Houser Co, a General Partnership
and/or Houser Bros Co., a CA limited partnership, dba Rancho Del Rey Mobile Home
Estates was fully aware of these facts when they ordered a WRIT in the name of Lisa
Ryan be unlawfully executed on March 4, 2020, by the OCSD against Jamie Gallian, a
known occupant and lawful owner and resident of the home J-Sandcastle Co LLC
purchased on November 1, 2018, from the previous owner Ms. Lisa Ryan pursuant to the
Courts Order 10-18-2018, executing the assignment of Ground Lease to Space 376, on
1/1/2006, filed into the court record in CJC case no. 30-2018-01013582, Houser Bros
Co., a General Partnership vs. Lisa Ryan.

        Subsequently, a mandatory shutdown of all non-essential businesses has led to
 current financial hardship for my-self and many individuals and businesses. The cuts,
nearly 7,000 flight attendants and almost 3,000 pilots at United Airlines has affected my job.

       The pandemic has drawn us in deeper and lasted longer than almost any expert predicted.

       I, declare, under penalty of perjury of the Laws of the State of California that the
foregoing statement is true and correct.

Sincerely,



JAMIE LYNN GALLIAN

enclosure




                                                                                                 318
Case 8:21-ap-01097-SC        Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                Desc
                            Main Document    Page 320 of 381
    Tenant, Homeowner, and Small Landlord Relief and Stabilization Act of 2020


x   No COVID-19-Related Evictions Until February 1, 2021
       o Tenant cannot be evicted for a COVID-19 related hardship that accrued between
         March 4 – August 31, 2020 if tenant returns declaration of hardship under penalty of
         perjury.
       o Tenant cannot be evicted for a COVID-19 related hardship that accrues between
         September 1, 2020 – January 31, 2021 if tenant returns declaration of hardship under
         penalty of perjury and pays at least 25% of the rent due.
       o Higher income tenants (over $100K household income or over 130% of median
         household income, whichever is higher) must provide documentation to support their
         declaration upon a landlord’s request.
       o Applies to all residential tenants (including mobile home tenants), regardless of
         immigration status.

x   Tenants Still Responsible for Paying Unpaid Amounts to Landlords
       o So long as the tenant with COVID-19 related hardship follows the bill’s procedures,
          any unpaid rent due between March 4, 2020 – January 31, 2021 is not a ground/basis
          for eviction, but is still owed to the landlord as a form of consumer debt.
       o Small claims court jurisdiction is temporarily expanded to allow landlords to recover
          these amounts.
       o Landlords may begin to recover this debt on March 1, 2021. This expanded small-
          claims court provision sunsets on February 1, 2025.

x   Additional Legal and Financial Protections for Tenants
      o Extends notice period for nonpayment of rent from 3 to 15 days to provide tenant
           additional time to respond to landlord’s notice to pay rent or quit.
      o Requires landlords to provide hardship declaration forms in a different language if
           rental agreement was negotiated in a different language.
      o Provides tenants a backstop if they have a good reason for failing to return the
           hardship declaration within 15 days.
      o Requires landlords to provide tenants a notice detailing their rights under the Act.
      o Limits public disclosure (“masking”) of eviction cases involving nonpayment of rent
           between March 4, 2020 – January 31, 2021.
      o Protects tenants against being evicted for “just cause” if the landlord is shown to be
           evicting the tenant for COVID-19-related nonpayment of rent.

x   Statewide Consistency and a Pause on Local Measures
       o Existing local ordinances can remain in place until they expire and future local action
          cannot undermine this Act’s framework.
       o Requires ordinances that provide a repayment schedule to begin repayment no later
          than March 1, 2021.
       o Clarifies that nothing in the Act affects a local jurisdiction’s ability to adopt an
          ordinance that requires just cause, consistent with state law, provided it does not
          affect rental payments before January 31, 2021.

x   Protections for Small Landlords
       o Extends the Homeowners’ Bill of Rights’ anti-foreclosure protections to small
           landlords, 1-4 units, non-owner occupied.



                                                                                            319
Case 8:21-ap-01097-SC         Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                    Desc
                             Main Document    Page 321 of 381
    Tenant, Homeowner, and Small Landlord Relief and Stabilization Act of 2020


       o Provides new accountability and transparency provisions to protect small landlord
         borrowers who request CARES-compliant forbearance, and provides the borrower
         who is harmed by a material violation with a cause of action.

x   Significantly Increases Penalties on Landlords Who Do Not Follow Court Evictions
    Process
       o Increases penalties on landlords who resort to self-help (i.e., locking the tenant out,
           throwing property out onto the curb, shutting off utilities) to evict a tenant, rather than
           going through the required court process.




                                                                                                 320
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 322 of 381




                                                                           321
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 323 of 381




                                                                           322
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 324 of 381




                                                                           323
  Case 8:21-ap-01097-SC Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45 Desc
Case 8:21-bk-11710-SC Doc  185-2
                        Main        Filed 08/11/22
                             Document      Page 325 Entered
                                                    of 381 08/11/22 17:07:13 Desc
                              Part 3 Page 14 of 93




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      Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                               Desc
                                         Main Document    Page 326 of 381

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Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 327 of 381




                                                                           326
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 328 of 381




                                                                           327
      Case 8:21-ap-01097-SC                             Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                                       Main Document    Page 329 of 381
STATE OF CALIFORNIA
AUTHENTICATED
ELECTRONIC LEGAL MATERIAL




                                           Assembly Bill No. 3088

                                                 CHAPTER 37

     An act to amend Sections 1946.2, 1947.12, and 1947.13 of, to amend,
   repeal, and add Sections 798.56, 1942.5, 2924.15 of, to add Title 19
   (commencing with Section 3273.01) to Part 4 of Division 3 of, and to add
   and repeal Section 789.4 of, the Civil Code, and to amend, repeal, and add
   Sections 1161 and 1161.2 of, to add Section 1161.2.5 to, to add and repeal
   Section 116.223 of, and to add and repeal Chapter 5 (commencing with
   Section 1179.01) of Title 3 of Part 3 of, the Code of Civil Procedure, relating
   to COVID-19 relief, and declaring the urgency thereof, to take effect
   immediately.

                            [Approved by Governor August 31, 2020. Filed with Secretary
                                           of State August 31, 2020.]

                                        legislative counsel’s digest
      AB 3088, Chiu. Tenancy: rental payment default: mortgage forbearance:
   state of emergency: COVID-19.
      Existing law prescribes various requirements to be satisﬁed before the
   exercise of a power of sale under a mortgage or deed of trust. Existing law
   requires that a notice of default and a notice of sale be recorded and that
   speciﬁed periods of time elapse between the recording and the sale. Existing
   law establishes certain requirements in connection with foreclosures on
   mortgages and deeds of trust, including restrictions on the actions mortgage
   servicers may take while a borrower is attempting to secure a loan
   modiﬁcation or has submitted a loan modiﬁcation application. Existing law
   applies certain of those requirements only to a ﬁrst lien mortgage or deed
   of trust that is secured by owner-occupied residential real property containing
   no more than four dwelling units.
      This bill, the Tenant, Homeowner, and Small Landlord Relief and
   Stabilization Act of 2020, would, among other things, until January 1, 2023,
   additionally apply those protections to a ﬁrst lien mortgage or deed of trust
   that is secured by residential real property that is occupied by a tenant,
   contains no more than four dwelling units, and meets certain criteria,
   including that a tenant occupying the property is unable to pay rent due to
   a reduction in income resulting from the novel coronavirus.
      The bill would also enact the COVID-19 Small Landlord and Homeowner
   Relief Act of 2020 (Homeowner Act), which would require a mortgage
   servicer, as deﬁned, to provide a speciﬁed written notice to a borrower, as
   deﬁned, if the mortgage servicer denies forbearance during the effective
   time period, as deﬁned, that states the reasons for that denial if the borrower
   was both current on payments as of February 1, 2020, and is experiencing
   a ﬁnancial hardship that prevents the borrower from making timely payments


                                                                                          94




                                                                                                          328
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 330 of 381

Ch. 37                              —2—

on the mortgage obligation due, directly or indirectly, to the COVID-19
emergency. The Homeowner Act would also require a mortgage servicer
to comply with applicable federal guidance regarding borrower options
following a COVID-19 related forbearance.
   Existing law provides that a tenant is guilty of unlawful detainer if the
tenant continues to possess the property without permission of the landlord
after the tenant defaults on rent or fails to perform a condition or covenant
of the lease under which the property is held, among other reasons. Existing
law requires a tenant be served a 3 days’ notice in writing to cure a default
or perform a condition of the lease, or return possession of the property to
the landlord, as speciﬁed. Existing law, the Mobilehome Residency Law,
prohibits a tenancy from being terminated unless speciﬁed conditions are
met, including that the tenant fails to pay rent, utility charges, or reasonable
incidental service charges, and 3 days’ notice in writing is provided to the
tenant, as speciﬁed.
   This bill would, until February 1, 2025, enact the COVID-19 Tenant
Relief Act of 2020 (Tenant Act). The Tenant Act would require that any 3
days’ notice that demands payment of COVID-19 rental debt that is served
on a tenant during the covered time period meet speciﬁed criteria, including
that the notice include an unsigned copy of a declaration of
COVID-19-related ﬁnancial distress and that the notice advise the tenant
that the tenant will not be evicted for failure to comply with the notice if
the tenant delivers a signed declaration of COVID-19-related ﬁnancial
distress to the landlord, as speciﬁed. The Tenant Act would deﬁne “covered
time period” for purposes of these provisions to mean the time between
March 1, 2020, and January 31, 2021. The Tenant Act would deem a 3 days’
notice that fails to comply with this criteria void and insufﬁcient to support
a judgment for unlawful detainer or to terminate a tenancy under the
Mobilehome Residency Law. The Tenant Act would prohibit a tenant that
delivers a declaration, under penalty of perjury, of COVID-19-related
ﬁnancial distress pursuant to these provisions from being deemed in default
with regard to the COVID-19 rental debt, as speciﬁed. By expanding the
crime of perjury, this bill would create a state-mandated local program. The
Tenant Act would prohibit a court from ﬁnding a tenant guilty of an unlawful
detainer before February 1, 2021, subject to certain exceptions, including
if the tenant was guilty of the unlawful detainer before March 1, 2020. The
bill would prohibit, before October 5, 2020, a court from taking speciﬁed
actions with respect to unlawful detainer actions, including issuing a
summons on a complaint for unlawful detainer in any action that seeks
possession of residential real property and that is based, in whole or in part,
on nonpayment of rent or other charges.
   The Tenant Act would also authorize a landlord to require a high-income
tenant, as deﬁned, to additionally submit documentation supporting the
claim that the tenant has suffered COVID-19-related ﬁnancial distress if
the landlord has proof of income showing the tenant is a high-income tenant.
   The Tenant Act would preempt an ordinance, resolution, regulation, or
administrative action adopted by a city, county, or city and county in


                                                                             94




                                                                                        329
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 331 of 381

                                   —3—                                 Ch. 37

response to the COVID-19 pandemic to protect tenants from eviction based
on nonpayment of rental payments, as speciﬁed.
   The bill would require the Business, Consumer Services and Housing
Agency to, in consultation with the Department of Finance, engage with
residential tenants, landlords, property owners, deed-restricted affordable
housing providers, and ﬁnancial sector stakeholders about strategies and
approaches to direct potential future federal stimulus funding to most
effectively and efﬁciently provide relief to distressed tenants, landlords,
and property owners, as speciﬁed.
   Existing law prohibits a landlord from taking speciﬁed actions with intent
to terminate the occupancy under any lease or other tenancy or estate at
will, however created, of property used by a tenant as the tenant’s residence.
Existing law makes a violator of those provisions subject to certain damages
in a civil action.
   This bill would, until February 1, 2021, make a violator of those provisions
whose tenant has provided to that violator the declaration of
COVID-19-related ﬁnancial distress described above liable for damages in
an amount between $1,000 and $2,500.
   Existing law, The Small Claims Act, grants jurisdiction to a small claims
court in cases where the amount demanded does not exceed $5,000, as
speciﬁed, and prohibits a person from ﬁling more than 2 small claims actions
in which the amount demanded exceeds $2,500 anywhere in the state in any
calendar year.
   This bill would instead, until February 1, 2025, provide that a small claims
court has jurisdiction in any action for recovery of COVID-19 rental debt,
as deﬁned, regardless of the amount demanded and would provide that a
claim for recovery of a COVID-19 rental debt is exempt from the prohibition
on ﬁling more than 2 small claims actions described above.
   Existing law, the Tenant Protection Act of 2019, prohibits, with certain
exceptions, an owner of residential real property from increasing the gross
rental rate for a dwelling or unit more than 5% plus the “percentage change
in the cost of living,” as deﬁned, or 10%, whichever is lower, of the lowest
gross rental rate charged for the immediately preceding 12 months, subject
to speciﬁed conditions. The act exempts certain types of residential real
properties, including dormitories constructed and maintained in connection
with any higher education institution within the state for use and occupancy
by students in attendance at the institution and housing that has been issued
a certiﬁcate of occupancy within the previous 15 years.
   This bill would revise and recast those exemptions to exempt dormitories
owned and operated by an institution of higher education or a kindergarten
and grades 1 to 12, inclusive, school. The bill would also make clarifying
changes to the deﬁnition of “percentage change in the cost of living.”
   This bill would also make clarifying and conforming changes.
   The bill would include ﬁndings that changes proposed by this bill address
a matter of statewide concern rather than a municipal affair and, therefore,
apply to all cities, including charter cities.



                                                                            94




                                                                                        330
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 332 of 381

Ch. 37                             —4—

   The California Constitution requires the state to reimburse local agencies
and school districts for certain costs mandated by the state. Statutory
provisions establish procedures for making that reimbursement.
   This bill would provide that no reimbursement is required by this act for
a speciﬁed reason.
   This bill would declare that it is to take effect immediately as an urgency
statute.

 The people of the State of California do enact as follows:

   SECTION 1. This act shall be known, and may be cited, as the Tenant,
Homeowner, and Small Landlord Relief and Stabilization Act of 2020.
   SEC. 2. The Legislature ﬁnds and declares all of the following:
   (a) On March 4, 2020, Governor Gavin Newsom proclaimed a state of
emergency in response to the COVID-19 pandemic. Measures necessary to
contain the spread of COVID-19 have brought about widespread economic
and societal disruption, placing the state in unprecedented circumstances.
   (b) At the end of 2019, California already faced a housing affordability
crisis. United States Census data showed that a majority of California tenant
households qualiﬁed as “rent-burdened,” meaning that 30 percent or more
of their income was used to pay rent. Over one-quarter of California tenant
households were “severely rent-burdened,” meaning that they were spending
over one-half of their income on rent alone.
   (c) Millions of Californians are unexpectedly, and through no fault of
their own, facing new public health requirements and unable to work and
cover many basic expenses, creating tremendous uncertainty for California
tenants, small landlords, and homeowners. While the Judicial Council’s
Emergency Rule 1, effective April 6, 2020, temporarily halted evictions
and stabilized housing for distressed Californians in furtherance of public
health goals, the Judicial Council voted on August 14, 2020, to extend these
protections through September 1, 2020, to allow the Legislature time to act
before the end of the 2019-20 Legislative Session.
   (d) There are strong indications that large numbers of California tenants
will soon face eviction from their homes based on an inability to pay the
rent or other ﬁnancial obligations. Even if tenants are eventually able to pay
their rent, small landlords will continue to face challenges covering their
expenses, including mortgage payments in the ensuing months, placing
them at risk of default and broader destabilization of the economy.
   (e) There are strong indications that many homeowners will also lose
their homes to foreclosure. While temporary forbearance is available to
homeowners with federally backed mortgages pursuant to the CARES Act,
and while some other lenders have voluntarily agreed to provide borrowers
with additional time to pay, not all mortgages are covered.
   (f) Stabilizing the housing situation for tenants and landlords is to the
mutual beneﬁt of both groups and will help the state address the pandemic,
protect public health, and set the stage for recovery. It is, therefore, the



                                                                           94




                                                                                       331
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 333 of 381

                                   —5—                                Ch. 37

intent of the Legislature and the State of California to establish through
statute a framework for all impacted parties to negotiate and avoid as many
evictions and foreclosures as possible.
   (g) This bill shall not relieve tenants, homeowners, or landlords of their
ﬁnancial and contractual obligations, but rather it seeks to forestall massive
social and public health harm by preventing unpaid rental debt from serving
as a cause of action for eviction or foreclosure during this historic and
unforeseeable period and from unduly burdening the recovery through
negative credit reporting. This framework for temporary emergency relief
for ﬁnancially distressed tenants, homeowners, and small landlords seeks
to help stabilize Californians through the state of emergency in protection
of their health and without the loss of their homes and property.
   SEC. 3. Section 789.4 is added to the Civil Code, to read:
   789.4. (a) In addition to the damages provided in subdivision (c) of
Section 789.3 of the Civil Code, a landlord who violates Section 789.3 of
the Civil Code, if the tenant has provided a declaration of COVID-19
ﬁnancial distress pursuant to Section 1179.03 of the Code of Civil Procedure,
shall be liable for damages in an amount that is at least one thousand dollars
($1,000) but not more than two thousand ﬁve hundred dollars ($2,500), as
determined by the trier of fact.
   (b) This section shall remain in effect until February 1, 2021, and as of
that date is repealed.
   SEC. 4. Section 798.56 of the Civil Code is amended to read:
   798.56. A tenancy shall be terminated by the management only for one
or more of the following reasons:
   (a) Failure of the homeowner or resident to comply with a local ordinance
or state law or regulation relating to mobilehomes within a reasonable time
after the homeowner receives a notice of noncompliance from the appropriate
governmental agency.
   (b) Conduct by the homeowner or resident, upon the park premises, that
constitutes a substantial annoyance to other homeowners or residents.
   (c) (1) Conviction of the homeowner or resident for prostitution, for a
violation of subdivision (d) of Section 243, paragraph (2) of subdivision
(a), or subdivision (b), of Section 245, Section 288, or Section 451, of the
Penal Code, or a felony controlled substance offense, if the act resulting in
the conviction was committed anywhere on the premises of the mobilehome
park, including, but not limited to, within the homeowner’s mobilehome.
   (2) However, the tenancy may not be terminated for the reason speciﬁed
in this subdivision if the person convicted of the offense has permanently
vacated, and does not subsequently reoccupy, the mobilehome.
   (d) Failure of the homeowner or resident to comply with a reasonable
rule or regulation of the park that is part of the rental agreement or any
amendment thereto.
   No act or omission of the homeowner or resident shall constitute a failure
to comply with a reasonable rule or regulation unless and until the
management has given the homeowner written notice of the alleged rule or
regulation violation and the homeowner or resident has failed to adhere to


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                                                                                       332
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 334 of 381

Ch. 37                             —6—

the rule or regulation within seven days. However, if a homeowner has been
given a written notice of an alleged violation of the same rule or regulation
on three or more occasions within a 12-month period after the homeowner
or resident has violated that rule or regulation, no written notice shall be
required for a subsequent violation of the same rule or regulation.
   Nothing in this subdivision shall relieve the management from its
obligation to demonstrate that a rule or regulation has in fact been violated.
   (e) (1) Except as provided for in the COVID-19 Tenant Relief Act of
2020 (Chapter 5 (commencing with Section 1179.01) of Title 3 of Part 3 of
the Code of Civil Procedure), nonpayment of rent, utility charges, or
reasonable incidental service charges; provided that the amount due has
been unpaid for a period of at least ﬁve days from its due date, and provided
that the homeowner shall be given a three-day written notice subsequent to
that ﬁve-day period to pay the amount due or to vacate the tenancy. For
purposes of this subdivision, the ﬁve-day period does not include the date
the payment is due. The three-day written notice shall be given to the
homeowner in the manner prescribed by Section 1162 of the Code of Civil
Procedure. A copy of this notice shall be sent to the persons or entities
speciﬁed in subdivision (b) of Section 798.55 within 10 days after notice
is delivered to the homeowner. If the homeowner cures the default, the
notice need not be sent. The notice may be given at the same time as the 60
days’ notice required for termination of the tenancy. A three-day notice
given pursuant to this subdivision shall contain the following provisions
printed in at least 12-point boldface type at the top of the notice, with the
appropriate number written in the blank:
“Warning: This notice is the (insert number) three-day notice for nonpayment
of rent, utility charges, or other reasonable incidental services that has been
served upon you in the last 12 months. Pursuant to Civil Code Section 798.56
(e) (5), if you have been given a three-day notice to either pay rent, utility
charges, or other reasonable incidental services or to vacate your tenancy
on three or more occasions within a 12-month period, management is not
required to give you a further three-day period to pay rent or vacate the
tenancy before your tenancy can be terminated.”
   (2) Payment by the homeowner prior to the expiration of the three-day
notice period shall cure a default under this subdivision. If the homeowner
does not pay prior to the expiration of the three-day notice period, the
homeowner shall remain liable for all payments due up until the time the
tenancy is vacated.
   (3) Payment by the legal owner, as deﬁned in Section 18005.8 of the
Health and Safety Code, any junior lienholder, as deﬁned in Section 18005.3
of the Health and Safety Code, or the registered owner, as deﬁned in Section
18009.5 of the Health and Safety Code, if other than the homeowner, on
behalf of the homeowner prior to the expiration of 30 calendar days
following the mailing of the notice to the legal owner, each junior lienholder,
and the registered owner provided in subdivision (b) of Section 798.55,
shall cure a default under this subdivision with respect to that payment.



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                                                                                        333
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 335 of 381

                                   —7—                                 Ch. 37

   (4) Cure of a default of rent, utility charges, or reasonable incidental
service charges by the legal owner, any junior lienholder, or the registered
owner, if other than the homeowner, as provided by this subdivision, may
not be exercised more than twice during a 12-month period.
   (5) If a homeowner has been given a three-day notice to pay the amount
due or to vacate the tenancy on three or more occasions within the preceding
12-month period and each notice includes the provisions speciﬁed in
paragraph (1), no written three-day notice shall be required in the case of a
subsequent nonpayment of rent, utility charges, or reasonable incidental
service charges.
   In that event, the management shall give written notice to the homeowner
in the manner prescribed by Section 1162 of the Code of Civil Procedure
to remove the mobilehome from the park within a period of not less than
60 days, which period shall be speciﬁed in the notice. A copy of this notice
shall be sent to the legal owner, each junior lienholder, and the registered
owner of the mobilehome, if other than the homeowner, as speciﬁed in
paragraph (b) of Section 798.55, by certiﬁed or registered mail, return receipt
requested, within 10 days after notice is sent to the homeowner.
   (6) When a copy of the 60 days’ notice described in paragraph (5) is sent
to the legal owner, each junior lienholder, and the registered owner of the
mobilehome, if other than the homeowner, the default may be cured by any
of them on behalf of the homeowner prior to the expiration of 30 calendar
days following the mailing of the notice, if all of the following conditions
exist:
   (A) A copy of a three-day notice sent pursuant to subdivision (b) of
Section 798.55 to a homeowner for the nonpayment of rent, utility charges,
or reasonable incidental service charges was not sent to the legal owner,
junior lienholder, or registered owner, of the mobilehome, if other than the
homeowner, during the preceding 12-month period.
   (B) The legal owner, junior lienholder, or registered owner of the
mobilehome, if other than the homeowner, has not previously cured a default
of the homeowner during the preceding 12-month period.
   (C) The legal owner, junior lienholder or registered owner, if other than
the homeowner, is not a ﬁnancial institution or mobilehome dealer.
   If the default is cured by the legal owner, junior lienholder, or registered
owner within the 30-day period, the notice to remove the mobilehome from
the park described in paragraph (5) shall be rescinded.
   (f) Condemnation of the park.
   (g) Change of use of the park or any portion thereof, provided:
   (1) The management gives the homeowners at least 15 days’ written
notice that the management will be appearing before a local governmental
board, commission, or body to request permits for a change of use of the
mobilehome park.
   (2) After all required permits requesting a change of use have been
approved by the local governmental board, commission, or body, the
management shall give the homeowners six months’ or more written notice
of termination of tenancy.


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                                                                                        334
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 336 of 381

Ch. 37                             —8—

   If the change of use requires no local governmental permits, then notice
shall be given 12 months or more prior to the management’s determination
that a change of use will occur. The management in the notice shall disclose
and describe in detail the nature of the change of use.
   (3) The management gives each proposed homeowner written notice
thereof prior to the inception of the homeowner’s tenancy that the
management is requesting a change of use before local governmental bodies
or that a change of use request has been granted.
   (4) The notice requirements for termination of tenancy set forth in
Sections 798.56 and 798.57 shall be followed if the proposed change actually
occurs.
   (5) A notice of a proposed change of use given prior to January 1, 1980,
that conforms to the requirements in effect at that time shall be valid. The
requirements for a notice of a proposed change of use imposed by this
subdivision shall be governed by the law in effect at the time the notice was
given.
   (h) The report required pursuant to subdivisions (b) and (i) of Section
65863.7 of the Government Code shall be given to the homeowners or
residents at the same time that notice is required pursuant to subdivision (g)
of this section.
   (i) For purposes of this section, “ﬁnancial institution” means a state or
national bank, state or federal savings and loan association or credit union,
or similar organization, and mobilehome dealer as deﬁned in Section 18002.6
of the Health and Safety Code or any other organization that, as part of its
usual course of business, originates, owns, or provides loan servicing for
loans secured by a mobilehome.
   (j) This section remain in effect until February 1, 2025, and as of that
date is repealed.
   SEC. 5. Section 798.56 is added to the Civil Code, to read:
   798.56. A tenancy shall be terminated by the management only for one
or more of the following reasons:
   (a) Failure of the homeowner or resident to comply with a local ordinance
or state law or regulation relating to mobilehomes within a reasonable time
after the homeowner receives a notice of noncompliance from the appropriate
governmental agency.
   (b) Conduct by the homeowner or resident, upon the park premises, that
constitutes a substantial annoyance to other homeowners or residents.
   (c) (1) Conviction of the homeowner or resident for prostitution, for a
violation of subdivision (d) of Section 243, paragraph (2) of subdivision
(a), or subdivision (b), of Section 245, Section 288, or Section 451, of the
Penal Code, or a felony controlled substance offense, if the act resulting in
the conviction was committed anywhere on the premises of the mobilehome
park, including, but not limited to, within the homeowner’s mobilehome.
   (2) However, the tenancy may not be terminated for the reason speciﬁed
in this subdivision if the person convicted of the offense has permanently
vacated, and does not subsequently reoccupy, the mobilehome.



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                                                                                       335
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 337 of 381

                                   —9—                                 Ch. 37

   (d) Failure of the homeowner or resident to comply with a reasonable
rule or regulation of the park that is part of the rental agreement or any
amendment thereto.
   No act or omission of the homeowner or resident shall constitute a failure
to comply with a reasonable rule or regulation unless and until the
management has given the homeowner written notice of the alleged rule or
regulation violation and the homeowner or resident has failed to adhere to
the rule or regulation within seven days. However, if a homeowner has been
given a written notice of an alleged violation of the same rule or regulation
on three or more occasions within a 12-month period after the homeowner
or resident has violated that rule or regulation, no written notice shall be
required for a subsequent violation of the same rule or regulation.
   Nothing in this subdivision shall relieve the management from its
obligation to demonstrate that a rule or regulation has in fact been violated.
   (e) (1) Nonpayment of rent, utility charges, or reasonable incidental
service charges; provided that the amount due has been unpaid for a period
of at least ﬁve days from its due date, and provided that the homeowner
shall be given a three-day written notice subsequent to that ﬁve-day period
to pay the amount due or to vacate the tenancy. For purposes of this
subdivision, the ﬁve-day period does not include the date the payment is
due. The three-day written notice shall be given to the homeowner in the
manner prescribed by Section 1162 of the Code of Civil Procedure. A copy
of this notice shall be sent to the persons or entities speciﬁed in subdivision
(b) of Section 798.55 within 10 days after notice is delivered to the
homeowner. If the homeowner cures the default, the notice need not be sent.
The notice may be given at the same time as the 60 days’ notice required
for termination of the tenancy. A three-day notice given pursuant to this
subdivision shall contain the following provisions printed in at least 12-point
boldface type at the top of the notice, with the appropriate number written
in the blank:
   “Warning: This notice is the (insert number) three-day notice for
nonpayment of rent, utility charges, or other reasonable incidental services
that has been served upon you in the last 12 months. Pursuant to Civil Code
Section 798.56 (e) (5), if you have been given a three-day notice to either
pay rent, utility charges, or other reasonable incidental services or to vacate
your tenancy on three or more occasions within a 12-month period,
management is not required to give you a further three-day period to pay
rent or vacate the tenancy before your tenancy can be terminated.”
   (2) Payment by the homeowner prior to the expiration of the three-day
notice period shall cure a default under this subdivision. If the homeowner
does not pay prior to the expiration of the three-day notice period, the
homeowner shall remain liable for all payments due up until the time the
tenancy is vacated.
   (3) Payment by the legal owner, as deﬁned in Section 18005.8 of the
Health and Safety Code, any junior lienholder, as deﬁned in Section 18005.3
of the Health and Safety Code, or the registered owner, as deﬁned in Section
18009.5 of the Health and Safety Code, if other than the homeowner, on


                                                                            94




                                                                                        336
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 338 of 381

Ch. 37                             — 10 —

behalf of the homeowner prior to the expiration of 30 calendar days
following the mailing of the notice to the legal owner, each junior lienholder,
and the registered owner provided in subdivision (b) of Section 798.55,
shall cure a default under this subdivision with respect to that payment.
   (4) Cure of a default of rent, utility charges, or reasonable incidental
service charges by the legal owner, any junior lienholder, or the registered
owner, if other than the homeowner, as provided by this subdivision, may
not be exercised more than twice during a 12-month period.
   (5) If a homeowner has been given a three-day notice to pay the amount
due or to vacate the tenancy on three or more occasions within the preceding
12-month period and each notice includes the provisions speciﬁed in
paragraph (1), no written three-day notice shall be required in the case of a
subsequent nonpayment of rent, utility charges, or reasonable incidental
service charges.
   In that event, the management shall give written notice to the homeowner
in the manner prescribed by Section 1162 of the Code of Civil Procedure
to remove the mobilehome from the park within a period of not less than
60 days, which period shall be speciﬁed in the notice. A copy of this notice
shall be sent to the legal owner, each junior lienholder, and the registered
owner of the mobilehome, if other than the homeowner, as speciﬁed in
paragraph (b) of Section 798.55, by certiﬁed or registered mail, return receipt
requested, within 10 days after notice is sent to the homeowner.
   (6) When a copy of the 60 days’ notice described in paragraph (5) is sent
to the legal owner, each junior lienholder, and the registered owner of the
mobilehome, if other than the homeowner, the default may be cured by any
of them on behalf of the homeowner prior to the expiration of 30 calendar
days following the mailing of the notice, if all of the following conditions
exist:
   (A) A copy of a three-day notice sent pursuant to subdivision (b) of
Section 798.55 to a homeowner for the nonpayment of rent, utility charges,
or reasonable incidental service charges was not sent to the legal owner,
junior lienholder, or registered owner, of the mobilehome, if other than the
homeowner, during the preceding 12-month period.
   (B) The legal owner, junior lienholder, or registered owner of the
mobilehome, if other than the homeowner, has not previously cured a default
of the homeowner during the preceding 12-month period.
   (C) The legal owner, junior lienholder or registered owner, if other than
the homeowner, is not a ﬁnancial institution or mobilehome dealer.
   If the default is cured by the legal owner, junior lienholder, or registered
owner within the 30-day period, the notice to remove the mobilehome from
the park described in paragraph (5) shall be rescinded.
   (f) Condemnation of the park.
   (g) Change of use of the park or any portion thereof, provided:
   (1) The management gives the homeowners at least 15 days’ written
notice that the management will be appearing before a local governmental
board, commission, or body to request permits for a change of use of the
mobilehome park.


                                                                            94




                                                                                        337
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 339 of 381

                                  — 11 —                              Ch. 37

   (2) After all required permits requesting a change of use have been
approved by the local governmental board, commission, or body, the
management shall give the homeowners six months’ or more written notice
of termination of tenancy.
   If the change of use requires no local governmental permits, then notice
shall be given 12 months or more prior to the management’s determination
that a change of use will occur. The management in the notice shall disclose
and describe in detail the nature of the change of use.
   (3) The management gives each proposed homeowner written notice
thereof prior to the inception of the homeowner’s tenancy that the
management is requesting a change of use before local governmental bodies
or that a change of use request has been granted.
   (4) The notice requirements for termination of tenancy set forth in
Sections 798.56 and 798.57 shall be followed if the proposed change actually
occurs.
   (5) A notice of a proposed change of use given prior to January 1, 1980,
that conforms to the requirements in effect at that time shall be valid. The
requirements for a notice of a proposed change of use imposed by this
subdivision shall be governed by the law in effect at the time the notice was
given.
   (h) The report required pursuant to subdivisions (b) and (i) of Section
65863.7 of the Government Code shall be given to the homeowners or
residents at the same time that notice is required pursuant to subdivision (g)
of this section.
   (i) For purposes of this section, “ﬁnancial institution” means a state or
national bank, state or federal savings and loan association or credit union,
or similar organization, and mobilehome dealer as deﬁned in Section 18002.6
of the Health and Safety Code or any other organization that, as part of its
usual course of business, originates, owns, or provides loan servicing for
loans secured by a mobilehome.
   (j) This section shall become operative on February 1, 2025.
   SEC. 6. Section 1942.5 of the Civil Code is amended to read:
   1942.5. (a) If the lessor retaliates against the lessee because of the
exercise by the lessee of the lessee’s rights under this chapter or because of
the lessee’s complaint to an appropriate agency as to tenantability of a
dwelling, and if the lessee of a dwelling is not in default as to the payment
of rent, the lessor may not recover possession of a dwelling in any action
or proceeding, cause the lessee to quit involuntarily, increase the rent, or
decrease any services within 180 days of any of the following:
   (1) After the date upon which the lessee, in good faith, has given notice
pursuant to Section 1942, has provided notice of a suspected bed bug
infestation, or has made an oral complaint to the lessor regarding
tenantability.
   (2) After the date upon which the lessee, in good faith, has ﬁled a written
complaint, or an oral complaint which is registered or otherwise recorded
in writing, with an appropriate agency, of which the lessor has notice, for
the purpose of obtaining correction of a condition relating to tenantability.


                                                                           94




                                                                                       338
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 340 of 381

Ch. 37                             — 12 —

   (3) After the date of an inspection or issuance of a citation, resulting
from a complaint described in paragraph (2) of which the lessor did not
have notice.
   (4) After the ﬁling of appropriate documents commencing a judicial or
arbitration proceeding involving the issue of tenantability.
   (5) After entry of judgment or the signing of an arbitration award, if any,
when in the judicial proceeding or arbitration the issue of tenantability is
determined adversely to the lessor.
   In each instance, the 180-day period shall run from the latest applicable
date referred to in paragraphs (1) to (5), inclusive.
   (b) A lessee may not invoke subdivision (a) more than once in any
12-month period.
   (c) To report, or to threaten to report, the lessee or individuals known to
the landlord to be associated with the lessee to immigration authorities is a
form of retaliatory conduct prohibited under subdivision (a). This subdivision
shall in no way limit the deﬁnition of retaliatory conduct prohibited under
this section.
   (d) Notwithstanding subdivision (a), it is unlawful for a lessor to increase
rent, decrease services, cause a lessee to quit involuntarily, bring an action
to recover possession, or threaten to do any of those acts, for the purpose
of retaliating against the lessee because the lessee has lawfully organized
or participated in a lessees’ association or an organization advocating lessees’
rights or has lawfully and peaceably exercised any rights under the law. It
is also unlawful for a lessor to bring an action for unlawful detainer based
on a cause of action other than nonpayment of COVID-19 rental debt, as
deﬁned in Section 1179.02 of the Code of Civil Procedure, for the purpose
of retaliating against the lessee because the lessee has a COVID-19 rental
debt. In an action brought by or against the lessee pursuant to this
subdivision, the lessee shall bear the burden of producing evidence that the
lessor’s conduct was, in fact, retaliatory.
   (e) To report, or to threaten to report, the lessee or individuals known to
the landlord to be associated with the lessee to immigration authorities is a
form of retaliatory conduct prohibited under subdivision (d). This subdivision
shall in no way limit the deﬁnition of retaliatory conduct prohibited under
this section.
   (f) This section does not limit in any way the exercise by the lessor of
the lessor’s rights under any lease or agreement or any law pertaining to the
hiring of property or the lessor’s right to do any of the acts described in
subdivision (a) or (d) for any lawful cause. Any waiver by a lessee of the
lessee’s rights under this section is void as contrary to public policy.
   (g) Notwithstanding subdivisions (a) to (f), inclusive, a lessor may recover
possession of a dwelling and do any of the other acts described in subdivision
(a) within the period or periods prescribed therein, or within subdivision
(d), if the notice of termination, rent increase, or other act, and any pleading
or statement of issues in an arbitration, if any, states the ground upon which
the lessor, in good faith, seeks to recover possession, increase rent, or do



                                                                             94




                                                                                        339
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 341 of 381

                                    — 13 —                               Ch. 37

any of the other acts described in subdivision (a) or (d). If the statement is
controverted, the lessor shall establish its truth at the trial or other hearing.
   (h) Any lessor or agent of a lessor who violates this section shall be liable
to the lessee in a civil action for all of the following:
   (1) The actual damages sustained by the lessee.
   (2) Punitive damages in an amount of not less than one hundred dollars
($100) nor more than two thousand dollars ($2,000) for each retaliatory act
where the lessor or agent has been guilty of fraud, oppression, or malice
with respect to that act.
   (i) In any action brought for damages for retaliatory eviction, the court
shall award reasonable attorney’s fees to the prevailing party if either party
requests attorney’s fees upon the initiation of the action.
   (j) The remedies provided by this section shall be in addition to any other
remedies provided by statutory or decisional law.
   (k) A lessor does not violate subdivision (c) or (e) by complying with
any legal obligation under any federal government program that provides
for rent limitations or rental assistance to a qualiﬁed tenant.
   (l) This section shall remain in effect until February 1, 2021, and as of
that date is repealed.
   SEC. 7. Section 1942.5 is added to the Civil Code, to read:
   1942.5. (a) If the lessor retaliates against the lessee because of the
exercise by the lessee of the lessee’s rights under this chapter or because of
the lessee’s complaint to an appropriate agency as to tenantability of a
dwelling, and if the lessee of a dwelling is not in default as to the payment
of rent, the lessor may not recover possession of a dwelling in any action
or proceeding, cause the lessee to quit involuntarily, increase the rent, or
decrease any services within 180 days of any of the following:
   (1) After the date upon which the lessee, in good faith, has given notice
pursuant to Section 1942, has provided notice of a suspected bed bug
infestation, or has made an oral complaint to the lessor regarding
tenantability.
   (2) After the date upon which the lessee, in good faith, has ﬁled a written
complaint, or an oral complaint which is registered or otherwise recorded
in writing, with an appropriate agency, of which the lessor has notice, for
the purpose of obtaining correction of a condition relating to tenantability.
   (3) After the date of an inspection or issuance of a citation, resulting
from a complaint described in paragraph (2) of which the lessor did not
have notice.
   (4) After the ﬁling of appropriate documents commencing a judicial or
arbitration proceeding involving the issue of tenantability.
   (5) After entry of judgment or the signing of an arbitration award, if any,
when in the judicial proceeding or arbitration the issue of tenantability is
determined adversely to the lessor.
   In each instance, the 180-day period shall run from the latest applicable
date referred to in paragraphs (1) to (5), inclusive.
   (b) A lessee may not invoke subdivision (a) more than once in any
12-month period.


                                                                              94




                                                                                         340
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 342 of 381

Ch. 37                              — 14 —

   (c) To report, or to threaten to report, the lessee or individuals known to
the landlord to be associated with the lessee to immigration authorities is a
form of retaliatory conduct prohibited under subdivision (a). This subdivision
shall in no way limit the deﬁnition of retaliatory conduct prohibited under
this section.
   (d) Notwithstanding subdivision (a), it is unlawful for a lessor to increase
rent, decrease services, cause a lessee to quit involuntarily, bring an action
to recover possession, or threaten to do any of those acts, for the purpose
of retaliating against the lessee because the lessee has lawfully organized
or participated in a lessees’ association or an organization advocating lessees’
rights or has lawfully and peaceably exercised any rights under the law. In
an action brought by or against the lessee pursuant to this subdivision, the
lessee shall bear the burden of producing evidence that the lessor’s conduct
was, in fact, retaliatory.
   (e) To report, or to threaten to report, the lessee or individuals known to
the landlord to be associated with the lessee to immigration authorities is a
form of retaliatory conduct prohibited under subdivision (d). This subdivision
shall in no way limit the deﬁnition of retaliatory conduct prohibited under
this section.
   (f) This section does not limit in any way the exercise by the lessor of
the lessor’s rights under any lease or agreement or any law pertaining to the
hiring of property or the lessor’s right to do any of the acts described in
subdivision (a) or (d) for any lawful cause. Any waiver by a lessee of the
lessee’s rights under this section is void as contrary to public policy.
   (g) Notwithstanding subdivisions (a) to (f), inclusive, a lessor may recover
possession of a dwelling and do any of the other acts described in subdivision
(a) within the period or periods prescribed therein, or within subdivision
(d), if the notice of termination, rent increase, or other act, and any pleading
or statement of issues in an arbitration, if any, states the ground upon which
the lessor, in good faith, seeks to recover possession, increase rent, or do
any of the other acts described in subdivision (a) or (d). If the statement is
controverted, the lessor shall establish its truth at the trial or other hearing.
   (h) Any lessor or agent of a lessor who violates this section shall be liable
to the lessee in a civil action for all of the following:
   (1) The actual damages sustained by the lessee.
   (2) Punitive damages in an amount of not less than one hundred dollars
($100) nor more than two thousand dollars ($2,000) for each retaliatory act
where the lessor or agent has been guilty of fraud, oppression, or malice
with respect to that act.
   (i) In any action brought for damages for retaliatory eviction, the court
shall award reasonable attorney’s fees to the prevailing party if either party
requests attorney’s fees upon the initiation of the action.
   (j) The remedies provided by this section shall be in addition to any other
remedies provided by statutory or decisional law.
   (k) A lessor does not violate subdivision (c) or (e) by complying with
any legal obligation under any federal government program that provides
for rent limitations or rental assistance to a qualiﬁed tenant.


                                                                              94




                                                                                         341
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 343 of 381

                                   — 15 —                              Ch. 37

   (l) This section shall become operative on February 1, 2021.
   SEC. 8. Section 1946.2 of the Civil Code is amended to read:
   1946.2. (a) Notwithstanding any other law, after a tenant has
continuously and lawfully occupied a residential real property for 12 months,
the owner of the residential real property shall not terminate the tenancy
without just cause, which shall be stated in the written notice to terminate
tenancy. If any additional adult tenants are added to the lease before an
existing tenant has continuously and lawfully occupied the residential real
property for 24 months, then this subdivision shall only apply if either of
the following are satisﬁed:
   (1) All of the tenants have continuously and lawfully occupied the
residential real property for 12 months or more.
   (2) One or more tenants have continuously and lawfully occupied the
residential real property for 24 months or more.
   (b) For purposes of this section, “just cause” includes either of the
following:
   (1) At-fault just cause, which is any of the following:
   (A) Default in the payment of rent.
   (B) A breach of a material term of the lease, as described in paragraph
(3) of Section 1161 of the Code of Civil Procedure, including, but not limited
to, violation of a provision of the lease after being issued a written notice
to correct the violation.
   (C) Maintaining, committing, or permitting the maintenance or
commission of a nuisance as described in paragraph (4) of Section 1161 of
the Code of Civil Procedure.
   (D) Committing waste as described in paragraph (4) of Section 1161 of
the Code of Civil Procedure.
   (E) The tenant had a written lease that terminated on or after January 1,
2020, and after a written request or demand from the owner, the tenant has
refused to execute a written extension or renewal of the lease for an
additional term of similar duration with similar provisions, provided that
those terms do not violate this section or any other provision of law.
   (F) Criminal activity by the tenant on the residential real property,
including any common areas, or any criminal activity or criminal threat, as
deﬁned in subdivision (a) of Section 422 of the Penal Code, on or off the
residential real property, that is directed at any owner or agent of the owner
of the residential real property.
   (G) Assigning or subletting the premises in violation of the tenant’s lease,
as described in paragraph (4) of Section 1161 of the Code of Civil Procedure.
   (H) The tenant’s refusal to allow the owner to enter the residential real
property as authorized by Sections 1101.5 and 1954 of this code, and
Sections 13113.7 and 17926.1 of the Health and Safety Code.
   (I) Using the premises for an unlawful purpose as described in paragraph
(4) of Section 1161 of the Code of Civil Procedure.
   (J) The employee, agent, or licensee’s failure to vacate after their
termination as an employee, agent, or a licensee as described in paragraph
(1) of Section 1161 of the Code of Civil Procedure.


                                                                            94




                                                                                        342
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 344 of 381

Ch. 37                              — 16 —

   (K) When the tenant fails to deliver possession of the residential real
property after providing the owner written notice as provided in Section
1946 of the tenant’s intention to terminate the hiring of the real property,
or makes a written offer to surrender that is accepted in writing by the
landlord, but fails to deliver possession at the time speciﬁed in that written
notice as described in paragraph (5) of Section 1161 of the Code of Civil
Procedure.
   (2) No-fault just cause, which includes any of the following:
   (A) (i) Intent to occupy the residential real property by the owner or
their spouse, domestic partner, children, grandchildren, parents, or
grandparents.
   (ii) For leases entered into on or after July 1, 2020, clause (i) shall apply
only if the tenant agrees, in writing, to the termination, or if a provision of
the lease allows the owner to terminate the lease if the owner, or their spouse,
domestic partner, children, grandchildren, parents, or grandparents,
unilaterally decides to occupy the residential real property. Addition of a
provision allowing the owner to terminate the lease as described in this
clause to a new or renewed rental agreement or ﬁxed-term lease constitutes
a similar provision for the purposes of subparagraph (E) of paragraph (1).
   (B) Withdrawal of the residential real property from the rental market.
   (C) (i) The owner complying with any of the following:
   (I) An order issued by a government agency or court relating to
habitability that necessitates vacating the residential real property.
   (II) An order issued by a government agency or court to vacate the
residential real property.
   (III) A local ordinance that necessitates vacating the residential real
property.
   (ii) If it is determined by any government agency or court that the tenant
is at fault for the condition or conditions triggering the order or need to
vacate under clause (i), the tenant shall not be entitled to relocation assistance
as outlined in paragraph (3) of subdivision (d).
   (D) (i) Intent to demolish or to substantially remodel the residential real
property.
   (ii) For purposes of this subparagraph, “substantially remodel” means
the replacement or substantial modiﬁcation of any structural, electrical,
plumbing, or mechanical system that requires a permit from a governmental
agency, or the abatement of hazardous materials, including lead-based paint,
mold, or asbestos, in accordance with applicable federal, state, and local
laws, that cannot be reasonably accomplished in a safe manner with the
tenant in place and that requires the tenant to vacate the residential real
property for at least 30 days. Cosmetic improvements alone, including
painting, decorating, and minor repairs, or other work that can be performed
safely without having the residential real property vacated, do not qualify
as substantial rehabilitation.
   (c) Before an owner of residential real property issues a notice to
terminate a tenancy for just cause that is a curable lease violation, the owner
shall ﬁrst give notice of the violation to the tenant with an opportunity to


                                                                               94




                                                                                         343
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 345 of 381

                                    — 17 —                                Ch. 37

cure the violation pursuant to paragraph (3) of Section 1161 of the Code of
Civil Procedure. If the violation is not cured within the time period set forth
in the notice, a three-day notice to quit without an opportunity to cure may
thereafter be served to terminate the tenancy.
   (d) (1) For a tenancy for which just cause is required to terminate the
tenancy under subdivision (a), if an owner of residential real property issues
a termination notice based on a no-fault just cause described in paragraph
(2) of subdivision (b), the owner shall, regardless of the tenant’s income,
at the owner’s option, do one of the following:
   (A) Assist the tenant to relocate by providing a direct payment to the
tenant as described in paragraph (3).
   (B) Waive in writing the payment of rent for the ﬁnal month of the
tenancy, prior to the rent becoming due.
   (2) If an owner issues a notice to terminate a tenancy for no-fault just
cause, the owner shall notify the tenant of the tenant’s right to relocation
assistance or rent waiver pursuant to this section. If the owner elects to
waive the rent for the ﬁnal month of the tenancy as provided in subparagraph
(B) of paragraph (1), the notice shall state the amount of rent waived and
that no rent is due for the ﬁnal month of the tenancy.
   (3) (A) The amount of relocation assistance or rent waiver shall be equal
to one month of the tenant’s rent that was in effect when the owner issued
the notice to terminate the tenancy. Any relocation assistance shall be
provided within 15 calendar days of service of the notice.
   (B) If a tenant fails to vacate after the expiration of the notice to terminate
the tenancy, the actual amount of any relocation assistance or rent waiver
provided pursuant to this subdivision shall be recoverable as damages in an
action to recover possession.
   (C) The relocation assistance or rent waiver required by this subdivision
shall be credited against any other relocation assistance required by any
other law.
   (4) An owner’s failure to strictly comply with this subdivision shall
render the notice of termination void.
   (e) This section shall not apply to the following types of residential real
properties or residential circumstances:
   (1) Transient and tourist hotel occupancy as deﬁned in subdivision (b)
of Section 1940.
   (2) Housing accommodations in a nonproﬁt hospital, religious facility,
extended care facility, licensed residential care facility for the elderly, as
deﬁned in Section 1569.2 of the Health and Safety Code, or an adult
residential facility, as deﬁned in Chapter 6 of Division 6 of Title 22 of the
Manual of Policies and Procedures published by the State Department of
Social Services.
   (3) Dormitories owned and operated by an institution of higher education
or a kindergarten and grades 1 to 12, inclusive, school.
   (4) Housing accommodations in which the tenant shares bathroom or
kitchen facilities with the owner who maintains their principal residence at
the residential real property.


                                                                               94




                                                                                         344
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 346 of 381

Ch. 37                             — 18 —

   (5) Single-family owner-occupied residences, including a residence in
which the owner-occupant rents or leases no more than two units or
bedrooms, including, but not limited to, an accessory dwelling unit or a
junior accessory dwelling unit.
   (6) A property containing two separate dwelling units within a single
structure in which the owner occupied one of the units as the owner’s
principal place of residence at the beginning of the tenancy, so long as the
owner continues in occupancy, and neither unit is an accessory dwelling
unit or a junior accessory dwelling unit.
   (7) Housing that has been issued a certiﬁcate of occupancy within the
previous 15 years.
   (8) Residential real property that is alienable separate from the title to
any other dwelling unit, provided that both of the following apply:
   (A) The owner is not any of the following:
   (i) A real estate investment trust, as deﬁned in Section 856 of the Internal
Revenue Code.
   (ii) A corporation.
   (iii) A limited liability company in which at least one member is a
corporation.
   (B) (i) The tenants have been provided written notice that the residential
property is exempt from this section using the following statement:

“This property is not subject to the rent limits imposed by Section 1947.12
of the Civil Code and is not subject to the just cause requirements of Section
1946.2 of the Civil Code. This property meets the requirements of Sections
1947.12 (d)(5) and 1946.2 (e)(8) of the Civil Code and the owner is not any
of the following: (1) a real estate investment trust, as deﬁned by Section
856 of the Internal Revenue Code; (2) a corporation; or (3) a limited liability
company in which at least one member is a corporation.”

   (ii) For a tenancy existing before July 1, 2020, the notice required under
clause (i) may, but is not required to, be provided in the rental agreement.
   (iii) For any tenancy commenced or renewed on or after July 1, 2020,
the notice required under clause (i) must be provided in the rental agreement.
   (iv) Addition of a provision containing the notice required under clause
(i) to any new or renewed rental agreement or ﬁxed-term lease constitutes
a similar provision for the purposes of subparagraph (E) of paragraph (1)
of subdivision (b).
   (9) Housing restricted by deed, regulatory restriction contained in an
agreement with a government agency, or other recorded document as
affordable housing for persons and families of very low, low, or moderate
income, as deﬁned in Section 50093 of the Health and Safety Code, or
subject to an agreement that provides housing subsidies for affordable
housing for persons and families of very low, low, or moderate income, as
deﬁned in Section 50093 of the Health and Safety Code or comparable
federal statutes.



                                                                            94




                                                                                        345
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 347 of 381

                                    — 19 —                               Ch. 37

  (f) An owner of residential real property subject to this section shall
provide notice to the tenant as follows:
  (1) For any tenancy commenced or renewed on or after July 1, 2020, as
an addendum to the lease or rental agreement, or as a written notice signed
by the tenant, with a copy provided to the tenant.
  (2) For a tenancy existing prior to July 1, 2020, by written notice to the
tenant no later than August 1, 2020, or as an addendum to the lease or rental
agreement.
  (3) The notiﬁcation or lease provision shall be in no less than 12-point
type, and shall include the following:

“California law limits the amount your rent can be increased. See Section
1947.12 of the Civil Code for more information. California law also provides
that after all of the tenants have continuously and lawfully occupied the
property for 12 months or more or at least one of the tenants has continuously
and lawfully occupied the property for 24 months or more, a landlord must
provide a statement of cause in any notice to terminate a tenancy. See Section
1946.2 of the Civil Code for more information.”

The provision of the notice shall be subject to Section 1632.
   (g) (1) This section does not apply to the following residential real
property:
   (A) Residential real property subject to a local ordinance requiring just
cause for termination of a residential tenancy adopted on or before September
1, 2019, in which case the local ordinance shall apply.
   (B) Residential real property subject to a local ordinance requiring just
cause for termination of a residential tenancy adopted or amended after
September 1, 2019, that is more protective than this section, in which case
the local ordinance shall apply. For purposes of this subparagraph, an
ordinance is “more protective” if it meets all of the following criteria:
   (i) The just cause for termination of a residential tenancy under the local
ordinance is consistent with this section.
   (ii) The ordinance further limits the reasons for termination of a residential
tenancy, provides for higher relocation assistance amounts, or provides
additional tenant protections that are not prohibited by any other provision
of law.
   (iii) The local government has made a binding ﬁnding within their local
ordinance that the ordinance is more protective than the provisions of this
section.
   (2) A residential real property shall not be subject to both a local
ordinance requiring just cause for termination of a residential tenancy and
this section.
   (3) A local ordinance adopted after September 1, 2019, that is less
protective than this section shall not be enforced unless this section is
repealed.
   (h) Any waiver of the rights under this section shall be void as contrary
to public policy.


                                                                              94




                                                                                         346
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 348 of 381

Ch. 37                              — 20 —

   (i) For the purposes of this section, the following deﬁnitions shall apply:
   (1) “Owner” and “residential real property” have the same meaning as
those terms are deﬁned in Section 1954.51.
   (2) “Tenancy” means the lawful occupation of residential real property
and includes a lease or sublease.
   (j) This section shall remain in effect only until January 1, 2030, and as
of that date is repealed.
   SEC. 9. Section 1947.12 of the Civil Code is amended to read:
   1947.12. (a) (1) Subject to subdivision (b), an owner of residential real
property shall not, over the course of any 12-month period, increase the
gross rental rate for a dwelling or a unit more than 5 percent plus the
percentage change in the cost of living, or 10 percent, whichever is lower,
of the lowest gross rental rate charged for that dwelling or unit at any time
during the 12 months prior to the effective date of the increase. In
determining the lowest gross rental amount pursuant to this section, any
rent discounts, incentives, concessions, or credits offered by the owner of
such unit of residential real property and accepted by the tenant shall be
excluded. The gross per-month rental rate and any owner-offered discounts,
incentives, concessions, or credits shall be separately listed and identiﬁed
in the lease or rental agreement or any amendments to an existing lease or
rental agreement.
   (2) If the same tenant remains in occupancy of a unit of residential real
property over any 12-month period, the gross rental rate for the unit of
residential real property shall not be increased in more than two increments
over that 12-month period, subject to the other restrictions of this subdivision
governing gross rental rate increase.
   (b) For a new tenancy in which no tenant from the prior tenancy remains
in lawful possession of the residential real property, the owner may establish
the initial rental rate not subject to subdivision (a). Subdivision (a) is only
applicable to subsequent increases after that initial rental rate has been
established.
   (c) A tenant of residential real property subject to this section shall not
enter into a sublease that results in a total rent for the premises that exceeds
the allowable rental rate authorized by subdivision (a). Nothing in this
subdivision authorizes a tenant to sublet or assign the tenant’s interest where
otherwise prohibited.
   (d) This section shall not apply to the following residential real properties:
   (1) Housing restricted by deed, regulatory restriction contained in an
agreement with a government agency, or other recorded document as
affordable housing for persons and families of very low, low, or moderate
income, as deﬁned in Section 50093 of the Health and Safety Code, or
subject to an agreement that provides housing subsidies for affordable
housing for persons and families of very low, low, or moderate income, as
deﬁned in Section 50093 of the Health and Safety Code or comparable
federal statutes.
   (2) Dormitories owned and operated by an institution of higher education
or a kindergarten and grades 1 to 12, inclusive, school.


                                                                              94




                                                                                         347
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 349 of 381

                                   — 21 —                               Ch. 37

   (3) Housing subject to rent or price control through a public entity’s valid
exercise of its police power consistent with Chapter 2.7 (commencing with
Section 1954.50) that restricts annual increases in the rental rate to an amount
less than that provided in subdivision (a).
   (4) Housing that has been issued a certiﬁcate of occupancy within the
previous 15 years.
   (5) Residential real property that is alienable separate from the title to
any other dwelling unit, provided that both of the following apply:
   (A) The owner is not any of the following:
   (i) A real estate investment trust, as deﬁned in Section 856 of the Internal
Revenue Code.
   (ii) A corporation.
   (iii) A limited liability company in which at least one member is a
corporation.
   (B) (i) The tenants have been provided written notice that the residential
real property is exempt from this section using the following statement:

   “This property is not subject to the rent limits imposed by Section 1947.12
of the Civil Code and is not subject to the just cause requirements of Section
1946.2 of the Civil Code. This property meets the requirements of Sections
1947.12 (d)(5) and 1946.2 (e)(8) of the Civil Code and the owner is not any
of the following: (1) a real estate investment trust, as deﬁned by Section
856 of the Internal Revenue Code; (2) a corporation; or (3) a limited liability
company in which at least one member is a corporation.”

   (ii) For a tenancy existing before July 1, 2020, the notice required under
clause (i) may, but is not required to, be provided in the rental agreement.
   (iii) For a tenancy commenced or renewed on or after July 1, 2020, the
notice required under clause (i) must be provided in the rental agreement.
   (iv) Addition of a provision containing the notice required under clause
(i) to any new or renewed rental agreement or ﬁxed-term lease constitutes
a similar provision for the purposes of subparagraph (E) of paragraph (1)
of subdivision (b) of Section 1946.2.
   (6) A property containing two separate dwelling units within a single
structure in which the owner occupied one of the units as the owner’s
principal place of residence at the beginning of the tenancy, so long as the
owner continues in occupancy, and neither unit is an accessory dwelling
unit or a junior accessory dwelling unit.
   (e) An owner shall provide notice of any increase in the rental rate,
pursuant to subdivision (a), to each tenant in accordance with Section 827.
   (f) (1) On or before January 1, 2030, the Legislative Analyst’s Ofﬁce
shall report to the Legislature regarding the effectiveness of this section and
Section 1947.13. The report shall include, but not be limited to, the impact
of the rental rate cap pursuant to subdivision (a) on the housing market
within the state.
   (2) The report required by paragraph (1) shall be submitted in compliance
with Section 9795 of the Government Code.


                                                                             94




                                                                                        348
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 350 of 381

Ch. 37                             — 22 —

   (g) For the purposes of this section, the following deﬁnitions shall apply:
   (1) “Consumer Price Index for All Urban Consumers for All Items”
means the following:
   (A) The Consumer Price Index for All Urban Consumers for All Items
(CPI-U) for the metropolitan area in which the property is located, as
published by the United States Bureau of Labor Statistics, which are as
follows:
   (i) The CPI-U for the Los Angeles-Long Beach-Anaheim metropolitan
area covering the Counties of Los Angeles and Orange.
   (ii) The CPI-U for the Riverside-San Bernardo-Ontario metropolitan area
covering the Counties of Riverside and San Bernardino.
   (iii) The CPI-U for the San Diego-Carlsbad metropolitan area covering
the County of San Diego.
   (iv) The CPI-U for the San Francisco-Oakland-Hayward metropolitan
area covering the Counties of Alameda, Contra Costa, Marin, San Francisco,
and San Mateo.
   (v) Any successor metropolitan area index to any of the indexes listed
in clauses (i) to (iv), inclusive.
   (B) If the United States Bureau of Labor Statistics does not publish a
CPI-U for the metropolitan area in which the property is located, the
California Consumer Price Index for All Urban Consumers for All Items
as published by the Department of Industrial Relations.
   (C) On or after January 1, 2021, if the United States Bureau of Labor
Statistics publishes a CPI-U index for one or more metropolitan areas not
listed in subparagraph (A), that CPI-U index shall apply in those areas with
respect to rent increases that take effect on or after August 1 of the calendar
year in which the 12-month change in that CPI-U, as described in
subparagraph (B) of paragraph (3), is ﬁrst published.
   (2) “Owner” and “residential real property” shall have the same meaning
as those terms are deﬁned in Section 1954.51.
   (3) (A) “Percentage change in the cost of living” means the percentage
change, computed pursuant to subparagraph (B), in the applicable, as
determined pursuant to paragraph (1), Consumer Price Index for All Urban
Consumers for All Items.
   (B) (i) For rent increases that take effect before August 1 of any calendar
year, the following shall apply:
   (I) The percentage change shall be the percentage change in the amount
published for April of the immediately preceding calendar year and April
of the year before that.
   (II) If there is not an amount published in April for the applicable
geographic area, the percentage change shall be the percentage change in
the amount published for March of the immediately preceding calendar year
and March of the year before that.
   (ii) For rent increases that take effect on or after August 1 of any calendar
year, the following shall apply:




                                                                             94




                                                                                        349
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 351 of 381

                                   — 23 —                               Ch. 37

   (I) The percentage change shall be the percentage change in the amount
published for April of that calendar year and April of the immediately
preceding calendar year.
   (II) If there is not an amount published in April for the applicable
geographic area, the percentage change shall be the percentage change in
the amount published for March of that calendar year and March of the
immediately preceding calendar year.
   (iii) The percentage change shall be rounded to the nearest one-tenth of
1 percent.
   (4) “Tenancy” means the lawful occupation of residential real property
and includes a lease or sublease.
   (h) (1) This section shall apply to all rent increases subject to subdivision
(a) occurring on or after March 15, 2019.
   (2) In the event that an owner has increased the rent by more than the
amount permissible under subdivision (a) between March 15, 2019, and
January 1, 2020, both of the following shall apply:
   (A) The applicable rent on January 1, 2020, shall be the rent as of March
15, 2019, plus the maximum permissible increase under subdivision (a).
   (B) An owner shall not be liable to the tenant for any corresponding rent
overpayment.
   (3) An owner of residential real property subject to subdivision (a) who
increased the rental rate on that residential real property on or after March
15, 2019, but prior to January 1, 2020, by an amount less than the rental
rate increase permitted by subdivision (a) shall be allowed to increase the
rental rate twice, as provided in paragraph (2) of subdivision (a), within 12
months of March 15, 2019, but in no event shall that rental rate increase
exceed the maximum rental rate increase permitted by subdivision (a).
   (i) Any waiver of the rights under this section shall be void as contrary
to public policy.
   (j) This section shall remain in effect until January 1, 2030, and as of
that date is repealed.
   (k) (1) The Legislature ﬁnds and declares that the unique circumstances
of the current housing crisis require a statewide response to address rent
gouging by establishing statewide limitations on gross rental rate increases.
   (2) It is the intent of the Legislature that this section should apply only
for the limited time needed to address the current statewide housing crisis,
as described in paragraph (1). This section is not intended to expand or limit
the authority of local governments to establish local policies regulating rents
consistent with Chapter 2.7 (commencing with Section 1954.50), nor is it
a statement regarding the appropriate, allowable rental rate increase when
a local government adopts a policy regulating rent that is otherwise consistent
with Chapter 2.7 (commencing with Section 1954.50).
   (3) Nothing in this section authorizes a local government to establish
limitations on any rental rate increases not otherwise permissible under
Chapter 2.7 (commencing with Section 1954.50), or affects the existing
authority of a local government to adopt or maintain rent controls or price
controls consistent with that chapter.


                                                                             94




                                                                                        350
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 352 of 381

Ch. 37                            — 24 —

   SEC. 10. Section 1947.13 of the Civil Code is amended to read:
   1947.13. (a) Notwithstanding subdivision (a) of Section 1947.12, upon
the expiration of rental restrictions, the following shall apply:
   (1) The owner of an assisted housing development who demonstrates,
under penalty of perjury, compliance with all applicable provisions of
Sections 65863.10, 65863.11, and 65863.13 of the Government Code and
any other applicable federal, state, or local law or regulation may establish
the initial unassisted rental rate for units in the applicable housing
development. Any subsequent rent increase in the development shall be
subject to Section 1947.12.
   (2) The owner of a deed-restricted affordable housing unit or an affordable
housing unit subject to a regulatory restriction contained in an agreement
with a government agency limiting rental rates that is not within an assisted
housing development may, subject to any applicable federal, state, or local
law or regulation, establish the initial rental rate for the unit upon the
expiration of the restriction. Any subsequent rent increase for the unit shall
be subject to Section 1947.12.
   (b) For purposes of this section:
   (1) “Assisted housing development” has the same meaning as deﬁned
in paragraph (3) of subdivision (a) of Section 65863.10 of the Government
Code.
   (2) “Expiration of rental restrictions” has the same meaning as deﬁned
in paragraph (5) of subdivision (a) of Section 65863.10 of the Government
Code.
   (c) This section shall remain in effect until January 1, 2030, and as of
that date is repealed.
   (d) Any waiver of the rights under this section shall be void as contrary
to public policy.
   (e) This section shall not be construed to preempt any local law.
   SEC. 11. Section 2924.15 of the Civil Code is amended to read:
   2924.15. (a) Unless otherwise provided, paragraph (5) of subdivision
(a) of Section 2924, and Sections 2923.5, 2923.55, 2923.6, 2923.7, 2924.9,
2924.10, 2924.11, and 2924.18 shall apply only to a ﬁrst lien mortgage or
deed of trust that meets either of the following criteria:
   (1) (A) The ﬁrst lien mortgage or deed of trust is secured by
owner-occupied residential real property containing no more than four
dwelling units.
   (B) For purposes of this paragraph, “owner-occupied” means that the
property is the principal residence of the borrower and is security for a loan
made for personal, family, or household purposes.
   (2) The ﬁrst lien mortgage or deed of trust is secured by residential real
property that is occupied by a tenant, contains no more than four dwelling
units, and meets all of the conditions described in subparagraph (B).
   (A) For the purposes of this paragraph:
   (i) “Applicable lease” means a lease entered pursuant to an arm’s length
transaction before, and in effect on, March 4, 2020.



                                                                           94




                                                                                       351
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 353 of 381

                                  — 25 —                              Ch. 37

   (ii) “Arm’s length transaction” means a lease entered into in good faith
and for valuable consideration that reﬂects the fair market value in the open
market between informed and willing parties.
   (iii) “Occupied by a tenant” means that the property is the principal
residence of a tenant.
   (B) To meet the conditions of this subdivision, a ﬁrst lien mortgage or
deed of trust shall have all of the following characteristics:
   (i) The property is owned by an individual who owns no more than three
residential real properties, or by one or more individuals who together own
no more than three residential real properties, each of which contains no
more than four dwelling units.
   (ii) The property is occupied by a tenant pursuant to an applicable lease.
   (iii) A tenant occupying the property is unable to pay rent due to a
reduction in income resulting from the novel coronavirus.
   (C) Relief shall be available pursuant to subdivision (a) of Section 2924
and Sections 2923.5, 2923.55, 2923.6, 2923.7, 2924.9, 2924.10, 2924.11,
and 2924.18 for so long as the property remains occupied by a tenant
pursuant to a lease entered in an arm’s length transaction.
   (b) This section shall remain in effect until January 1, 2023, and as of
that date is repealed.
   SEC. 12. Section 2924.15 is added to the Civil Code, to read:
   2924.15. (a) Unless otherwise provided, paragraph (5) of subdivision
(a) of Section 2924 and Sections 2923.5, 2923.55, 2923.6, 2923.7, 2924.9,
2924.10, 2924.11, and 2924.18 shall apply only to a ﬁrst lien mortgage or
deed of trust that is secured by owner-occupied residential real property
containing no more than four dwelling units.
   (b) As used in this section, “owner-occupied” means that the property is
the principal residence of the borrower and is security for a loan made for
personal, family, or household purposes.
   (c) This section shall become operative on January 1, 2023.
   SEC. 13. Title 19 (commencing with Section 3273.01) is added to Part
4 of Division 3 of the Civil Code, to read:

   TITLE 19. COVID-19 SMALL LANDLORD AND HOMEOWNER
                        RELIEF ACT

                    Chapter 1. Title and Definitions

   3273.01. This title is known, and may be cited, as the “COVID-19 Small
Landlord and Homeowner Relief Act of 2020.”
   3273.1. For purposes of this title:
  (a) (1) “Borrower” means any of the following:
  (A) A natural person who is a mortgagor or trustor or a conﬁrmed
successor in interest, as deﬁned in Section 1024.31 of Title 12 of the Code
of Federal Regulations.




                                                                           94




                                                                                       352
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 354 of 381

Ch. 37                              — 26 —

   (B) An entity other than a natural person only if the secured property
contains no more than four dwelling units and is currently occupied by one
or more residential tenants.
   (2) “Borrower” shall not include an individual who has surrendered the
secured property as evidenced by either a letter conﬁrming the surrender or
delivery of the keys to the property to the mortgagee, trustee, beneﬁciary,
or authorized agent.
   (3) Unless the property securing the mortgage contains one or more
deed-restricted affordable housing units or one or more affordable housing
units subject to a regulatory restriction limiting rental rates that is contained
in an agreement with a government agency, the following mortgagors shall
not be considered a “borrower”:
   (A) A real estate investment trust, as deﬁned in Section 856 of the Internal
Revenue Code.
   (B) A corporation.
   (C) A limited liability company in which at least one member is a
corporation.
   (4) “Borrower” shall also mean a person who holds a power of attorney
for a borrower described in paragraph (1).
   (b) “Effective time period” means the time period between the operational
date of this title and April 1, 2021.
   (c) (1) “Mortgage servicer” or “lienholder” means a person or entity
who directly services a loan or who is responsible for interacting with the
borrower, managing the loan account on a daily basis, including collecting
and crediting periodic loan payments, managing any escrow account, or
enforcing the note and security instrument, either as the current owner of
the promissory note or as the current owner’s authorized agent.
   (2) “Mortgage servicer” or “lienholder” also means a subservicing agent
to a master servicer by contract.
   (3) “Mortgage servicer” shall not include a trustee, or a trustee’s
authorized agent, acting under a power of sale pursuant to a deed of trust.
   3273.2. (a) The provisions of this title apply to a mortgage or deed of
trust that is secured by residential property containing no more than four
dwelling units, including individual units of condominiums or cooperatives,
and that was outstanding as of the enactment date of this title.
   (b) The provisions of this title shall apply to a depository institution
chartered under federal or state law, a person covered by the licensing
requirements of Division 9 (commencing with Section 22000) or Division
20 (commencing with Section 50000) of the Financial Code, or a person
licensed pursuant to Part 1 (commencing with Section 10000) of Division
4 of the Business and Professions Code.

                           Chapter 2. Mortgages

  3273.10. (a) If a mortgage servicer denies a forbearance request made
during the effective time period, the mortgage servicer shall provide written



                                                                              94




                                                                                         353
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 355 of 381

                                  — 27 —                              Ch. 37

notice to the borrower that sets forth the speciﬁc reason or reasons that
forbearance was not provided, if both of the following conditions are met:
   (1) The borrower was current on payment as of February 1, 2020.
   (2) The borrower is experiencing a ﬁnancial hardship that prevents the
borrower from making timely payments on the mortgage obligation due,
directly or indirectly, to the COVID-19 emergency.
   (b) If the written notice in subdivision (a) cites any defect in the
borrower’s request, including an incomplete application or missing
information, that is curable, the mortgage servicer shall do all of the
following:
   (1) Speciﬁcally identify any curable defect in the written notice.
   (2) Provide 21 days from the mailing date of the written notice for the
borrower to cure any identiﬁed defect.
   (3) Accept receipt of the borrower’s revised request for forbearance
before the aforementioned 21-day period lapses.
   (4) Respond to the borrower’s revised request within ﬁve business days
of receipt of the revised request.
   (c) If a mortgage servicer denies a forbearance request, the declaration
required by subdivision (b) of Section 2923.5 shall include the written notice
together with a statement as to whether forbearance was or was not
subsequently provided.
   (d) A mortgage servicer, mortgagee, or beneﬁciary of the deed of trust,
or an authorized agent thereof, who, with respect to a borrower of a federally
backed mortgage, complies with the relevant provisions regarding
forbearance in Section 4022 of the federal Coronavirus Aid, Relief, and
Economic Security Act (the CARES Act) (Public Law 116-136), including
any amendments or revisions to those provisions, shall be deemed to be in
compliance with this section. A mortgage servicer of a nonfederally backed
mortgage that provides forbearance that is consistent with the requirements
of the CARES Act for federally backed mortgages shall be deemed to be
in compliance with this section.
   3273.11. (a) A mortgage servicer shall comply with applicable federal
guidance regarding borrower options following a COVID-19 related
forbearance.
   (b) Any mortgage servicer, mortgagee, or beneﬁciary of the deed of trust,
or authorized agent thereof, who, with respect to a borrower of a federally
backed loan, complies with the guidance to mortgagees regarding borrower
options following a COVID-19-related forbearance provided by the Federal
National Mortgage Association (Fannie Mae), the Federal Home Loan
Mortgage Corporation (Freddie Mac), the Federal Housing Administration
of the United States Department of Housing and Urban Development, the
United States Department of Veterans Affairs, or the Rural Development
division of the United States Department of Agriculture, including any
amendments, updates, or revisions to that guidance, shall be deemed to be
in compliance with this section.
   (c) With respect to a nonfederally backed loan, any mortgage servicer,
mortgagee, or beneﬁciary of the deed of trust, or authorized agent thereof,


                                                                           94




                                                                                       354
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 356 of 381

Ch. 37                              — 28 —

who, regarding borrower options following a COVID-19 related forbearance,
reviews a customer for a solution that is consistent with the guidance to
servicers, mortgagees, or beneﬁciaries provided by Fannie Mae, Freddie
Mac, the Federal Housing Administration of the Department of Housing
and Urban Development, the Department of Veterans Affairs, or the Rural
Development division of the Department of Agriculture, including any
amendments, updates or revisions to such guidance, shall be deemed to be
in compliance with this section.
    3273.12. It is the intent of the Legislature that a mortgage servicer offer
a borrower a postforbearance loss mitigation option that is consistent with
the mortgage servicer’s contractual or other authority.
    3273.14. A mortgage servicer shall communicate about forbearance and
postforbearance options described in this article in the borrower’s preferred
language when the mortgage servicer regularly communicates with any
borrower in that language.
    3273.15. (a) A borrower who is harmed by a material violation of this
title may bring an action to obtain injunctive relief, damages, restitution,
and any other remedy to redress the violation.
   (b) A court may award a prevailing borrower reasonable attorney’s fees
and costs in any action based on any violation of this title in which injunctive
relief against a sale, including a temporary restraining order, is granted. A
court may award a prevailing borrower reasonable attorney’s fees and costs
in an action for a violation of this article in which relief is granted but
injunctive relief against a sale is not granted.
   (c) The rights, remedies, and procedures provided to borrowers by this
section are in addition to and independent of any other rights, remedies, or
procedures under any other law. This section shall not be construed to alter,
limit, or negate any other rights, remedies, or procedures provided to
borrowers by law.
    3273.16. Any waiver by a borrower of the provisions of this article is
contrary to public policy and shall be void.
    SEC. 14. Section 116.223 is added to the Code of Civil Procedure, to
read:
    116.223. (a) The Legislature hereby ﬁnds and declares as follows:
   (1) There is anticipated to be an unprecedented number of claims arising
out of nonpayment of residential rent that occurred between March 1, 2020,
and January 31, 2021, related to the COVID-19 pandemic.
   (2) These disputes are of special importance to the parties and of
signiﬁcant social and economic consequence collectively as the people of
the State of California grapple with the health, economic, and social impacts
of the COVID-19 pandemic.
   (3) It is essential that the parties have access to a judicial forum to resolve
these disputes expeditiously, inexpensively, and fairly.
   (4) It is the intent of the Legislature that landlords of residential real
property and their tenants have the option to litigate disputes regarding rent
which is unpaid for the time period between March 1, 2020, and January
31, 2021, in the small claims court. It is the intent of the Legislature that


                                                                               94




                                                                                         355
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 357 of 381

                                   — 29 —                               Ch. 37

the jurisdictional limits of the small claims court not apply to these disputes
over COVID-19 rental debt.
   (b) (1) Notwithstanding paragraph (1) of subdivision (a) Section 116.220,
Section 116.221, or any other law, the small claims court has jurisdiction
in any action for recovery of COVID-19 rental debt, as deﬁned in Section
1179.02, and any defenses thereto, regardless of the amount demanded.
   (2) In an action described in paragraph (1), the court shall reduce the
damages awarded for any amount of COVID-19 rental debt sought by
payments made to the landlord to satisfy the COVID-19 rental debt,
including payments by the tenant, rental assistance programs, or another
third party pursuant to paragraph (3) of subdivision (a) of Section 1947.3
of the Civil Code.
   (3) An action to recover COVID-19 rental debt, as deﬁned in Section
1179.02, brought pursuant to this subdivision shall not be commenced before
March 1, 2021.
   (c) Any claim for recovery of COVID-19 rental debt, as deﬁned in Section
1179.02, shall not be subject to Section 116.231, notwithstanding the fact
that a landlord of residential rental property may have brought two or more
small claims actions in which the amount demanded exceeded two thousand
ﬁve hundred dollars ($2,500) in any calendar year.
   (d) This section shall remain in effect until February 1, 2025, and as of
that date is repealed.
   SEC. 15. Section 1161 of the Code of Civil Procedure is amended to
read:
   1161. A tenant of real property, for a term less than life, or the executor
or administrator of the tenant’s estate heretofore qualiﬁed and now acting
or hereafter to be qualiﬁed and act, is guilty of unlawful detainer:
   1. When the tenant continues in possession, in person or by subtenant,
of the property, or any part thereof, after the expiration of the term for which
it is let to the tenant; provided the expiration is of a nondefault nature
however brought about without the permission of the landlord, or the
successor in estate of the landlord, if applicable; including the case where
the person to be removed became the occupant of the premises as a servant,
employee, agent, or licensee and the relation of master and servant, or
employer and employee, or principal and agent, or licensor and licensee,
has been lawfully terminated or the time ﬁxed for occupancy by the
agreement between the parties has expired; but nothing in this subdivision
shall be construed as preventing the removal of the occupant in any other
lawful manner; but in case of a tenancy at will, it shall ﬁrst be terminated
by notice, as prescribed in the Civil Code.
   2. When the tenant continues in possession, in person or by subtenant,
without the permission of the landlord, or the successor in estate of the
landlord, if applicable, after default in the payment of rent, pursuant to the
lease or agreement under which the property is held, and three days’ notice,
excluding Saturdays and Sundays and other judicial holidays, in writing,
requiring its payment, stating the amount that is due, the name, telephone
number, and address of the person to whom the rent payment shall be made,


                                                                             94




                                                                                        356
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 358 of 381

Ch. 37                              — 30 —

and, if payment may be made personally, the usual days and hours that
person will be available to receive the payment (provided that, if the address
does not allow for personal delivery, then it shall be conclusively presumed
that upon the mailing of any rent or notice to the owner by the tenant to the
name and address provided, the notice or rent is deemed received by the
owner on the date posted, if the tenant can show proof of mailing to the
name and address provided by the owner), or the number of an account in
a ﬁnancial institution into which the rental payment may be made, and the
name and street address of the institution (provided that the institution is
located within ﬁve miles of the rental property), or if an electronic funds
transfer procedure has been previously established, that payment may be
made pursuant to that procedure, or possession of the property, shall have
been served upon the tenant and if there is a subtenant in actual occupation
of the premises, also upon the subtenant.
   The notice may be served at any time within one year after the rent
becomes due. In all cases of tenancy upon agricultural lands, if the tenant
has held over and retained possession for more than 60 days after the
expiration of the term without any demand of possession or notice to quit
by the landlord or the successor in estate of the landlord, if applicable, the
tenant shall be deemed to be holding by permission of the landlord or
successor in estate of the landlord, if applicable, and shall be entitled to hold
under the terms of the lease for another full year, and shall not be guilty of
an unlawful detainer during that year, and the holding over for that period
shall be taken and construed as a consent on the part of a tenant to hold for
another year.
   An unlawful detainer action under this paragraph shall be subject to the
COVID-19 Tenant Relief Act of 2020 (Chapter 5 (commencing with Section
1179.01)) if the default in the payment of rent is based upon the COVID-19
rental debt.
   3. When the tenant continues in possession, in person or by subtenant,
after a neglect or failure to perform other conditions or covenants of the
lease or agreement under which the property is held, including any covenant
not to assign or sublet, than the one for the payment of rent, and three days’
notice, excluding Saturdays and Sundays and other judicial holidays, in
writing, requiring the performance of those conditions or covenants, or the
possession of the property, shall have been served upon the tenant, and if
there is a subtenant in actual occupation of the premises, also, upon the
subtenant. Within three days, excluding Saturdays and Sundays and other
judicial holidays, after the service of the notice, the tenant, or any subtenant
in actual occupation of the premises, or any mortgagee of the term, or other
person interested in its continuance, may perform the conditions or covenants
of the lease or pay the stipulated rent, as the case may be, and thereby save
the lease from forfeiture; provided, if the conditions and covenants of the
lease, violated by the lessee, cannot afterward be performed, then no notice,
as last prescribed herein, need be given to the lessee or the subtenant,
demanding the performance of the violated conditions or covenants of the
lease.


                                                                              94




                                                                                         357
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 359 of 381

                                   — 31 —                               Ch. 37

   A tenant may take proceedings, similar to those prescribed in this chapter,
to obtain possession of the premises let to a subtenant or held by a servant,
employee, agent, or licensee, in case of that person’s unlawful detention of
the premises underlet to or held by that person.
   An unlawful detainer action under this paragraph shall be subject to the
COVID-19 Tenant Relief Act of 2020 (Chapter 5 (commencing with Section
1179.01)) if the neglect or failure to perform other conditions or covenants
of the lease or agreement is based upon the COVID-19 rental debt.
   4. Any tenant, subtenant, or executor or administrator of that person’s
estate heretofore qualiﬁed and now acting, or hereafter to be qualiﬁed and
act, assigning or subletting or committing waste upon the demised premises,
contrary to the conditions or covenants of the lease, or maintaining,
committing, or permitting the maintenance or commission of a nuisance
upon the demised premises or using the premises for an unlawful purpose,
thereby terminates the lease, and the landlord, or the landlord’s successor
in estate, shall upon service of three days’ notice to quit upon the person or
persons in possession, be entitled to restitution of possession of the demised
premises under this chapter. For purposes of this subdivision, a person who
commits or maintains a public nuisance as described in Section 3482.8 of
the Civil Code, or who commits an offense described in subdivision (c) of
Section 3485 of the Civil Code, or subdivision (c) of Section 3486 of the
Civil Code, or uses the premises to further the purpose of that offense shall
be deemed to have committed a nuisance upon the premises.
   5. When the tenant gives written notice as provided in Section 1946 of
the Civil Code of the tenant’s intention to terminate the hiring of the real
property, or makes a written offer to surrender which is accepted in writing
by the landlord, but fails to deliver possession at the time speciﬁed in that
written notice, without the permission of the landlord, or the successor in
estate of the landlord, if applicable.
   6. As used in this section:
   “COVID-19 rental debt” has the same meaning as deﬁned in Section
1179.02.
   “Tenant” includes any person who hires real property except those persons
whose occupancy is described in subdivision (b) of Section 1940 of the
Civil Code.
   7. This section shall remain in effect until February 1, 2025, and as of
that date is repealed.
   SEC. 16. Section 1161 is added to the Code of Civil Procedure, to read:
   1161. A tenant of real property, for a term less than life, or the executor
or administrator of the tenant’s estate heretofore qualiﬁed and now acting
or hereafter to be qualiﬁed and act, is guilty of unlawful detainer:
   1. When the tenant continues in possession, in person or by subtenant,
of the property, or any part thereof, after the expiration of the term for which
it is let to the tenant; provided the expiration is of a nondefault nature
however brought about without the permission of the landlord, or the
successor in estate of the landlord, if applicable; including the case where
the person to be removed became the occupant of the premises as a servant,


                                                                             94




                                                                                        358
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 360 of 381

Ch. 37                              — 32 —

employee, agent, or licensee and the relation of master and servant, or
employer and employee, or principal and agent, or licensor and licensee,
has been lawfully terminated or the time ﬁxed for occupancy by the
agreement between the parties has expired; but nothing in this subdivision
shall be construed as preventing the removal of the occupant in any other
lawful manner; but in case of a tenancy at will, it shall ﬁrst be terminated
by notice, as prescribed in the Civil Code.
   2. When the tenant continues in possession, in person or by subtenant,
without the permission of the landlord, or the successor in estate of the
landlord, if applicable, after default in the payment of rent, pursuant to the
lease or agreement under which the property is held, and three days’ notice,
excluding Saturdays and Sundays and other judicial holidays, in writing,
requiring its payment, stating the amount that is due, the name, telephone
number, and address of the person to whom the rent payment shall be made,
and, if payment may be made personally, the usual days and hours that
person will be available to receive the payment (provided that, if the address
does not allow for personal delivery, then it shall be conclusively presumed
that upon the mailing of any rent or notice to the owner by the tenant to the
name and address provided, the notice or rent is deemed received by the
owner on the date posted, if the tenant can show proof of mailing to the
name and address provided by the owner), or the number of an account in
a ﬁnancial institution into which the rental payment may be made, and the
name and street address of the institution (provided that the institution is
located within ﬁve miles of the rental property), or if an electronic funds
transfer procedure has been previously established, that payment may be
made pursuant to that procedure, or possession of the property, shall have
been served upon the tenant and if there is a subtenant in actual occupation
of the premises, also upon the subtenant.
   The notice may be served at any time within one year after the rent
becomes due. In all cases of tenancy upon agricultural lands, if the tenant
has held over and retained possession for more than 60 days after the
expiration of the term without any demand of possession or notice to quit
by the landlord or the successor in estate of the landlord, if applicable, the
tenant shall be deemed to be holding by permission of the landlord or
successor in estate of the landlord, if applicable, and shall be entitled to hold
under the terms of the lease for another full year, and shall not be guilty of
an unlawful detainer during that year, and the holding over for that period
shall be taken and construed as a consent on the part of a tenant to hold for
another year.
   3. When the tenant continues in possession, in person or by subtenant,
after a neglect or failure to perform other conditions or covenants of the
lease or agreement under which the property is held, including any covenant
not to assign or sublet, than the one for the payment of rent, and three days’
notice, excluding Saturdays and Sundays and other judicial holidays, in
writing, requiring the performance of those conditions or covenants, or the
possession of the property, shall have been served upon the tenant, and if
there is a subtenant in actual occupation of the premises, also, upon the


                                                                              94




                                                                                         359
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 361 of 381

                                   — 33 —                               Ch. 37

subtenant. Within three days, excluding Saturdays and Sundays and other
judicial holidays, after the service of the notice, the tenant, or any subtenant
in actual occupation of the premises, or any mortgagee of the term, or other
person interested in its continuance, may perform the conditions or covenants
of the lease or pay the stipulated rent, as the case may be, and thereby save
the lease from forfeiture; provided, if the conditions and covenants of the
lease, violated by the lessee, cannot afterward be performed, then no notice,
as last prescribed herein, need be given to the lessee or the subtenant,
demanding the performance of the violated conditions or covenants of the
lease.
   A tenant may take proceedings, similar to those prescribed in this chapter,
to obtain possession of the premises let to a subtenant or held by a servant,
employee, agent, or licensee, in case of that person’s unlawful detention of
the premises underlet to or held by that person.
   4. Any tenant, subtenant, or executor or administrator of that person’s
estate heretofore qualiﬁed and now acting, or hereafter to be qualiﬁed and
act, assigning or subletting or committing waste upon the demised premises,
contrary to the conditions or covenants of the lease, or maintaining,
committing, or permitting the maintenance or commission of a nuisance
upon the demised premises or using the premises for an unlawful purpose,
thereby terminates the lease, and the landlord, or the landlord’s successor
in estate, shall upon service of three days’ notice to quit upon the person or
persons in possession, be entitled to restitution of possession of the demised
premises under this chapter. For purposes of this subdivision, a person who
commits or maintains a public nuisance as described in Section 3482.8 of
the Civil Code, or who commits an offense described in subdivision (c) of
Section 3485 of the Civil Code, or subdivision (c) of Section 3486 of the
Civil Code, or uses the premises to further the purpose of that offense shall
be deemed to have committed a nuisance upon the premises.
   5. When the tenant gives written notice as provided in Section 1946 of
the Civil Code of the tenant’s intention to terminate the hiring of the real
property, or makes a written offer to surrender which is accepted in writing
by the landlord, but fails to deliver possession at the time speciﬁed in that
written notice, without the permission of the landlord, or the successor in
estate of the landlord, if applicable.
   6. As used in this section, “tenant” includes any person who hires real
property except those persons whose occupancy is described in subdivision
(b) of Section 1940 of the Civil Code.
   7. This section shall become operative on February 1, 2025.
   SEC. 17. Section 1161.2 of the Code of Civil Procedure is amended to
read:
   1161.2. (a) (1) The clerk shall allow access to limited civil case records
ﬁled under this chapter, including the court ﬁle, index, and register of
actions, only as follows:
   (A) To a party to the action, including a party’s attorney.




                                                                             94




                                                                                        360
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 362 of 381

Ch. 37                              — 34 —

   (B) To a person who provides the clerk with the names of at least one
plaintiff and one defendant and the address of the premises, including the
apartment or unit number, if any.
   (C) To a resident of the premises who provides the clerk with the name
of one of the parties or the case number and shows proof of residency.
   (D) To a person by order of the court, which may be granted ex parte,
on a showing of good cause.
   (E) Except as provided in subparagraph (G), to any person by order of
the court if judgment is entered for the plaintiff after trial more than 60 days
since the ﬁling of the complaint. The court shall issue the order upon issuing
judgment for the plaintiff.
   (F) Except as provided in subparagraph (G), to any other person 60 days
after the complaint has been ﬁled if the plaintiff prevails in the action within
60 days of the ﬁling of the complaint, in which case the clerk shall allow
access to any court records in the action. If a default or default judgment is
set aside more than 60 days after the complaint has been ﬁled, this section
shall apply as if the complaint had been ﬁled on the date the default or
default judgment is set aside.
   (G) (i) In the case of a complaint involving residential property based
on Section 1161a as indicated in the caption of the complaint, as required
in subdivision (c) of Section 1166, to any other person, if 60 days have
elapsed since the complaint was ﬁled with the court, and, as of that date,
judgment against all defendants has been entered for the plaintiff, after a
trial.
   (ii) Subparagraphs (E) and (F) shall not apply if the plaintiff ﬁled the
action between March 4, 2020, and January 31, 2021, and the action is based
on an alleged default in the payment of rent.
   (2) This section shall not be construed to prohibit the court from issuing
an order that bars access to the court record in an action ﬁled under this
chapter if the parties to the action so stipulate.
   (b) (1) For purposes of this section, “good cause” includes, but is not
limited to, both of the following:
   (A) The gathering of newsworthy facts by a person described in Section
1070 of the Evidence Code.
   (B) The gathering of evidence by a party to an unlawful detainer action
solely for the purpose of making a request for judicial notice pursuant to
subdivision (d) of Section 452 of the Evidence Code.
   (2) It is the intent of the Legislature that a simple procedure be established
to request the ex parte order described in subparagraph (D) of paragraph
(1) of subdivision (a).
   (c) Upon the ﬁling of a case so restricted, the court clerk shall mail notice
to each defendant named in the action. The notice shall be mailed to the
address provided in the complaint. The notice shall contain a statement that
an unlawful detainer complaint (eviction action) has been ﬁled naming that
party as a defendant, and that access to the court ﬁle will be delayed for 60
days except to a party, an attorney for one of the parties, or any other person
who (1) provides to the clerk the names of at least one plaintiff and one


                                                                              94




                                                                                         361
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 363 of 381

                                   — 35 —                               Ch. 37

defendant in the action and provides to the clerk the address, including any
applicable apartment, unit, or space number, of the subject premises, or (2)
provides to the clerk the name of one of the parties in the action or the case
number and can establish through proper identiﬁcation that the person lives
at the subject premises. The notice shall also contain a statement that access
to the court index, register of actions, or other records is not permitted until
60 days after the complaint is ﬁled, except pursuant to an order upon a
showing of good cause for access. The notice shall contain on its face the
following information:
   (1) The name and telephone number of the county bar association.
   (2) The name and telephone number of any entity that requests inclusion
on the notice and demonstrates to the satisfaction of the court that it has
been certiﬁed by the State Bar of California as a lawyer referral service and
maintains a panel of attorneys qualiﬁed in the practice of landlord-tenant
law pursuant to the minimum standards for a lawyer referral service
established by the State Bar of California and Section 6155 of the Business
and Professions Code.
   (3) The following statement:

   “The State Bar of California certiﬁes lawyer referral services in California
and publishes a list of certiﬁed lawyer referral services organized by county.
To locate a lawyer referral service in your county, go to the State Bar’s
internet website at www.calbar.ca.gov or call 1-866-442-2529.”

   (4) The name and telephone number of an ofﬁce or ofﬁces funded by
the federal Legal Services Corporation or qualiﬁed legal services projects
that receive funds distributed pursuant to Section 6216 of the Business and
Professions Code that provide legal services to low-income persons in the
county in which the action is ﬁled. The notice shall state that these telephone
numbers may be called for legal advice regarding the case. The notice shall
be issued between 24 and 48 hours of the ﬁling of the complaint, excluding
weekends and holidays. One copy of the notice shall be addressed to “all
occupants” and mailed separately to the subject premises. The notice shall
not constitute service of the summons and complaint.
   (d) Notwithstanding any other law, the court shall charge an additional
fee of ﬁfteen dollars ($15) for ﬁling a ﬁrst appearance by the plaintiff. This
fee shall be added to the uniform ﬁling fee for actions ﬁled under this
chapter.
   (e) This section does not apply to a case that seeks to terminate a
mobilehome park tenancy if the statement of the character of the proceeding
in the caption of the complaint clearly indicates that the complaint seeks
termination of a mobilehome park tenancy.
   (f) This section does not alter any provision of the Evidence Code.
   (g) This section shall remain in effect until February 1, 2021, and as of
that date is repealed.
   SEC. 18. Section 1161.2 is added to the Code of Civil Procedure, to
read:


                                                                             94




                                                                                        362
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 364 of 381

Ch. 37                              — 36 —

   1161.2. (a) (1) The clerk shall allow access to limited civil case records
ﬁled under this chapter, including the court ﬁle, index, and register of
actions, only as follows:
   (A) To a party to the action, including a party’s attorney.
   (B) To a person who provides the clerk with the names of at least one
plaintiff and one defendant and the address of the premises, including the
apartment or unit number, if any.
   (C) To a resident of the premises who provides the clerk with the name
of one of the parties or the case number and shows proof of residency.
   (D) To a person by order of the court, which may be granted ex parte,
on a showing of good cause.
   (E) To any person by order of the court if judgment is entered for the
plaintiff after trial more than 60 days since the ﬁling of the complaint. The
court shall issue the order upon issuing judgment for the plaintiff.
   (F) Except as provided in subparagraph (G), to any other person 60 days
after the complaint has been ﬁled if the plaintiff prevails in the action within
60 days of the ﬁling of the complaint, in which case the clerk shall allow
access to any court records in the action. If a default or default judgment is
set aside more than 60 days after the complaint has been ﬁled, this section
shall apply as if the complaint had been ﬁled on the date the default or
default judgment is set aside.
   (G) In the case of a complaint involving residential property based on
Section 1161a as indicated in the caption of the complaint, as required in
subdivision (c) of Section 1166, to any other person, if 60 days have elapsed
since the complaint was ﬁled with the court, and, as of that date, judgment
against all defendants has been entered for the plaintiff, after a trial.
   (2) This section shall not be construed to prohibit the court from issuing
an order that bars access to the court record in an action ﬁled under this
chapter if the parties to the action so stipulate.
   (b) (1) For purposes of this section, “good cause” includes, but is not
limited to, both of the following:
   (A) The gathering of newsworthy facts by a person described in Section
1070 of the Evidence Code.
   (B) The gathering of evidence by a party to an unlawful detainer action
solely for the purpose of making a request for judicial notice pursuant to
subdivision (d) of Section 452 of the Evidence Code.
   (2) It is the intent of the Legislature that a simple procedure be established
to request the ex parte order described in subparagraph (D) of paragraph
(1) of subdivision (a).
   (c) Upon the ﬁling of a case so restricted, the court clerk shall mail notice
to each defendant named in the action. The notice shall be mailed to the
address provided in the complaint. The notice shall contain a statement that
an unlawful detainer complaint (eviction action) has been ﬁled naming that
party as a defendant, and that access to the court ﬁle will be delayed for 60
days except to a party, an attorney for one of the parties, or any other person
who (1) provides to the clerk the names of at least one plaintiff and one
defendant in the action and provides to the clerk the address, including any


                                                                              94




                                                                                         363
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 365 of 381

                                   — 37 —                               Ch. 37

applicable apartment, unit, or space number, of the subject premises, or (2)
provides to the clerk the name of one of the parties in the action or the case
number and can establish through proper identiﬁcation that the person lives
at the subject premises. The notice shall also contain a statement that access
to the court index, register of actions, or other records is not permitted until
60 days after the complaint is ﬁled, except pursuant to an order upon a
showing of good cause for access. The notice shall contain on its face the
following information:
   (1) The name and telephone number of the county bar association.
   (2) The name and telephone number of any entity that requests inclusion
on the notice and demonstrates to the satisfaction of the court that it has
been certiﬁed by the State Bar of California as a lawyer referral service and
maintains a panel of attorneys qualiﬁed in the practice of landlord-tenant
law pursuant to the minimum standards for a lawyer referral service
established by the State Bar of California and Section 6155 of the Business
and Professions Code.
   (3) The following statement:
   “The State Bar of California certiﬁes lawyer referral services in California
and publishes a list of certiﬁed lawyer referral services organized by county.
To locate a lawyer referral service in your county, go to the State Bar’s
internet website at www.calbar.ca.gov or call 1-866-442-2529.”
   (4) The name and telephone number of an ofﬁce or ofﬁces funded by
the federal Legal Services Corporation or qualiﬁed legal services projects
that receive funds distributed pursuant to Section 6216 of the Business and
Professions Code that provide legal services to low-income persons in the
county in which the action is ﬁled. The notice shall state that these telephone
numbers may be called for legal advice regarding the case. The notice shall
be issued between 24 and 48 hours of the ﬁling of the complaint, excluding
weekends and holidays. One copy of the notice shall be addressed to “all
occupants” and mailed separately to the subject premises. The notice shall
not constitute service of the summons and complaint.
   (d) Notwithstanding any other law, the court shall charge an additional
fee of ﬁfteen dollars ($15) for ﬁling a ﬁrst appearance by the plaintiff. This
fee shall be added to the uniform ﬁling fee for actions ﬁled under this
chapter.
   (e) This section does not apply to a case that seeks to terminate a
mobilehome park tenancy if the statement of the character of the proceeding
in the caption of the complaint clearly indicates that the complaint seeks
termination of a mobilehome park tenancy.
   (f) This section does not alter any provision of the Evidence Code.
   (g) This section shall become operative on February 1, 2021.
   SEC. 19. Section 1161.2.5 is added to the Code of Civil Procedure, to
read:
   1161.2.5. (a) (1) Except as provided in Section 1161.2, the clerk shall
allow access to civil case records for actions seeking recovery of COVID-19
rental debt, as deﬁned in Section 1179.02, including the court ﬁle, index,
and register of actions, only as follows:


                                                                             94




                                                                                        364
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 366 of 381

Ch. 37                              — 38 —

   (A) To a party to the action, including a party’s attorney.
   (B) To a person who provides the clerk with the names of at least one
plaintiff and one defendant.
   (C) To a resident of the premises for which the COVID-19 rental debt
is owed who provides the clerk with the name of one of the parties or the
case number and shows proof of residency.
   (D) To a person by order of the court, which may be granted ex parte,
on a showing of good cause.
   (2) To give the court notice that access to the records in an action is
limited, any complaint or responsive pleading in a case subject to this section
shall include on either the ﬁrst page of the pleading or a cover page, the
phrase “ACTION FOR RECOVERY OF COVID-19 RENTAL DEBT AS
DEFINED UNDER SECTION 1179.02” in bold, capital letters, in 12 point
or larger font.
   (b) (1) For purposes of this section, “good cause” includes, but is not
limited to, both of the following:
   (A) The gathering of newsworthy facts by a person described in Section
1070 of the Evidence Code.
   (B) The gathering of evidence by a party to a civil action solely for the
purpose of making a request for judicial notice pursuant to subdivision (d)
of Section 452 of the Evidence Code.
   (2) It is the intent of the Legislature that a simple procedure be established
to request the ex parte order described in subparagraph (D) of paragraph
(1) of subdivision (a).
   (c) This section does not alter any provision of the Evidence Code.
   (d) This section shall remain in effect until February 1, 2021, and as of
that date is repealed.
   SEC. 20. Chapter 5 (commencing with Section 1179.01) is added to
Title 3 of Part 3 of the Code of Civil Procedure, to read:

            Chapter 5. COVID-19 Tenant Relief Act of 2020

   1179.01. This chapter is known, and may be cited, as the COVID-19
Tenant Relief Act of 2020.
   1179.01.5. (a) It is the intent of the Legislature that the Judicial Council
and the courts have adequate time to prepare to implement the new
procedures resulting from this chapter, including educating and training
judicial ofﬁcers and staff.
  (b) Notwithstanding any other law, before October 5, 2020, a court shall
not do any of the following:
  (1) Issue a summons on a complaint for unlawful detainer in any action
that seeks possession of residential real property and that is based, in whole
or in part, on nonpayment of rent or other charges.
  (2) Enter a default or a default judgment for restitution in an unlawful
detainer action that seeks possession of residential real property and that is
based, in whole or in part, on nonpayment of rent or other charges.



                                                                              94




                                                                                         365
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 367 of 381

                                  — 39 —                              Ch. 37

   (c) (1) A plaintiff in an unlawful detainer action shall ﬁle a cover sheet
in the form speciﬁed in paragraph (2) that indicates both of the following:
   (A) Whether the action seeks possession of residential real property.
   (B) If the action seeks possession of residential real property, whether
the action is based, in whole or part, on an alleged default in payment of
rent or other charges.
   (2) The cover sheet speciﬁed in paragraph (1) shall be in the following
form:
   “UNLAWFUL DETAINER SUPPLEMENTAL COVER SHEET
   1. This action seeks possession of real property that is:
   a. [ ] Residential
   b. [ ] Commercial
   2. (Complete only if paragraph 1(a) is checked) This action is based, in
whole or in part, on an alleged default in payment of rent or other charges.
   a. [ ] Yes
   b. [ ] No
   Date:__________________
   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
_______________________________
   Type Or Print Name Signature Of Party Or Attorney For Party”
   (3) The cover sheet required by this subdivision shall be in addition to
any civil case cover sheet or other form required by law, the California
Rules of Court, or a local court rule.
   (4) The Judicial Council may develop a form for mandatory use that
includes the information in paragraph (2).
   (d) This section does not prevent a court from issuing a summons or
entering default in an unlawful detainer action that seeks possession of
residential real property and that is not based, in whole or in part, on
nonpayment of rent or other charges.
   1179.02. For purposes of this chapter:
   (a) “Covered time period” means the time period between March 1, 2020,
and January 31, 2021.
   (b) “COVID-19-related ﬁnancial distress” means any of the following:
   (1) Loss of income caused by the COVID-19 pandemic.
   (2) Increased out-of-pocket expenses directly related to performing
essential work during the COVID-19 pandemic.
   (3) Increased expenses directly related to the health impact of the
COVID-19 pandemic.
   (4) Childcare responsibilities or responsibilities to care for an elderly,
disabled, or sick family member directly related to the COVID-19 pandemic
that limit a tenant’s ability to earn income.
   (5) Increased costs for childcare or attending to an elderly, disabled, or
sick family member directly related to the COVID-19 pandemic.
   (6) Other circumstances related to the COVID-19 pandemic that have
reduced a tenant’s income or increased a tenant’s expenses.




                                                                           94




                                                                                       366
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 368 of 381

Ch. 37                             — 40 —

   (c) “COVID-19 rental debt” means unpaid rent or any other unpaid
ﬁnancial obligation of a tenant under the tenancy that came due during the
covered time period.
   (d) “Declaration of COVID-19-related ﬁnancial distress” means the
following written statement:
   I am currently unable to pay my rent or other ﬁnancial obligations under
the lease in full because of one or more of the following:
   1. Loss of income caused by the COVID-19 pandemic.
   2. Increased out-of-pocket expenses directly related to performing essential
work during the COVID-19 pandemic.
   3. Increased expenses directly related to health impacts of the COVID-19
pandemic.
   4. Childcare responsibilities or responsibilities to care for an elderly,
disabled, or sick family member directly related to the COVID-19 pandemic
that limit my ability to earn income.
   5. Increased costs for childcare or attending to an elderly, disabled, or
sick family member directly related to the COVID-19 pandemic.
   6. Other circumstances related to the COVID-19 pandemic that have
reduced my income or increased my expenses.
   Any public assistance, including unemployment insurance, pandemic
unemployment assistance, state disability insurance (SDI), or paid family
leave, that I have received since the start of the COVID-19 pandemic does
not fully make up for my loss of income and/or increased expenses.
   Signed under penalty of perjury:
   Dated:
   (e) “Landlord” includes all of the following or the agent of any of the
following:
   (1) An owner of residential real property.
   (2) An owner of a residential rental unit.
   (3) An owner of a mobilehome park.
   (4) An owner of a mobilehome park space or lot.
   (f) “Protected time period” means the time period between March 1,
2020, and August 31, 2020.
   (g) “Rental payment” means rent or any other ﬁnancial obligation of a
tenant under the tenancy.
   (h) “Tenant” means any natural person who hires real property except
any of the following:
   (1) Tenants of commercial property, as deﬁned in subdivision (c) of
Section 1162 of the Civil Code.
   (2) Those persons whose occupancy is described in subdivision (b) of
Section 1940 of the Civil Code.
   (i) “Transition time period” means the time period between September
1, 2020, and January 31, 2021.
   1179.02.5. (a) For purposes of this section:
   (1) (A) “High-income tenant” means a tenant with an annual household
income of 130 percent of the median income, as published by the Department
of Housing and Community Development in the Ofﬁcial State Income


                                                                            94




                                                                                        367
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 369 of 381

                                  — 41 —                              Ch. 37

Limits for 2020, for the county in which the residential rental property is
located.
   (B) For purposes of this paragraph, all lawful occupants of the residential
rental unit, including minor children, shall be considered in determining
household size.
   (C) “High-income tenant” shall not include a tenant with a household
income of less than one hundred thousand dollars ($100,000).
   (2) “Proof of income” means any of the following:
   (A) A tax return.
   (B) A W-2.
   (C) A written statement from a tenant’s employer that speciﬁes the
tenant’s income.
   (D) Pay stubs.
   (E) Documentation showing regular distributions from a trust, annuity,
401k, pension, or other ﬁnancial instrument.
   (F) Documentation of court-ordered payments, including, but not limited
to, spousal support or child support.
   (G) Documentation from a government agency showing receipt of public
assistance beneﬁts, including, but not limited to, social security,
unemployment insurance, disability insurance, or paid family leave.
   (H) A written statement signed by the tenant that states the tenant’s
income, including, but not limited to, a rental application.
   (b) (1) This section shall apply only if the landlord has proof of income
in the landlord’s possession before the service of the notice showing that
the tenant is a high-income tenant.
   (2) This section does not do any of the following:
   (A) Authorize a landlord to demand proof of income from the tenant.
   (B) Require the tenant to provide proof of income for the purposes of
determining whether the tenant is a high-income tenant.
   (C) (i) Entitle a landlord to obtain, or authorize a landlord to attempt to
obtain, conﬁdential ﬁnancial records from a tenant’s employer, a government
agency, ﬁnancial institution, or any other source.
   (ii) Conﬁdential information described in clause (i) shall not constitute
valid proof of income unless it was lawfully obtained by the landlord with
the tenant’s consent during the tenant screening process.
   (3) Paragraph (2) does not alter a party’s rights under Title 4 (commencing
with Section 2016.010), Chapter 4 (commencing with Section 708.010) of
Title 9, or any other law.
   (c) A landlord may require a high-income tenant that is served a notice
pursuant to subdivision (b) or (c) of Section 1179.03 to submit, in addition
to and together with a declaration of COVID-19-related ﬁnancial distress,
documentation supporting the claim that the tenant has suffered
COVID-19-related ﬁnancial distress. Any form of objectively veriﬁable
documentation that demonstrates the COVID-19-related ﬁnancial distress
the tenant has experienced is sufﬁcient to satisfy the requirements of this
subdivision, including the proof of income, as deﬁned in subparagraphs (A)



                                                                           94




                                                                                       368
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 370 of 381

Ch. 37                             — 42 —

to (G), inclusive, of paragraph (2) of subdivision (a), a letter from an
employer, or an unemployment insurance record.
   (d) A high-income tenant is required to comply with the requirements
of subdivision (c) only if the landlord has included the following language
on the notice served pursuant to subdivision (b) or (c) of Section 1179.03
in at least 12-point font:
   “Proof of income on ﬁle with your landlord indicates that your household
makes at least 130 percent of the median income for the county where the
rental property is located, as published by the Department of Housing and
Community Development in the Ofﬁcial State Income Limits for 2020. As
a result, if you claim that you are unable to pay the amount demanded by
this notice because you have suffered COVID-19-related ﬁnancial distress,
you are required to submit to your landlord documentation supporting your
claim together with the completed declaration of COVID-19-related ﬁnancial
distress provided with this notice. If you fail to submit this documentation
together with your declaration of COVID-19-related ﬁnancial distress, and
you do not either pay the amount demanded in this notice or deliver
possession of the premises back to your landlord as required by this notice,
you will not be covered by the eviction protections enacted by the California
Legislature as a result of the COVID-19 pandemic, and your landlord can
begin eviction proceedings against you as soon as this 15-day notice expires.”
   (e) A high-income tenant that fails to comply with subdivision (c) shall
not be subject to the protections of subdivision (g) of Section 1179.03.
   (f) (1) A landlord shall be required to plead compliance with this section
in any unlawful detainer action based upon a notice that alleges that the
tenant is a high-income tenant. If that allegation is contested, the landlord
shall be required to submit to the court the proof of income upon which the
landlord relied at the trial or other hearing, and the tenant shall be entitled
to submit rebuttal evidence.
   (2) If the court in an unlawful detainer action based upon a notice that
alleges that the tenant is a high-income tenant determines that at the time
the notice was served the landlord did not have proof of income establishing
that the tenant is a high-income tenant, the court shall award attorney’s fees
to the prevailing tenant.
   1179.03. (a) (1) Any notice that demands payment of COVID-19 rental
debt served pursuant to subdivision (e) of Section 798.56 of the Civil Code
or paragraph (2) or (3) of Section 1161 shall be modiﬁed as required by this
section. A notice which does not meet the requirements of this section,
regardless of when the notice was issued, shall not be sufﬁcient to establish
a cause of action for unlawful detainer or a basis for default judgment.
   (2) Any case based solely on a notice that demands payment of
COVID-19 rental debt served pursuant to subdivision (e) of Section 798.56
of the Civil Code or paragraph (2) or (3) of Section 1161 may be dismissed
if the notice does not meet the requirements of this section, regardless of
when the notice was issued.
   (3) Notwithstanding paragraphs (1) and (2), this section shall have no
effect if the landlord lawfully regained possession of the property or obtained


                                                                            94




                                                                                        369
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 371 of 381

                                    — 43 —                               Ch. 37

a judgment for possession of the property before the operative date of this
section.
   (b) If the notice demands payment of rent that came due during the
protected time period, as deﬁned in Section 1179.02, the notice shall comply
with all of the following:
   (1) The time period in which the tenant may pay the amount due or deliver
possession of the property shall be no shorter than 15 days, excluding
Saturdays, Sundays, and other judicial holidays.
   (2) The notice shall set forth the amount of rent demanded and the date
each amount became due.
   (3) The notice shall advise the tenant that the tenant cannot be evicted
for failure to comply with the notice if the tenant delivers a signed declaration
of COVID-19-related ﬁnancial distress to the landlord on or before the date
that the notice to pay rent or quit or notice to perform covenants or quit
expires, by any of the methods speciﬁed in subdivision (f).
   (4) The notice shall include the following text in at least 12-point font:
   “NOTICE FROM THE STATE OF CALIFORNIA: If you are unable to
pay the amount demanded in this notice, and have decreased income or
increased expenses due to COVID-19, your landlord will not be able to
evict you for this missed payment if you sign and deliver the declaration
form included with your notice to your landlord within 15 days, excluding
Saturdays, Sundays, and other judicial holidays, but you will still owe this
money to your landlord. If you do not sign and deliver the declaration within
this time period, you may lose the eviction protections available to you.
You must return this form to be protected. You should keep a copy or picture
of the signed form for your records.
   You will still owe this money to your landlord and can be sued for the
money, but you cannot be evicted from your home if you comply with these
requirements. You should keep careful track of what you have paid and any
amount you still owe to protect your rights and avoid future disputes. Failure
to respond to this notice may result in an unlawful detainer action (eviction)
being ﬁled against you.
   For information about legal resources that may be available to you, visit
lawhelpca.org.”
   (c) If the notice demands payment of rent that came due during the
transition time period, as deﬁned in Section 1179.02, the notice shall comply
with all of the following:
   (1) The time period in which the tenant may pay the amount due or deliver
possession of the property shall be no shorter than 15 days, excluding
Saturdays, Sundays, and other judicial holidays.
   (2) The notice shall set forth the amount of rent demanded and the date
each amount became due.
   (3) The notice shall advise the tenant that the tenant will not be evicted
for failure to comply with the notice, except as allowed by this chapter, if
the tenant delivers a signed declaration of COVID-19-related ﬁnancial
distress to the landlord on or before the date the notice to pay rent or quit



                                                                              94




                                                                                         370
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 372 of 381

Ch. 37                            — 44 —

or notice to perform covenants or quit expires, by any of the methods
speciﬁed in subdivision (f).
   (4) The notice shall include the following text in at least 12-point font:
   “NOTICE FROM THE STATE OF CALIFORNIA: If you are unable to
pay the amount demanded in this notice, and have decreased income or
increased expenses due to COVID-19, you may sign and deliver the
declaration form included with your notice to your landlord within 15 days,
excluding Saturdays, Sundays, and other judicial holidays, and your landlord
will not be able to evict you for this missed payment so long as you make
the minimum payment (see below). You will still owe this money to your
landlord. You should keep a copy or picture of the signed form for your
records.
   If you provide the declaration form to your landlord as described above
AND, on or before January 31, 2021, you pay an amount that equals at least
25 percent of each rental payment that came due or will come due during
the period between September 1, 2020, and January 31, 2021, that you were
unable to pay as a result of decreased income or increased expenses due to
COVID-19, your landlord cannot evict you. Your landlord may require you
to submit a new declaration form for each rental payment that you do not
pay that comes due between September 1, 2020, and January 31, 2021.
   For example, if you provided a declaration form to your landlord regarding
your decreased income or increased expenses due to COVID-19 that
prevented you from making your rental payment in September and October
of 2020, your landlord could not evict you if, on or before January 31, 2021,
you made a payment equal to 25 percent of September’s and October’s
rental payment (i.e., half a month’s rent). If you were unable to pay any of
the rental payments that came due between September 1, 2020, and January
31, 2021, and you provided your landlord with the declarations in response
to each 15-day notice your landlord sent to you during that time period,
your landlord could not evict you if, on or before January 31, 2021, you
paid your landlord an amount equal to 25 percent of all the rental payments
due from September through January (i.e., one and a quarter month’s rent).
   You will still owe the full amount of the rent to your landlord, but you
cannot be evicted from your home if you comply with these requirements.
You should keep careful track of what you have paid and any amount you
still owe to protect your rights and avoid future disputes. Failure to respond
to this notice may result in an unlawful detainer action (eviction) being ﬁled
against you.
   For information about legal resources that may be available to you, visit
lawhelpca.org.”
   (d) An unsigned copy of a declaration of COVID-19-related ﬁnancial
distress shall accompany each notice delivered to a tenant to which
subdivision (b) or (c) is applicable. If the landlord was required, pursuant
to Section 1632 of the Civil Code, to provide a translation of the rental
contract or agreement in the language in which the contract or agreement
was negotiated, the landlord shall also provide the unsigned copy of a
declaration of COVID-19-related ﬁnancial distress to the tenant in the


                                                                           94




                                                                                       371
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 373 of 381

                                   — 45 —                              Ch. 37

language in which the contract or agreement was negotiated. The Department
of Real Estate shall make available an ofﬁcial translation of the text required
by paragraph (4) of subdivision (b) and paragraph (4) of subdivision (c) in
the languages speciﬁed in Section 1632 of the Civil Code by no later than
September 15, 2020.
   (e) If a tenant owes a COVID-19 rental debt to which both subdivisions
(b) and (c) apply, the landlord shall serve two separate notices that comply
with subdivisions (b) and (c), respectively.
   (f) A tenant may deliver the declaration of COVID-19-related ﬁnancial
distress to the landlord by any of the following methods:
   (1) In person, if the landlord indicates in the notice an address at which
the declaration may be delivered in person.
   (2) By electronic transmission, if the landlord indicates an email address
in the notice to which the declaration may be delivered.
   (3) Through United States mail to the address indicated by the landlord
in the notice. If the landlord does not provide an address pursuant to
subparagraph (1), then it shall be conclusively presumed that upon the
mailing of the declaration by the tenant to the address provided by the
landlord, the declaration is deemed received by the landlord on the date
posted, if the tenant can show proof of mailing to the address provided by
the landlord.
   (4) Through any of the same methods that the tenant can use to deliver
the payment pursuant to the notice if delivery of the declaration by that
method is possible.
   (g) Except as provided in Section 1179.02.5, the following shall apply
to a tenant who, within 15 days of service of the notice speciﬁed in
subdivision (b) or (c), excluding Saturdays, Sundays, and other judicial
holidays, demanding payment of COVID-19 rental debt delivers a declaration
of COVID-19-related ﬁnancial distress to the landlord by any of the methods
provided in subdivision (f):
   (1) With respect to a notice served pursuant to subdivision (b), the tenant
shall not then or thereafter be deemed to be in default with regard to that
COVID-19 rental debt for purposes of subdivision (e) of Section 798.56 of
the Civil Code or paragraphs (2) and (3) of Section 1161.
   (2) With respect to a notice served pursuant to subdivision (c), the
following shall apply:
   (A) Except as provided by subparagraph (B), the landlord may not initiate
an unlawful detainer action before February 1, 2021.
   (B) A tenant shall not be guilty of unlawful detainer, now or in the future,
based upon nonpayment of COVID-19 rental debt that came due during the
transition period if, on or before January 31, 2021, the tenant tenders one
or more payments that, when taken together, are of an amount equal to or
not less than 25 percent of each transition period rental payment demanded
in one or more notices served pursuant to subsection (c) and for which the
tenant complied with this subdivision by timely delivering a declaration of
COVID-19-related ﬁnancial distress to the landlord.



                                                                            94




                                                                                        372
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 374 of 381

Ch. 37                             — 46 —

   (h) (1) (A) Within the time prescribed in Section 1167, a tenant shall
be permitted to ﬁle a signed declaration of COVID-19-related ﬁnancial
distress with the court.
   (B) If the tenant ﬁles a signed declaration of COVID-19-related ﬁnancial
distress with the court pursuant to this subdivision, the court shall dismiss
the case, pursuant to paragraph (2), if the court ﬁnds, after a noticed hearing
on the matter, that the tenant’s failure to return a declaration of
COVID-19-related ﬁnancial distress within the time required by subdivision
(g) was the result of mistake, inadvertence, surprise, or excusable neglect,
as those terms have been interpreted under subdivision (b) of Section 473.
   (C) The noticed hearing required by this paragraph shall be held with
not less than ﬁve days’ notice and not more than 10 days’ notice, to be given
by the court, and may be held separately or in conjunction with any regularly
noticed hearing in the case, other than a trial.
   (2) If the court dismisses the case pursuant to paragraph (1), that dismissal
shall be without prejudice as follows:
   (A) If the case was based in whole or in part upon a notice served pursuant
to subdivision (b), the court shall dismiss any cause of action based on the
notice served pursuant to subdivision (b).
   (B) Before February 1, 2021, if the case is based in whole or in part on
a notice served pursuant to subdivision (c), the court shall dismiss any cause
of action based on the notice served pursuant to subdivision (c).
   (C) On or after February 1, 2021, if the case is based in whole or in part
on a notice served pursuant to subdivision (c), the court shall dismiss any
cause of action based upon the notice served pursuant to subdivision (c) if
the tenant, within ﬁve days of the court’s order to do so, makes the payment
required by subparagraph (B) of paragraph (1) of subdivision (g), provided
that if the ﬁfth day falls on a Saturday, Sunday, or judicial holiday the last
day to pay shall be extended to the next court day.
   (3) If the court dismisses the case pursuant to this subdivision, the tenant
shall not be considered the prevailing party for purposes of Section 1032,
any attorney’s fee provision appearing in contract or statute, or any other
law.
   (i) Notwithstanding any other law, a notice which is served pursuant to
subdivision (b) or (c) that complies with the requirements of this chapter
and subdivision (e) of Section 798.56 of the Civil Code or paragraphs (2)
and (3) of Section 1161, as applicable, need not include speciﬁc language
required by any ordinance, resolution, regulation, or administrative action
adopted by a city, county, or city and county.
   1179.03.5. (a) Before February 1, 2021, a court may not ﬁnd a tenant
guilty of an unlawful detainer unless it ﬁnds that one of the following applies:
   (1) The tenant was guilty of the unlawful detainer before March 1, 2020.
   (2) In response to service of a notice demanding payment of COVID-19
rental debt pursuant to subdivision (e) of Section 798.56 of the Civil Code
or paragraph (2) or (3) of Section 1161, the tenant failed to comply with the
requirements of Section 1179.03.



                                                                             94




                                                                                        373
 Case 8:21-ap-01097-SC                Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                     Main Document    Page 375 of 381

                                   — 47 —                              Ch. 37

   (3) (A) The unlawful detainer arises because of a termination of tenancy
for any of the following:
   (i) An at-fault just cause, as deﬁned in paragraph (1) of subdivision (b)
of Section 1946.2 of the Civil Code.
   (ii) (I) A no-fault just cause, as deﬁned in paragraph (2) of subdivision
(b) of Section 1946.2 of the Civil Code, other than intent to demolish or to
substantially remodel the residential real property, as deﬁned in subparagraph
(D) of paragraph (2) of subdivision (b) of Section 1946.2.
   (II) Notwithstanding subclause (I), termination of a tenancy based on
intent to demolish or to substantially remodel the residential real property
shall be permitted if necessary to maintain compliance with the requirements
of Section 1941.1 of the Civil Code, Section 17920.3 or 17920.10 of the
Health and Safety Code, or any other applicable law governing the
habitability of residential rental units.
   (iii) The owner of the property has entered into a contract for the sale of
that property with a buyer who intends to occupy the property, and all the
requirements of paragraph (8) of subdivision (e) of Section 1946.2 of the
Civil Code have been satisﬁed.
   (B) In an action under this paragraph, other than an action to which
paragraph (2) also applies, the landlord shall be precluded from recovering
COVID-19 rental debt in connection with any award of damages.
   (b) (1) This section does not require a landlord to assist the tenant to
relocate through the payment of relocation costs if the landlord would not
otherwise be required to do so pursuant to Section 1946.2 of the Civil Code
or any other law.
   (2) A landlord who is required to assist the tenant to relocate pursuant
to Section 1946.2 of the Civil Code or any other law, may offset the tenant’s
COVID-19 rental debt against their obligation to assist the tenant to relocate.
   1179.04. (a) On or before September 30, 2020, a landlord shall provide,
in at least 12-point font, the following notice to tenants who, as of September
1, 2020, have not paid one or more rental payments that came due during
the protected time period:

   “NOTICE FROM THE STATE OF CALIFORNIA: The California
Legislature has enacted the COVID-19 Tenant Relief Act of 2020 which
protects renters who have experienced COVID-19-related ﬁnancial distress
from being evicted for failing to make rental payments due between March
1, 2020, and January 31, 2021.
   “COVID-19-related ﬁnancial distress” means any of the following:
   1. Loss of income caused by the COVID-19 pandemic.
   2. Increased out-of-pocket expenses directly related to performing essential
work during the COVID-19 pandemic.
   3. Increased expenses directly related to the health impact of the
COVID-19 pandemic.
   4. Childcare responsibilities or responsibilities to care for an elderly,
disabled, or sick family member directly related to the COVID-19 pandemic
that limit your ability to earn income.


                                                                            94




                                                                                        374
 Case 8:21-ap-01097-SC               Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                    Main Document    Page 376 of 381

Ch. 37                            — 48 —

   5. Increased costs for childcare or attending to an elderly, disabled, or
sick family member directly related to the COVID-19 pandemic.
   6. Other circumstances related to the COVID-19 pandemic that have
reduced your income or increased your expenses.
   This law gives you the following protections:
   1. If you failed to make rental payments due between March 1, 2020, and
August 31, 2020, because you had decreased income or increased expenses
due to the COVID-19 pandemic, as described above, you cannot be evicted
based on this nonpayment.
   2. If you are unable to pay rental payments that come due between
September 1, 2020, and January 31, 2021, because of decreased income or
increased expenses due to the COVID-19 pandemic, as described above,
you cannot be evicted if you pay 25 percent of the rental payments missed
during that time period on or before January 31, 2021.
   You must provide, to your landlord, a declaration under penalty of perjury
of your COVID-19-related ﬁnancial distress attesting to the decreased
income or increased expenses due to the COVID-19 pandemic to be protected
by the eviction limitations described above. Before your landlord can seek
to evict you for failing to make a payment that came due between March 1,
2020, and January 31, 2021, your landlord will be required to give you a
15-day notice that informs you of the amounts owed and includes a blank
declaration form you can use to comply with this requirement.
   If your landlord has proof of income on ﬁle which indicates that your
household makes at least 130 percent of the median income for the county
where the rental property is located, as published by the Department of
Housing and Community Development in the Ofﬁcial State Income Limits
for 2020, your landlord may also require you to provide documentation
which shows that you have experienced a decrease in income or increase
in expenses due to the COVID-19 pandemic. Your landlord must tell you
in the 15-day notice whether your landlord is requiring that documentation.
Any form of objectively veriﬁable documentation that demonstrates the
ﬁnancial impact you have experienced is sufﬁcient, including a letter from
your employer, an unemployment insurance record, or medical bills, and
may be provided to satisfy the documentation requirement.
   It is very important you do not ignore a 15-day notice to pay rent or quit
or a notice to perform covenants or quit from your landlord. If you are served
with a 15-day notice and do not provide the declaration form to your landlord
before the 15-day notice expires, you could be evicted. You could also be
evicted beginning February 1, 2021, if you owe rental payments due between
September 1, 2020, and January 31, 2021, and you do not pay an amount
equal to at least 25 percent of the payments missed for that time period.
   For information about legal resources that may be available to you, visit
lawhelpca.org.”

  (b) The landlord may provide the notice required by subdivision (a) in
the manner prescribed by Section 1162 or by mail.



                                                                           94




                                                                                       375
 Case 8:21-ap-01097-SC                 Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                      Main Document    Page 377 of 381

                                    — 49 —                               Ch. 37

   (c) (1) A landlord may not serve a notice pursuant to subdivision (b) or
(c) of Section 1179.03 before the landlord has provided the notice required
by subdivision (a).
   (2) The notice required by subdivision (a) may be provided to a tenant
concurrently with a notice pursuant to subdivision (b) or (c) of Section
1179.03 that is served on or before September 30, 2020.
   1179.05. (a) Any ordinance, resolution, regulation, or administrative
action adopted by a city, county, or city and county in response to the
COVID-19 pandemic to protect tenants from eviction is subject to all of the
following:
   (1) Any extension, expansion, renewal, reenactment, or new adoption of
a measure, however delineated, that occurs between August 19, 2020, and
January 31, 2021, shall have no effect before February 1, 2021.
   (2) Any provision which allows a tenant a speciﬁed period of time in
which to repay COVID-19 rental debt shall be subject to all of the following:
   (A) If the provision in effect on August 19, 2020, required the repayment
period to commence on a speciﬁc date on or before March 1, 2021, any
extension of that date made after August 19, 2020, shall have no effect.
   (B) If the provision in effect on August 19, 2020, required the repayment
period to commence on a speciﬁc date after March 1, 2021, or conditioned
commencement of the repayment period on the termination of a proclamation
of state of emergency or local emergency, the repayment period is deemed
to begin on March 1, 2021.
   (C) The speciﬁed period of time during which a tenant is permitted to
repay COVID-19 rental debt may not extend beyond the period that was in
effect on August 19, 2020. In addition, a provision may not permit a tenant
a period of time that extends beyond March 31, 2022, to repay COVID-19
rental debt.
   (b) This section does not alter a city, county, or city and county’s authority
to extend, expand, renew, reenact, or newly adopt an ordinance that requires
just cause for termination of a residential tenancy or amend existing
ordinances that require just cause for termination of a residential tenancy,
consistent with subdivision (g) of Section 1946.2, provided that a provision
enacted or amended after August 19, 2020, shall not apply to rental payments
that came due between March 1, 2020, and January 31, 2021.
   (c) The one-year limitation provided in subdivision (2) of Section 1161
is tolled during any time period that a landlord is or was prohibited by any
ordinance, resolution, regulation, or administrative action adopted by a city,
county, or city and county in response to the COVID-19 pandemic to protect
tenants from eviction based on nonpayment of rental payments from serving
a notice that demands payment of COVID-19 rental debt pursuant to
subdivision (e) of Section 798.56 of the Civil Code or paragraph (2) of
Section 1161.
   (d) It is the intent of the Legislature that this section be applied
retroactively to August 19, 2020.
   (e) The Legislature ﬁnds and declares that this section addresses a matter
of statewide concern rather than a municipal affair as that term is used in


                                                                              94




                                                                                         376
 Case 8:21-ap-01097-SC                  Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                       Main Document    Page 378 of 381

Ch. 37                               — 50 —

Section 5 of Article XI of the California Constitution. Therefore, this section
applies to all cities, including charter cities.
   (f) It is the intent of the Legislature that the purpose of this section is to
protect individuals negatively impacted by the COVID-19 pandemic, and
that this section does not provide the Legislature’s understanding of the
legal validity on any speciﬁc ordinance, resolution, regulation, or
administrative action adopted by a city, county, or city and county in
response to the COVID-19 pandemic to protect tenants from eviction.
   1179.06. Any provision of a stipulation, settlement agreement, or other
agreement entered into on or after the effective date of this chapter, including
a lease agreement, that purports to waive the provisions of this chapter is
prohibited and is void as contrary to public policy.
   1179.07. This chapter shall remain in effect until February 1, 2025, and
as of that date is repealed.
   SEC. 21. (a) The Business, Consumer Services and Housing Agency
shall, in consultation with the Department of Finance, engage with residential
tenants, landlords, property owners, deed restricted affordable housing
providers, and ﬁnancial sector stakeholders about strategies and approaches
to direct potential future federal stimulus funding to most effectively and
efﬁciently provide relief to distressed tenants, landlords, and property
owners, including exploring strategies to create access to liquidity in
partnership with ﬁnancial institutions or other ﬁnancial assistance. Subject
to availability of funds and other budget considerations, and only upon
appropriation by the Legislature, these strategies should inform
implementation of the funds. In creating these strategies, special focus shall
be given to low-income tenants, small property owners, and affordable
housing providers who have suffered direct ﬁnancial hardship as a result
of the COVID-19 pandemic.
   (b) For the purposes of this section, “future federal stimulus funding”
does not include funding identiﬁed in the 2020 Budget Act.
   SEC. 22. The provisions of this act are severable. If any provision of
this act or its application is held invalid, that invalidity shall not affect other
provisions or applications that can be given effect without the invalid
provision or application.
   SEC. 23. No reimbursement is required by this act pursuant to Section
6 of Article XIIIB of the California Constitution because the only costs that
may be incurred by a local agency or school district will be incurred because
this act creates a new crime or infraction, eliminates a crime or infraction,
or changes the penalty for a crime or infraction, within the meaning of
Section 17556 of the Government Code, or changes the deﬁnition of a crime
within the meaning of Section 6 of Article XIII B of the California
Constitution.
   SEC. 24. This act is an urgency statute necessary for the immediate
preservation of the public peace, health, or safety within the meaning of
Article IV of the California Constitution and shall go into immediate effect.
The facts constituting the necessity are:



                                                                                94




                                                                                          377
 Case 8:21-ap-01097-SC              Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                                   Main Document    Page 379 of 381

                                 — 51 —                              Ch. 37

   To avert economic and social harm by providing a structure for temporary
relief to ﬁnancially distressed tenants, homeowners, and small landlords
during the public health emergency, and to ensure that landlords and tenants
are able to calculate the maximum allowable rental rate increase within a
12-month period at the earliest possible time, it is necessary that this act
take effect immediately.




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                                                                          94




                                                                                      378
Case 8:21-ap-01097-SC    Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45   Desc
                        Main Document    Page 380 of 381
        Case 8:21-ap-01097-SC                     Doc 44 Filed 01/18/23 Entered 01/19/23 12:28:45                                      Desc
                                                 Main Document    Page 381 of 381


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR DEBTOR JAMIE GALLIAN: Bert Briones bb@redhilllawgroup.com,
       helpdesk@redhilllawgroup.com;RedHillLawGroup@jubileebk.net
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
       danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
       ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
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